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                             EXHIBIT 1
       Case 5:22-cv-05114-TLB Document 2-1                    Filed 06/15/22 Page 2 of 147 PageID #: 18
                                                                                                                 59511 (7-15)



        24-0038-00
        SIMS & RENNER INSURANCE
        PO BOX 9930
        FAYETTEVILLE AR 72703-0034




                                                                             Owners Insurance Company
        11-07-2019




                                                                Remember, you can view your policy, pay your bill or
                                                                change your paperless options any time online, at
        RMS WAREHOUSE 1315 LLC                                  www.auto-owners.com. If you have not already
        PO BOX 8054                                             enrolled your policy, you may do so using policy number
        FAYETTEVILLE AR 72703-0001                              194624-70586522-19 and Personal ID Code (PID) 1N3
                                                                A9C 88N.

                                                                Your agency's phone number is 479-684-4100.




RE: Policy 194624-70586522-19

Thank you for selecting Auto-Owners Insurance Group to serve your insurance needs! Feel free to contact your
independent Auto-Owners agent with questions you may have.

Auto-Owners and its affiliate companies offer a variety of programs, each of which has its own eligibility requirements,
coverages and rates. In addition, Auto-Owners also offers many billing options. Please take this opportunity to review
your insurance needs with your Auto-Owners agent, and discuss which company, program, and billing option may be
most appropriate for you.

Auto-Owners Insurance Company was formed in 1916. The Auto-Owners Insurance Group is comprised of five property
and casualty companies and a life insurance company. Our A++ (Superior) rating by A.M. Best Company signifies that
we have the financial strength to provide the insurance protection you need.




                             ~ Serving Our Policyholders and Agents Since 1916 ~
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                                                                                                                 55293 (7-05)



                                                        Arkansas
               NOTICE TO POLICYHOLDER - AGGREGATE LIMIT OF LIABILITY

Dear Policyholder:

Your Commercial policy contains an Aggregate Limit of Liability. Please refer to your policy for an explanation of cover-
age.

This notice is for informational purposes only. Your policy contains the specific terms and conditions of coverage.

If you have any questions regarding your policy or this notice, please contact your Auto-Owners agency.



55293 (7-05)                                                                                                      Page 1 of 1



                                                                                                                59365 (7-05)



                           IMPORTANT POLICYHOLDER INFORMATION

Dear Policyholder:

Any inquiries concerning your policy should be directed to your insurance agent whose name, address and telephone
number are shown on your policy.

If we do not provide you with reasonable and adequate service, you should feel free to contact:

                                             Arkansas Insurance Department
                                               Consumer Services Division
                                                  1200 West Third Street
                                               Little Rock, Arkansas 72201
                                             (501) 371-2640 or 800-852-5494

*Auto-Owners Insurance Group includes, Auto-Owners Insurance Company, Auto-Owners Life Insurance Company,
 Home-Owners Insurance Company, Owners Insurance Company, Property-Owners Insurance Company and
 Southern-Owners Insurance Company.




59365 (7-05)                                                                                                      Page 1 of 1
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                                                                                                                    59375 (7-05)



        "IMPORTANT NOTICE REGARDING FIRE PROTECTION
Dear Policyholder:

Did you know that the firefighting ability of your Fire Department helps lower your insurance rates? It's true! The better
your firefighters are equipped and trained, the better their access to water for fighting fires, the length of time it takes for
them to arrive at a fire, are a few of the many factors that have an impact on your property insurance rates. Help your
firefighters help you! They need your support, financial, and otherwise. Adequate funding is important to improving the
protection that may translate to lower premiums!"



59375 (7-05)                                                                                                         Page 1 of 1
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                                                                                                                   59390 (1-15)



               NOTIFICATION OF POSSIBLE CHANGES IN COVERAGE FOR
                                   TERRORISM

Dear Policyholder:

The Terrorism Risk Insurance Act (including ensuing Congressional actions pursuant to the Act) will expire on December
31, 2020 unless the Federal government extends the Act. What this means to you is the following:

1. Subject to policy terms and conditions, the enclosed policy will provide insurance coverage for certified acts of ter-
   rorism as defined in the Act only until December 31, 2020.

2. A conditional endorsement entitled, Conditional Exclusion Of Terrorism Involving Nuclear, Biological Or Chemical
   Terrorism (Relating To Disposition Of Federal Terrorism Risk Insurance Act) is enclosed. This conditional endorse-
   ment will only apply if the Act is not extended or if the Act is revised to increase statutory deductibles, decrease the
   federal government's share in potential losses above the statutory deductibles, change the levels, terms or conditions
   of coverage and we are no longer required to make terrorism coverage available and elect not to do so. It will not
   apply if the Act is simply extended.

3. The conditional endorsement will provide coverage for an incident of terrorism pursuant to the terms and conditions of
   the policy only if the incident does not involve nuclear, biological or chemical material.

4. A premium charge for the conditional endorsement will be applied effective January 1, 2021. The premium will be pro
   rated for the remainder of the policy term and is one-half of the current premium charge appearing in the Declara-
   tions for TERRORISM - CERTIFIED ACTS. However, it will only be made if the Terrorism Risk Insurance Act (includ-
   ing ensuing Congressional actions pursuant to the Act) is not extend. Revised Declarations will be mailed to you after
   January 1, 2021.

5. If the Act is extended without any revision, the enclosed policy will continue to provide coverage for certified acts of
   terrorism. The conditional endorsement will not be activated and the changes in coverage or premium referenced
   above will not apply.

6. If the Act is extended with revisions or is replaced, and we are required or elect to continue to offer coverage for certi-
   fied acts of terrorism, we may amend this policy in accordance with the provisions of the revised Act or its replace-
   ment.

This notice is for informational purposes only.

If you have any questions concerning your policy or this notice, please contact your Auto-Owners agency.




59390 (1-15)                                                                                                         Page 1 of 1
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               Tailored Protection
                Insurance Policy
        Case
In witness     5:22-cv-05114-TLB
           whereof,                    Document
                    we, the Owners Insurance     2-1 have
                                             Company,   Filed 06/15/22
                                                          caused this policyPage   7 of 147
                                                                             to be issued andPageID
                                                                                              to be duly#:signed
                                                                                                            23 by
our President and Secretary.




                          Secretary                                             President




55003 (7-12)
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                                                                                                                        Issued       11-07-2019

INSURANCE COMPANY                                                                         TAILORED PROTECTION POLICY DECLARATIONS
6101 ANACAPRI BLVD., LANSING, MI 48917-3999
AGENCY    SIMS & RENNER INSURANCE                                                                        New Business Effective      11-04-2019
          24-0038-00         MKT TERR 116                      479-684-4100                        POLICY NUMBER         194624-70586522-19
INSURED   RMS WAREHOUSE 1315 LLC                                                                   Company Use                70-46-AR-1911

                                                                                               Company                Policy Term
ADDRESS   PO BOX 8054                                                                            Bill         12:01 a.m.      12:01 a.m.
                                                                                                                          to
          FAYETTEVILLE AR 72703-0001                                                                         11-04-2019       11-04-2020



                                                                                                                                   55039 (11-87)
                                                       COMMON POLICY INFORMATION


Business Description:         Lessors Risk

Entity:       Limited Liab Corp

Program:      Mercantile

  THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PART(S):                                                                         PREMIUM
  COMMERCIAL PROPERTY COVERAGE                                                                                                    $36,913.00
  COMMERCIAL GENERAL LIABILITY COVERAGE                                                                                              $749.00

                                                                                                     TOTAL                        $37,662.00

                                                                                PAID IN FULL DISCOUNT                              $4,101.00
                                                           TOTAL POLICY PREMIUM IF PAID IN FULL                                   $33,561.00

  THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
  The Paid in Full Discount does not apply to fixed fees, statutory charges or minimum premiums.


Forms that apply to all coverage part(s) shown above (except garage liability, dealer's blanket, commercial automobile, if applicable):
IL0017 (11-85)             55003 (07-12)            59390 (01-15)

Countersigned By: ________________________________________
          Case 5:22-cv-05114-TLB Document 2-1                       Filed 06/15/22 Page 9 of 147 PageID #: 25
                                                               Page 2
Owners Ins. Co.                                                                                                  Issued     11-07-2019
AGENCY    SIMS & RENNER INSURANCE                                               Company      POLICY NUMBER        194624-70586522-19
          24-0038-00         MKT TERR 116                                         Bill                                 70-46-AR-1911
INSURED   RMS WAREHOUSE 1315 LLC                                                                    Term 11-04-2019 to 11-04-2020



                                                                                                                          54104 (07-87)
                                               COMMERCIAL PROPERTY COVERAGE

                                                                                                                          55198 (12-10)
                              STANDARD PROPERTY PLUS COVERAGE PACKAGE DECLARATION

The coverages and limits below apply separately to each location or sublocation that sustains a loss to covered property and is
designated in the Commercial Property Coverage Declarations. No deductible applies to the below Property Plus Coverages.

                               COVERAGE                                                                          LIMIT
ACCOUNTS RECEIVABLE                                                                                                           $100,000
BAILEES                                                                                                                            $5,000
                                                                                                                     $2,500 PER ITEM
BUSINESS INCOME & EXTRA EXPENSE W/RENTAL                                                                                          $50,000
   VALUE, INCLUDING NEWLY ACQUIRED LOC'S
    24 HOUR WAITING PERIOD
DEBRIS REMOVAL                                                                                                                    $25,000
ELECTRONIC DATA PROCESSING EQUIPMENT                                                                                              $25,000
EMPLOYEE DISHONESTY                                                                                                               $15,000
FINE ARTS, COLLECTIBLES AND MEMORABILIA                                                                                           $10,000
                                                                                                                     $2,500 PER ITEM
FIRE DEPARTMENT SERVICE CHARGE                                                                                                     $5,000
FORGERY AND ALTERATION                                                                                                            $10,000
MONEY AND SECURITIES INSIDE PREMISES                                                                                              $15,000
MONEY AND SECURITIES OUTSIDE PREMISES                                                                                             $15,000
NEWLY ACQUIRED BUSINESS PERSONAL PROPERTY                                                                     $500,000 FOR 90 DAYS
NEWLY ACQUIRED OR CONSTRUCTED PROPERTY                                                                      $1,000,000 FOR 90 DAYS
ORDINANCE OR LAW                                                                                     SEE COMMERCIAL PROPERTY
                                                                                                                     DECLARATIONS
OUTDOOR PROPERTY                                                                                                                  $15,000
    TREES, SHRUBS OR PLANTS                                                                                          $1,000 PER ITEM
RADIO OR TELEVISION ANTENNAS                                                                                                      $10,000
PERSONAL EFFECTS AND PROPERTY OF OTHERS                                                                                           $15,000
POLLUTANT CLEAN UP AND REMOVAL                                                                                                    $25,000
PROPERTY IN TRANSIT                                                                                                               $25,000
PROPERTY OFF PREMISES                                                                                                             $25,000
REFRIGERATED PRODUCTS                                                                                                             $10,000
SALESPERSON'S SAMPLES                                                                                                             $10,000
          Case 5:22-cv-05114-TLB Document 2-1                      Filed 06/15/22 Page 10 of 147 PageID #: 26
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Owners Ins. Co.                                                                                                   Issued     11-07-2019
AGENCY    SIMS & RENNER INSURANCE                                               Company      POLICY NUMBER         194624-70586522-19
          24-0038-00         MKT TERR 116                                         Bill                                  70-46-AR-1911
INSURED   RMS WAREHOUSE 1315 LLC                                                                    Term 11-04-2019 to 11-04-2020



                                                                                                                           55198 (12-10)
                              STANDARD PROPERTY PLUS COVERAGE PACKAGE DECLARATION

                               COVERAGE                                                                           LIMIT
UTILITY SERVICES FAILURE                                                                                                       $50,000
VALUABLE PAPERS AND RECORDS ON PREMISES                                                                                        $50,000
VALUABLE PAPERS AND RECORDS OFF PREMISES                                                                                       $10,000
WATER BACK-UP FROM SEWERS OR DRAINS                                                                                            $15,000


Forms that apply to this coverage part:
64004 (12-10)              54198 (12-10)             54334    (12-10)          64020     (12-10)          54189     (12-10)
54186 (12-10)              54218 (03-13)             54217    (03-13)          54216     (03-13)          54214     (03-13)
54221 (12-10)              54220 (06-00)             54219    (12-10)          54338     (03-13)          54339     (03-13)
64010 (12-10)              64000 (12-10)
Coverages Provided

Insurance at the described premises applies only for coverages for which a limit of insurance is shown.

LOCATION 0001 - BUILDING 0001

Location: 1315 N 13Th St, Rogers, AR 72756-2301

Secured Interested Parties: See Attached Schedule

Rating Information
Territory: 040                                                         County: Benton
Program: Mercantile                                                    Construction: Non-Comb
Protection Class: 01                                                   Class Code: 0433
Rated As Sprinklered                                                   Specific Rate - Building: 0.328
Specific Rate - Business Income W/Ee & Rental Value: 0.328


                   COVERAGE                         COINSURANCE DEDUCTIBLE                    LIMIT            RATE        PREMIUM
BUILDING                                                                                         $13,000,000
 Causes of Loss
   Basic Group I                                                 80%          $10,000                             0.172      $22,360.00
   Basic Group II                                                80%          $10,000                             0.043       $5,590.00
   Windstorm/Hail                                                80%              1%                                           Included
   Special                                                       80%          $10,000                             0.024       $3,120.00
   Theft                                                         80%          $10,000                                          Included
 OPTIONAL COVERAGE
   Inflation Guard Factor Building 1.053
   Replacement Cost
   Equipment Breakdown                                                       $10,000        See Form 54843                     $572.00
   Property Plus Coverage Package                                               None      See 55198 (12-10)                   $2,355.00
   Tier: Standard
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Owners Ins. Co.                                                                                           Issued     11-07-2019
AGENCY    SIMS & RENNER INSURANCE                                        Company    POLICY NUMBER          194624-70586522-19
          24-0038-00         MKT TERR 116                                  Bill                                 70-46-AR-1911
INSURED   RMS WAREHOUSE 1315 LLC                                                           Term 11-04-2019 to 11-04-2020



                  COVERAGE                          COINSURANCE DEDUCTIBLE           LIMIT               RATE      PREMIUM
ORDINANCE OR LAW
  Coverage A-Undamaged Portion                                         $10,000      Incl in Bldg Limit                 Included
   Coverage B-Demolition                                               $10,000               $60,000                   Included
   Coverage C-Increased Cost                                           $10,000               $60,000                   Included
BUSINESS INCOME W/EE & RENTAL VALUE                                                        $600,000
    24 Hour Waiting Period
 Causes of Loss
   Basic Group I                                                           $0                             0.180       $1,080.00
   Basic Group II                                                          $0                             0.114         $684.00
   Special                                                                 $0                             0.054         $324.00
   Theft                                                                   $0                                          Included
 OPTIONAL COVERAGE
   Monthly Limit of Indemnity (fraction) 1/6
   Equipment Breakdown                                                     $0      See Form 54843                        $43.00
BUSINESS INCOME W/EE & RENTAL VALUE
  Ord/Law-Inc Period Restoration                                           $0       Incl in Bldg Limit                  $420.00


Forms that apply to this building:
59350 (01-15)              54835      (07-08)        59372   (06-07)    IL0003 (07-02)           64285      (07-17)
CP0090 (07-88)             54585      (12-10)        64000   (12-10)    64013 (12-10)            64010      (12-10)
54843 (11-17)              64020      (12-10)        64004   (12-10)    54317 (02-05)            59390      (01-15)

COMMERCIAL PROPERTY COVERAGE - LOCATION 0001 SUMMARY                                                               PREMIUM
TERRORISM - CERTIFIED ACTS            SEE FORM: 59350, 54835, 59390                                                    $365.00
                                                                                   LOCATION 0001                     $36,913.00
Secured Interested Parties and/or Additional Interested Parties
 Applies to Loc/Bldg(s):
 0001/001
 SIMMONS BANK
 4200 Rogers Avenue
 Fort Smith, AR 72903
 Interest: Mortgagee


                                                                                                                   55040 (11-87)
                                           COMMERCIAL GENERAL LIABILITY COVERAGE



                                               COVERAGE                                           LIMITS OF INSURANCE
    General Aggregate                                                                            $2,000,000
      (Other Than Products-Completed Operations)
    Products-Completed Operations Aggregate                                                      $2,000,000
    Personal And Advertising Injury                                                              $1,000,000
    Each Occurrence                                                                              $1,000,000
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Owners Ins. Co.                                                                                                 Issued    11-07-2019
AGENCY     SIMS & RENNER INSURANCE                                            Company      POLICY NUMBER        194624-70586522-19
           24-0038-00         MKT TERR 116                                      Bill                                 70-46-AR-1911
INSURED    RMS WAREHOUSE 1315 LLC                                                                 Term 11-04-2019 to 11-04-2020



                                            COVERAGE                                                     LIMITS OF INSURANCE

COMMERCIAL GENERAL LIABILITY PLUS ENDORSEMENT
    Damage to Premises Rented to You                                                                     $300,000 Any One Premises
          (Fire, Lightning, Explosion, Smoke or Water Damage)
    Medical Payments                                                                                      $10,000 Any One Person
    Hired Auto & Non-Owned Auto                                                                         $1,000,000 Each Occurrence
    Expanded Coverage Details See Form:
      Extended Watercraft
      Personal Injury Extension
      Broadened Supplementary Payments
      Broadened Knowledge Of Occurrence
      Additional Products-Completed Operations Aggregate
      Blanket Additional Insured - Lessor of Leased Equipment
      Blanket Additional Insured - Managers or Lessors of Premises
      Newly Formed or Acquired Organizations Extension
      Blanket Waiver of Subrogation
Twice the "General Aggregate Limit", shown above, is provided at no additional charge for each 12 month period in
accordance with form 55885.

AUDIT TYPE: Non-Audited

Forms that apply to this coverage:
59350 (01-15)              55405     (07-08)         55146      (06-04)       CG2106   (05-14)          55091       (05-17)
IL0021 (07-02)             IL0199    (07-02)         CG2608     (04-90)       CG0001   (04-13)          59372       (06-07)
IL0017 (11-85)             CG0142    (07-11)         55513      (05-17)       CG2109   (06-15)          55729       (05-17)
55029 (05-17)              CG2196    (03-05)         CG2132     (05-09)       CG2147   (12-07)          55885       (05-17)
59390 (01-15)

LOCATION 0001 - BUILDING 0001

Location: 1315 N 13Th St, Rogers, AR 72756-2301
Territory: 001                                              County: Benton

                      CLASSIFICATION                        CODE      SUBLINE        PREMIUM BASIS         RATE          PREMIUM

Commercial General Liability Plus Endorsement               00501                       Prem/Op Prem
Included At 7.5% Of The Premises Operation Premium                        Prem/Op            Included       Included          Included

Warehouses-Manufacturing Or Private Buildings Or            68702                                Area    Each 1000
Premises-Occupied By Multiple Interests (Lessors Risk                     Prem/Op             219,230        3.134            $687.00
Only)                                                                Prod/Comp Op             219,230          .249            $55.00

COMMERCIAL GENERAL LIABILITY COVERAGE - LOCATION 0001 SUMMARY                                                            PREMIUM
TERRORISM - CERTIFIED ACTS             SEE FORM: 59350, 55405, 59390                                                             $7.00
                                                                                          LOCATION 0001                        $749.00
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                                                                                                          54186 (12-10)

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          WATER BACK-UP FROM SEWERS OR DRAINS
This endorsement modifies insurance under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
BUSINESS INCOME AND EXTRA EXPENSE COVERAGE FORM
BUSINESS INCOME AND EXTRA EXPENSE ACTUAL LOSS SUSTAINED COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
CAUSES OF LOSS - SPECIAL FORM

1. Subject to the provisions of paragraph 2. below, under B. EXCLUSIONS, g. Water subparagraph (3) is deleted.

2. Under C. LIMITATIONS the following limitation is added:

    In any one loss, we will not pay more than the Limit of Insurance shown in the Declarations under WATER BACK-UP
    FROM SEWERS OR DRAINS for loss of or damage to Covered Property caused by water back-up from sewers or
    drains. In the event that the amount of loss of or damage to Covered Property does not exceed the Limit of
    Insurance shown in the Declarations for WATER BACKUP FROM SEWERS OR DRAINS, you may, at your option,
    apply the remainder of this Limit of Insurance to your actual loss of Business Income or necessary Extra Expense, if
    any, subject to the terms and conditions of the BUSINESS INCOME AND EXTRA EXPENSE COVERAGE FORM, or
    the BUSINESS INCOME AND EXTRA EXPENSE ACTUAL LOSS SUSTAINED COVERAGE FORM.

All other policy terms and conditions apply.


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54186 (12-10)                  Copyright, ISO Commercial Risk Services, Inc., 1983, 1990                     Page 1 of 1
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                                                                                                   #: 30

                                                                                                              54198 (12-10)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         DEBRIS REMOVAL
This endorsement modifies insurance under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM

Under A. COVERAGE, 4. Additional Coverages, a.                       (b) The actual debris removal expense exceeds
Debris Removal, (4) is deleted and replaced by the                       25% of the sum of the deductible plus the
following:                                                               amount that we pay for direct physical loss or
(4) We will pay an additional amount, up to the Limit of                 damage to the Covered Property that has sus-
     Insurance shown in the Declarations for DEBRIS                      tained loss or damage.
     REMOVAL, for debris removal expense, for each                   Therefore, if (4)(a) and/or (4)(b) apply, our total pay-
     location, in any one occurrence of physical loss or             ment for direct physical loss or damage and debris
     damage to Covered Property, if one or both of the               removal expense may reach but will never exceed
     following circumstances apply:                                  the Limit of Insurance on the Covered Property that
     (a) The total of the actual debris removal expense              has sustained loss or damage, plus the Limit of In-
          plus the amount we pay for direct physical loss            surance shown in the Declarations for DEBRIS RE-
          or damage exceeds the Limit of Insurance on                MOVAL.
          the Covered Property that has sustained loss or
          damage.                                                All other policy terms and conditions apply.



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54198 (12-10)               Copyright, ISO Commercial Risk Services, Inc., 1983, 1990, 2009                      Page 1 of 1
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                                                                                                             54216 (3-13)

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                               SALESPERSON'S SAMPLES
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
CAUSES OF LOSS - SPECIAL FORM

1. Under the A. COVERAGE, 4. Additional Coverages, the following Additional Coverage is added:
   Salesperson's Samples
   We will pay for direct physical loss of or damage to samples of merchandise described which are:
   a. Owned by you while in your care, custody or control;
   b. Owned by you and in the care, custody or control of your salesperson and/or agents; or
   c. While in transit, except by parcel post, between your premises and the salesperson and/or agent
   caused by or resulting from any Covered Cause of Loss.

    This coverage does not apply to:
    (1) Jewelry, furs or articles consisting principally of fur;
    (2) Property located in or on the building described in the Declarations or in the open (or in a vehicle) within 1,000
        feet of the described premises;
    (3) Property at or on the premises of your salespersons and/or agents; or
    (4) Merchandise intended for sale, which may be sold and shipped by you to others, or which has been purchased by
        you from others.

    Our payment for any one loss shall not exceed the Limit of Insurance shown in the Declarations for SALESPER-
    SON'S SAMPLES. The Additional Condition, Coinsurance, does not apply to this Additional Coverage.

2. Under B. EXCLUSIONS of the CAUSES OF LOSS - SPECIAL FORM, the following exclusions are added to apply
   only to this Additional Coverage:
   a. Misappropriation, secretion, conversion, infidelity or any dishonest act by you or other or the employees or agents
       of either to whom the covered property may be entrusted. This exclusion does not apply to carriers for hire.
   b. Breakage, marring, scratching, tearing or denting, unless caused by: fire or lightning; aircraft; theft and/or at-
       tempted theft; earthquake; flood; explosion; malicious damage or collision, derailment or overturn of a transport-
       ing conveyance.
   c. Mysterious or unexplained disappearance or from shortage disclosed by taking inventory.
   d. Theft from any vehicle, unless at the time of the theft, there is actually in or upon such vehicle your salesperson,
       representative or a permanent employee, or a person whose sole duty it is to attend the vehicle. This exclusion
       shall not apply to property in the custody of a common carrier.

3. In addition to the conditions of this policy, the following conditions apply only this Additional Coverage:
   a. PAIR OR SET
       In case of loss of or damage to any part of a pair or set, we may:
            (1) Repair or replace any part of the pair or set to restore it to its value before the loss; or
            (2) Pay the difference between the actual cash value of the property before and after the loss.
   b. PARTS
       In case of loss or damage to any part of property covered, consisting of several parts when complete, we shall
       pay only for the value of the part lost or damaged.

All other policy terms and conditions apply.

54216 (3-13)       Includes copyrighted material of ISO Commercial Services, Inc., with its permission.       Page 1 of 1
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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                       BAILEES COVERAGE
This endorsement modifies insurance under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM

1. Under A. COVERAGE, 4. Additional Coverages,                               to whom the covered property may be
   the following Additional Coverage is added:                               entrusted. This exclusion does not apply to
   Bailees Coverage                                                          carriers for hire.
   a. We will pay for direct physical loss or damage to                  (2) Delay.
       the property of others that:                                      (3) Vandalism or malicious mischief.
       (1) Is in your possession or in the possession of                 (4) Burglary of property left in your delivery
            any of your employees; or                                        vehicles overnight unless locked and in your
       (2) Is being transported by you, any of your                          building which you occupy.
            employees, a public carrier or mail service.              e. We will pay no more than the smallest of ei-
   b. We will also cover your actual incurred cost for                   ther:
       labor and materials.                                              (1) The cost to replace damaged property with
   c. We do not cover the following properties:                              new property of similar quality and features
       (1) Property held for storage or for which a                          reduced by the amount of decrease in value
            storage charge is made. If you do not have                       because of age, wear, obsolescence or
            instructions from the owner of the goods to                      market value applicable to the damaged
            store goods held by you, such goods are not                      property immediately prior to the loss; or
            considered stored.                                           (2) The Limit of Insurance shown in the Dec-
       (2) Property while in the possession of any                           larations for BAILEES COVERAGE.
            person, company or corporation other than
            you, your employees, a public carrier or mail                  This is an additional amount of insurance.
            service.
       (3) Any land motor vehicle.                                         Our payment for loss of or damage to property
       (4) Watercraft.                                                     of others will only be for the account of the
       (5) Aircraft including objects falling from aircraft.               owner of the property.
       (6) Animals, fish, fowl, reptiles or amphibians.
       (7) Accounts, bills, currency, deeds, food                     f.   No deductible applies to this Additional Cov-
            stamps or other evidences of debt, money,                      erage.
            notes or securities. Lottery tickets held for
            sale are not securities.                              2. The Additional Condition, Coinsurance does not
       (8) Contraband or property in the course of                   apply to this Additional Coverage.
            illegal transportation or trade.
   d. In addition to other policy exclusions, we will not         All other policy terms and conditions apply.
       pay for loss or damage caused directly or in-
       directly by any of the following. Such loss is
       excluded regardless of any other cause or event
       that contributes concurrently or in any sequence
       to the loss:
       (1) Misappropriation, secretion, conversion,
            infidelity or any dishonest act by you or
            others or the employees or agents of either



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                                                                                                           54189 (12-10)


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                             REFRIGERATED PRODUCTS
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
BUSINESS INCOME (AND EXTRA EXPENSE) ACTUAL LOSS SUSTAINED COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
CAUSES OF LOSS - SPECIAL FORM

1. Under the BUILDING AND PERSONAL PROPERTY                         Subject to 3. Limits of Insurance below, we shall
   COVERAGE FORM, CONDOMINIUM ASSOCIA-                              pay for the actual loss of Business Income you sus-
   TION COVERAGE FORM, and the CONDOMINIUM                          tain and necessary Extra Expense you incur be-
   COMMERCIAL UNIT-OWNERS COVERAGE                                  cause of loss or damage to "perishable stock"
   FORM, A. COVERAGE, 4. Additional Coverages,                      caused directly by any of the following:
   the following Additional Coverage is added:                      (1) Mechanical or electrical breakdown of the refrig-
                                                                         eration system; or
   Refrigerated Products                                            (2) The interruption of electrical services to the re-
                                                                         frigeration system caused by direct physical
   Subject to 3. Limits of Insurance below, we shall                     damage to the electrical generating or trans-
   pay for loss of or damage to "perishable stock"                       mission equipment of your "local utility service"
   caused directly by any of the following:                              caused by or resulting from any Covered Cause
   (1) Mechanical or electrical breakdown of the refrig-                 of Loss.
       eration system; or
   (2) The interruption of electrical services to the re-           You must exercise diligence in inspecting and main-
       frigeration system caused by direct physical                 taining refrigeration equipment. If interruption of
       damage to the electrical generating or trans-                electrical service or mechanical or electrical break-
       mission equipment of your "local utility service"            down is known, you must use all reasonable means
       caused by or resulting from any Covered Cause                to protect the covered property from further damage.
       of Loss.
                                                                3. Limits of Insurance
   You must exercise diligence in inspecting and main-             Under:
   taining refrigeration equipment. If interruption of             a. BUILDING AND PERSONAL PROPERTY COV-
   electrical service or mechanical or electrical break-              ERAGE FORM, CONDOMINIUM ASSOCIA-
   down is known, you must use all reasonable means                   TION COVERAGE FORM, and CONDOMINIUM
   to protect the covered property from further damage.               COMMERCIAL UNIT-OWNERS COVERAGE
                                                                      FORM, C. LIMITS OF INSURANCE; and
2. Under the BUSINESS INCOME (AND EXTRA EX-                        b. Under BUSINESS INCOME (AND EXTRA EX-
   PENSE) COVERAGE FORM, and the BUSINESS                             PENSE) COVERAGE FORM, and the BUSI-
   INCOME (AND EXTRA EXPENSE) ACTUAL LOSS                             NESS INCOME (AND EXTRA EXPENSE) AC-
   SUSTAINED COVERAGE FORM, A. COVERAGE,                              TUAL LOSS SUSTAINED COVERAGE FORM,
   5. Additional Coverages, the following Additional                  B. LIMITS OF INSURANCE the following is ad-
   Coverage is added:                                                 ded:
                                                                   Refrigerated Products
   Refrigerated Products                                           The most we shall pay for the sum of 1. and 2.
                                                                   above in any one loss, is the Limit of Insurance


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   shown in the Declarations for REFRIGERATED                   5. Definitions
   PRODUCTS.                                                       The following definitions apply only to this Additional
                                                                   Coverage:
4. Under the CAUSE OF LOSS - SPECIAL FORM, B.                      a. "Local utility service" means your billing entity,
   EXCLUSIONS:                                                         repair entity or service entity directly providing
   a. Exclusion 1.e. Utility Services is deleted and                   "power supply services" to the premises
      replaced by the following exclusion for this                     described in the Declarations.
      Additional Coverage only:                                    b. "Perishable stock" means merchandise held in
      e. Utility Services                                              storage or for sale that is refrigerated for preser-
           We shall not pay for loss or damage caused                  vation and is susceptible to loss or damage if
           by or resulting from the failure to supply                  the refrigeration fails.
           "power supply services" from any regional or            c. "Power supply services" means the following
           national grid.                                              types of property supplying electricity to the
   b. Exclusion 2.d.(6) is deleted and replaced by the                 described premises that are not located on a
      following exclusion for this Additional Coverage                 described premises and not rented, leased or
      only:                                                            owned by an insured:
      (6) Mechanical breakdown, including rupture or                   (1) Utility generating plants;
           bursting caused by centrifugal force. How-                  (2) Switching stations;
           ever, this does not apply to any resulting                  (3) Substations;
           loss or damage caused by elevator collision                 (4) Transformers; and
           or mechanical breakdown of refrigeration                    (5) Transmission lines.
           systems.
                                                                All other policy terms and conditions apply.


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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    VALUABLE PAPERS AND RECORDS
                   (OTHER THAN "ELECTRONIC DATA")
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM

With respect to coverage provided under this endorse-               b. VALUABLE PAPERS AND RECORDS OFF
ment only, A. COVERAGE, is amended as follows:                         PREMISES.
1. Under 2. Property Not Covered, o. is deleted and                 The Coinsurance Condition does not apply to this
    replaced by the following:                                      Additional Coverage.
    o. "Valuable papers and records" except as pro-
        vided under the Additional Coverage - Valuable              Under E. LOSS CONDITIONS, 7. Valuation does
        Papers and Records (Other Than "Electronic                  not apply to this endorsement. The following
        Data").                                                     applies:
2. Under 4. Additional Coverages, the following Addi-
    tional Coverage is added:                                       Loss or damage to "valuable papers and records"
    Valuable Papers and Records (Other Than "Elec-                  will be valued at the cost of restoration or replace-
    tronic Data")                                                   ment of the lost or damaged information. To the
    We cover "valuable papers and records" that:                    extent that the contents of the "valuable papers and
    a. You own; or                                                  records" are not restored, the "valuable papers and
    b. Are owned by others and are in your care,                    records" will be valued at the cost of replacement
        custody or control.                                         with blank materials of substantially identical type.

   If duplicates of ''valuable papers and records" do not           The following additional definitions apply only to this
   exist, we will pay the cost to research, and replace             endorsement.
   or restore the lost information.                                 a. "Valuable Papers and Records" means
                                                                       inscribed, printed or written:
   This Additional Coverage does not apply to:                         (1) Documents;
   a. "Valuable papers and records" which exist as                     (2) Manuscripts; and
       "electronic data";                                              (3) Records
   b. Property held as samples or for delivery after                   including abstracts, books, deeds, drawings,
       sale;                                                           films, maps or mortgages. However, "valuable
   c. Property in storage away from the premises                       papers and records" does not mean "money" or
       shown in the Declarations; or                                   "securities".
   d. Errors or omissions in processing or copying                  b. "Money" means:
       "valuable papers and records", unless fire or                   (1) Currency, coins and bank notes in current
       explosion ensues and then only for direct loss                        use and having a face value; and
       caused by such fire or explosion.                               (2) Travelers checks, register checks and
   The most we will pay under this Additional Coverage                       money orders held for sale to the public.
   in any one occurrence are the Limits of Insurance                c. "Securities" means all negotiable and non-
   shown in the Declarations for:                                      negotiable instruments or contracts representing
   a. VALUABLE PAPERS AND RECORDS ON                                   either "money" or other property and includes:
       PREMISES; and




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       (1) Tokens, tickets, revenue and other stamps           3. Under 5. Coverage Extensions, c. Valuable
           (whether represented by actual stamps or               Papers and Records (Other Than "Electronic
           unused value in a meter) in current use; and           Data") is deleted.
       (2) Evidences of debt issued in connection with
           credit or charge cards, which cards are not         All other policy terms and conditions apply.
           issued by you
       but does not include "money".


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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         ELECTRONIC DATA PROCESSING EQUIPMENT
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
CAUSES OF LOSS - SPECIAL FORM

Under A. COVERAGE, 4. Additional Coverages, the                          d. "Mechanical breakdown". We will cover
following Additional Coverage is added:                                      loss, damage or expense caused directly by
     Electronic Data Processing Equipment                                    lightning or by ensuing fire or explosion.
     1. Covered Property                                                 e. Faulty construction or error in design of the
         We will pay for:                                                    Covered Property. We will cover loss, dam-
         a. Direct physical loss of or damage to elec-                       age or expense caused directly by ensuing
             tronic equipment, component parts of such                       fire or explosion.
             equipment, "media" and air conditioning                     f. Delay or loss of market.
             equipment necessary for the operation of                 3. Limit of Insurance
             the electronic equipment:                                   a. Our payment for electronic equipment, com-
             (1) Which you own or which is in your care,                     ponent parts of such equipment and air con-
                  custody or control; and                                    ditioning equipment necessary for the opera-
             (2) While located at the premises described                     tion of such electronic equipment shall not
                  in the Declarations; and                                   exceed the Limit of Insurance shown in the
             (3) Caused by or resulting from any Cov-                        Declarations for ELECTRONIC DATA
                  ered Cause of Loss.                                        PROCESSING EQUIPMENT.
             We do not cover "laptop computers".                         b. Our payment for "media" shall not exceed
         b. Your costs to research, replace or restore                       the smallest of the following:
             "electronic data" contained on damaged                          (1) The actual cost to repair, replace or re-
             "media" because such "electronic data" has                            produce the "media", including your
             been destroyed or corrupted.                                          costs to research, replace or restore in-
     2. Exclusions                                                                 formation;
         Under B. EXCLUSIONS of the CAUSES OF                                (2) If the "media" is not repaired, replaced
         LOSS - SPECIAL FORM, the following exclu-                                 or reproduced, the value of blank "me-
         sions are added to apply only to this Additional                          dia"; or
         Coverage:                                                           (3) The Limit of Insurance shown in the
         a. "Electrical disturbance" unless caused by                              Declarations for ELECTRONIC DATA
             lightning.                                                            PROCESSING EQUIPMENT.
         b. Loss or damage caused by:                                    The Limit of Insurance shown in the Declara-
             (1) Data processing "media" failure; or                     tions for ELECTRONIC DATA PROCESSING
             (2) Breakdown or malfunction of the data                    EQUIPMENT is the total limit of our liability for
                  processing equipment and component                     loss or damage to all Covered Property in any
                  parts while the "media" is being run                   one occurrence at one location. With respect to
                  through the system. We will cover loss,                Covered Property you do not own, we will pay
                  damage or expense caused directly by                   no more than the amount for which you are
                  ensuing fire or explosion.                             legally liable.
         c. Actual work upon, installation or testing of                 The Additional Condition, Coinsurance, does not
             Covered Property. We will cover loss,                       apply to this Additional Coverage.
             caused by ensuing fire or explosion.                     4. Coverage Extensions


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      The following extensions apply only to this en-                       (2) The overturning, upset, or collision of
      dorsement:                                                                 the vehicle transporting the insured
      a. Property At Newly Acquired Or Tempo-                                    property, with another vehicle or object
           rary Locations:                                                       other than the road bed; or
           You may extend the coverage provided                             (3) Theft of an entire shipping bale, case or
           under 1. Covered Property, above to apply                             package from a vehicle:
           to property:                                                          (a) While such property is in a fully en-
           (1) At any location you acquire; or                                       closed and securely locked body or
           (2) At any temporary location, other than                                 compartment; and
                fairs or exhibitions, you acquire                                (b) Theft results from forcible entry,
           within the territorial limits and intended for                            evidenced by visible marks
           similar occupancy or warehousing purposes                        which occurs during transportation by motor
           for the business described in the Declara-                       vehicles you own, lease or operate.
           tions.                                                           We do not cover under this extension prop-
           The most we will pay for loss or damage                          erty held as samples, held for rental or sale
           under this extension is the Limit of Insur-                      or that you rent to others while in the care,
           ance shown in the Declarations for ELEC-                         custody or control of salespersons.
           TRONIC DATA PROCESSING EQUIP-                                 b. Business Income and Extra Expense
           MENT.                                                            (1) Business Income
           This coverage extension will end when any                             (a) Subject to the Limit of Insurance
           of the following first occurs:                                            provisions of this Additional Cover-
           (1) 60 days from your acquisition or use of                               age, we will pay for the actual loss
                such property;                                                       of Business Income you sustain as
           (2) On the date values at such locations are                              a direct result of the necessary
                reported to us; or                                                   "suspension" of your "operations"
           (3) On the expiration date of the policy.                                 during the "period of restoration"
      b. Newly Acquired Property:                                                    caused by accidental direct physical
           You may extend the coverage provided                                      loss of or damage to:
           under 1. Covered Property, above to apply                                 1) The electronic equipment or
           to property which you newly acquire, of the                                    "media" covered by this Addi-
           same type as the property covered at the                                       tional Coverage;
           described premises.                                                       2) The building housing the elec-
           The most we will pay for loss or damage                                        tronic equipment or "media" that
           under this extension is the Limit of Insur-                                    prevents access to and use of
           ance shown in the Declarations for ELEC-                                       the electronic equipment or
           TRONIC DATA PROCESSING EQUIP-                                                  "media"; or
           MENT.                                                                     3) The air conditioning or electrical
           This coverage extension will end when any                                      systems that are required to
           of the following first occurs:                                                 operate the electronic equip-
           (1) 60 days from your acquisition or use of                                    ment, provided such damage or
                such property;                                                            destruction is inside the building
           (2) On the date values of such property are                                    or outside within 1,000 feet of
                reported to us; or                                                        the building
           (3) On the expiration date of the policy.                                 caused by the perils insured against
      Each of these extensions is additional insur-                                  and subject to 2. Exclusions.
      ance.                                                                      (b) We will also pay expenses you incur
   5. The following Additional Coverages apply only                                  to reduce the covered loss. We will
      to this endorsement:                                                           not pay for expenses:
      a. Transportation                                                              1) You incur to extinguish a fire; or
           You may apply up to $10,000, for any one                                  2) That exceed the amount by
           occurrence for loss of or damage to property                                   which the covered loss is re-
           caused by:                                                                     duced.
           (1) Fire; lightning; explosion; smoke; riot                           (c) Business Income means the:
                and civil commotion; and vandalism and                               1) Net income (Net Profit or Loss
                malicious mischief;                                                       before income taxes) that would



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                        have been earned or incurred;                                      a) At the described premises;
                        and                                                                     or
                   2) Continuing normal operating                                          b) At replacement premises or
                        expenses incurred, including                                            at temporary locations, in-
                        payroll.                                                                cluding:
           (2) Extra Expense                                                                    i. Relocation expenses;
               (a) Subject to the Limit of Insurance                                                 and
                   provisions of this Additional Cov-                                           ii. Costs to equip and op-
                   erage, we will pay necessary Extra                                                erate the replacement
                   Expense, other than loss of Busi-                                                 or temporary locations.
                   ness Income, you incur to continue                                 2) To minimize the suspension of
                   "normal" operations of your busi-                                       business if you cannot continue
                   ness following accidental direct                                        "operations".
                   physical loss of or damage to:                                     3) a) To repair or replace any
                   1) The electronic equipment or                                               Covered Property; or
                        "media" covered by this Addi-                                      b) To research, replace or re-
                        tional Coverage;                                                        store the lost information on
                   2) The building housing the elec-                                            damaged valuable papers
                        tronic equipment or "media" that                                        and records
                        prevents access to and use of                                      to the extent it reduces the
                        the equipment or "media"; or                                       amount of loss that otherwise
                   3) The air conditioning or electrical                                   would have been payable under
                        systems that are required to                                       this Additional Coverage.
                        operate the electronic equip-                        (3) Coverage Extension - Civil Authority
                        ment, provided such damage or                            In this Coverage Extension - Civil
                        destruction is inside the building                       Authority, the described premises are
                        or outside within 1,000 feet of                          premises to which this endorsement
                        the building                                             applies, as shown in the Declarations.
                   caused by the perils insured against                          When a Covered Cause of Loss causes
                   and subject to 2. Exclusions.                                 damage to property other than property
                   You must resume normal operation                              at the described premises, you may ex-
                   of your business as soon as practi-                           tend your Business Income and Extra
                   cal.                                                          Expense Coverages to apply to the ac-
               (b) We will also cover the cost to repair,                        tual loss of Business Income you sus-
                   replace or restore:                                           tain and necessary Extra Expense
                   1) Books of account, abstracts,                               caused by action of civil authority that
                        drawings;                                                prohibits access to the described prem-
                   2) Card index systems; or                                     ises, provided that both of the following
                   3) Other records or data such as                              apply:
                        film, tape, disks, drum, cell or                         (a) Access to the area immediately sur-
                        other magnetic storage or re-                                 rounding the damaged property is
                        cording "media" for electronic                                prohibited by civil authority as a re-
                        data processing                                               sult of the damage, and the de-
                   that have been damaged or de-                                      scribed premises are within that
                   stroyed by perils we insure against,                               area but are not more than one mile
                   if such cost:                                                      from the damaged property; and
                   1) Exceeds the normal cost for                                (b) The action of civil authority is taken
                        such repair, replacement or res-                              in response to dangerous physical
                        toration; and                                                 conditions resulting from the dam-
                   2) Was incurred to reduce loss                                     age or continuation of the Covered
                        under this endorsement.                                       Cause of Loss that caused the dam-
               (c) Extra Expense means expense                                        age, or the action is taken to enable
                   incurred:                                                          a civil authority to have unimpeded
                   1) To avoid or minimize the "sus-                                  access to the damaged property.
                        pension" of business and con-                            Civil Authority Coverage for Business
                        tinue "operations":                                      Income and Extra Expense will begin


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               immediately following the time of the                                  Income that occurs during the "pe-
               first action of civil authority that prohibits                         riod of restoration", but not exceed-
               access to the described premises and                                   ing 12 consecutive months after the
               will apply for a period of up to four con-                             date of accidental direct physical
               secutive weeks from the date on which                                  loss of or damage to Covered Prop-
               coverage began.                                                        erty, resulting from a Covered
           (4) Exclusions                                                             Cause of Loss.
               The following exclusions apply to Busi-                            (b) Extra Expense
               ness Income and Extra Expense pro-                                     Subject to (c) below, we will pay for
               vided by this Additional Coverage only,                                necessary Extra Expense during the
               in addition to those contained in 2. Ex-                               "period of restoration" starting with
               clusions above.                                                        the date of damage or destruction.
               (a) We will not be liable for any in-                                  Payments under this coverage shall
                     crease in loss of Business Income                                not be limited by the expiration of
                     or Extra Expense caused by any of                                the policy.
                     the following, whether or not any                            (c) Our total payment for both Business
                     other cause or happening contrib-                                Income and Extra Expense for any
                     utes concurrently or in any se-                                  one occurrence shall not exceed
                     quence to the loss or damage:                                    $100,000.
                     1) Enforcement of any ordinance                          (6) Loss Determination
                          or law regulating construction,                         (a) The amount of Business Income
                          repair or demolition of buildings                           loss will be determined based on:
                          or structures;                                              1) The Net Income of the business
                     2) Interference at the described                                      before the direct physical loss or
                          premises by strikers or other                                    damage occurred;
                          persons with:                                               2) The likely Net Income of the
                          a) Rebuilding, repairing or re-                                  business if no physical loss or
                                placing the property; or                                   damage had occurred, but not
                          b) Resumption or continuation                                    including any Net Income that
                                of business; or                                            would likely have been earned
                     3) The suspension, lapse, or can-                                     as a result of an increase in the
                          cellation of any lease, license,                                 volume of business due to fa-
                          contract or order beyond the                                     vorable business conditions
                          "period of restoration".                                         caused by the impact of the
               (b) We will not cover loss or damage                                        Covered Cause of Loss on cus-
                     caused directly or indirectly by any                                  tomers or on other businesses;
                     of the following, whether or not any                             3) The operating expenses, includ-
                     other cause or happening contrib-                                     ing payroll expenses, necessary
                     utes concurrently or in any se-                                       to resume "operations" with the
                     quence to the loss or damage:                                         same quality of service that ex-
                     1) Theft of any property, which is                                    isted just before the direct phys-
                          not an integral part of a building                               ical loss or damage; and
                          or structure at the time of loss.                           4) Other relevant sources of infor-
                          We will cover direct loss that                                   mation, including:
                          ensues from a peril not ex-                                      a) Your financial records and
                          cluded in this policy. We will                                        accounting procedures;
                          cover direct loss by pillage and                                 b) Bills, invoices and other
                          looting which occurs during and                                       vouchers; and
                          at the immediate place of riot or                                c) Deeds, liens or contracts.
                          civil commotion.                                        (b) The amount of Extra Expense will
                     2) Any other consequential or re-                                be determined based on:
                          mote loss.                                                  1) All expenses that exceed the
           (5) Limit of Insurance                                                          normal operating expenses that
               (a) Business Income                                                         would have been incurred by
                     Subject to (c) below, we will pay                                     "operations" during the "period
                     only for loss of your Business                                        of restoration" if no direct phys-


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                         ical loss or damage had occur-                  a. "Electrical Disturbance" means electrical or
                         red. We will deduct from the                       magnetic damage, disturbance or erasure of
                         total of such expenses:                            electronic recordings.
                         a) The salvage value that re-                   b. "Laptop Computer" means portable data
                              mains of any property                         collectors, notebook (laptop) computers,
                              bought for temporary use                      subnote book computers, palmtop com-
                              during the "period of res-                    puters, handheld computers and portable or
                              toration" once "operations"                   any similar computer. Laptop computer
                              are resumed; and                              does not mean cellular phone, wireless
                         b) Any Extra Expense that is                       phone or pager.
                              paid for by other insurance,               c. "Mechanical Breakdown" means compo-
                              except for insurance that is                  nent failure or mechanical malfunction,
                              written subject to the same                   breakdown or failure.
                              plan, terms, conditions and                d. "Media" means materials on which informa-
                              provisions as this insurance;                 tion is recorded such as film, magnetic
                              and                                           tape, paper tape, disks, drums, and cards.
                   2) All necessary expenses that re-                       Media includes computer software.
                         duce the Business Income loss                   e. "Normal" means the condition that would
                         that otherwise would have been                     have existed had no loss occurred.
                         incurred.                                       f. "Operations" means your business activities
               (c) Resumption Of Operations                                 occurring at the described premises.
                   We will reduce the amount of your:                    g. "Period of Restoration" means the period of
                   1) Business Income loss, other                           time that:
                         than Extra Expense, to the ex-                     (1) Begins with the date of direct physical
                         tent you can resume your "oper-                         loss or damage caused by or resulting
                         ations", in whole or in part, by                        from any Covered Cause of Loss at the
                         using damaged or undamaged                              described premises; and
                         property (including merchan-                       (2) Ends on the date when the property at
                         dise or stock) at the described                         the described premises should be re-
                         premises or elsewhere.                                  paired, rebuilt or replaced with reason-
                   2) Extra Expense loss to the ex-                              able speed and similar quality.
                         tent you can return "operations"                   "Period of Restoration" does not include any
                         to normal and discontinue such                     increased period required due to the en-
                         Extra Expense.                                     forcement of any law that:
               (d) If you do not resume "operations",                       (1) Regulates the construction, use or re-
                   or do not resume "operations" as                              pair, or requires the tearing down of any
                   quickly as possible, we will pay                              property; or
                   based on the length of time it would                     (2) Regulates the prevention, control, re-
                   have taken to resume "operations"                             pair, clean-up or restoration of environ-
                   as quickly as possible.                                       mental damage.
          (7) Loss Payment - Business Income and                            The expiration date of this policy will not
               Extra Expense                                                shorten or cause the "period of restoration"
               We will pay for covered loss within 30                       to terminate.
               days after we receive the sworn proof of                  h. "Suspension" means:
               loss, if:                                                    (1) The slowdown or cessation of your busi-
               (a) You have complied with all of the                             ness activities; or
                   terms of this endorsement; and                           (2) That a part or all of the described prem-
               (b) 1) We have reached agreement                                  ises is rendered untenantable, if cover-
                         with you on the amount of loss;                         age for Business Income applies.
                         or
                   2) An appraisal award has been                All other policy terms and conditions apply.
                         made.
   6. Definitions
      The following definitions apply only to this Addi-
      tional Coverage:



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                                                                                                            54218 (3-13)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                ACCOUNTS RECEIVABLE
This endorsement modifies insurance under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
CAUSES OF LOSS - SPECIAL FORM

1. Under A. COVERAGE, 4. Additional Coverages, the following Additional Coverage is added:
   Accounts Receivable
   We will pay:
   a. All amounts your customers owe you that you cannot collect;
   b. Interest charges on loans you secure to offset impaired receipts until we pay these amounts;
   c. Collection costs in excess of normal; and
   d. Other expenses you reasonably incur to re-establish your records
   which result from direct physical loss of or damage to your records of accounts receivable:
   i. caused by or resulting from any Covered Causes Of Loss; and
   ii. which occurs on the premises described in the Declarations.

    Our payment for any one loss shall not exceed the Limit of Insurance shown in the Declarations for ACCOUNTS
    RECEIVABLE.

2. Under B. EXCLUSIONS of the CAUSES OF LOSS - SPECIAL FORM, the following exclusions are added to apply
   only to this Additional Coverage.
   a. Bookkeeping, accounting or billing errors or omissions.
   b. Falsification, alteration, concealment or destruction of records done to conceal the wrongful giving, taking or
       withholding of money, securities or other property. This exclusion applies only to the extent of the wrongful
       giving, taking or withholding.
   c. Electrical or magnetic injury, disturbance or erasure of electronic recordings. But we do cover direct loss caused
       by lightning.
   d. We will not pay for any loss that relies solely upon an audit of records on an inventory computation to prove its
       factual existence.

3. In addition to the conditions of this policy, the following conditions apply only to this Additional Coverage:
   a. Protection of Records of Accounts Receivable
       For coverage to apply under this Additional Coverage, you must keep all records of accounts receivable in a
       locked safe or vault when:
       (1) You are not open for business; or
       (2) You are not using such records; or
       (3) Such records are not removed from premises as permitted under the Additional Coverage, Preservation of
            Property.
   b. The following is added to the Loss Payment Condition:
       (1) If you cannot accurately establish the accounts receivable outstanding as of the time of loss or damage, the
            following method will be used:
            (a) Determine the total of the average monthly amounts of accounts receivable for the 12 months im-
                 mediately preceding the month in which the loss or damage occurs; and




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            (b) Adjust that total for any normal fluctuations in the amount of accounts receivable for the month in which
                the loss or damage occurred or for any demonstrated variance from the average for that month.
        (2) The following will be deducted from the total amount of accounts receivable, however that amount is
            established:
            (a) The amount of the accounts for which there is no loss or damage;
            (b) The amount of the accounts that you are able to re-establish or collect;
            (c) An amount to allow for probable bad debts that you are normally unable to collect; and
            (d) All unearned interest and service charges.

All other policy terms and conditions apply.


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                                                                                                           54219 (12-10)

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 MONEY AND SECURITIES
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM

A. A. COVERAGE is amended as follows:                                           (b) Disappearance or destruction.
   1. Under 2. Property Not Covered, a. is deleted                         (2) Any covered "money" and "securities"
       and replaced by the following for this endorse-                          loss from an armored motor vehicle
       ment only:                                                               company, we will pay only for the
       a. Accounts, bills, currency, food stamps or                             amount of loss you cannot recover:
          other evidences of debt, money, notes or                              (a) Under your contract with the ar-
          securities. Lottery tickets held for sale are                             mored motor vehicle company; and
          not securities.                                                       (b) From any insurance or indemnity
          However, "money" and "securities" are                                     carried by, or for the benefit of cus-
          covered as provided by this endorsement.                                  tomers of, the armored motor vehi-
   2. Under 4. Additional Coverages, the following                                  cle company.
       Additional Coverage is added:                            B. EXCLUSIONS
       Money And Securities                                        1. The Covered Causes Of Loss Form shown in
       a. Inside The Premises                                         the Declarations as applicable to Property, does
          (1) We will pay for loss of "money" and                     not apply to this coverage.
               "securities" inside the "premises" or a             2. We will not pay for loss caused by any of the
               "banking premises" resulting directly                  following:
               from:                                                  a. Accounting Or Arithmetical Errors Or
               (a) "Theft"; or                                             Omissions: Loss resulting from accounting
               (b) Disappearance or destruction.                           or arithmetical errors or omissions.
          (2) We will pay for loss from damage to the                 b. Acts Committed By You, Your Partners
               "premises" or its exterior resulting di-                    Or Your Members: Loss resulting from any
               rectly from an actual or attempted "theft"                  dishonest or criminal act committed by you
               of "money" and "securities" if you are                      or any of your partners or members whether
               the owner of the "premises" or are liable                   acting alone or in collusion with other per-
               for damage to it.                                           sons.
          (3) We will pay for loss of, and loss from                  c. Acts Of Employees, Managers, Directors,
               damage to, a locked safe, vault, cash                       Trustees Or Representatives: Loss re-
               register, cash box or cash drawer lo-                       sulting from any dishonest or criminal act
               cated in the "premises" resulting directly                  committed by any of your "employees",
               from an actual or attempted:                                managers, directors, trustees or authorized
               (a) "Theft" of; or                                          representatives:
               (b) Unlawful entry into                                     (1) Acting alone or in collusion with other
               those containers.                                                persons; or
       b. Outside The Premises                                             (2) While performing services for you or
          (1) We will pay for loss of "money" and                               otherwise.
               "securities" outside the "premises" in the             d. Exchanges Or Purchases: Loss resulting
               care and custody of a "messenger" or                        from the giving or surrendering of property in
               an armored motor vehicle company.                           any exchange or purchase.
               The loss must result from:                             e. Fire: Loss from damage to the "premises"
               (a) "Theft"; or                                             resulting from fire, however caused.


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       f. Governmental Action: Loss resulting from                               "money" and "securities" while outside
          seizure or destruction of property by order of                         the "premises" in the care and custody
          governmental authority.                                                of a "messenger" if you:
       g. Indirect Loss: Loss that is an indirect re-                            (a) Had no knowledge of any threat at
          sult of any act or "occurrence" covered by                                 the time the conyenance began; or
          this insurance including, but not limited to,                          (b) Had knowledge of a threat at the
          loss resulting from:                                                       time the conyenance began, but the
          (1) Your inability to realize income that you                              loss was not related to the threat.
               would have realized had there been no                   m. Vandalism: Loss from damage to the
               loss of, or loss from damage to, "mon-                       "premises" or its exterior or to containers of
               "ey" or "securities".                                        covered "money" and "securities" by vanda-
          (2) Payment of damages of any type for                            lism or malicious mischief.
               which you are legally liable. However,                  n. Voluntary Parting Of Title To Or Pos-
               we will pay compensatory damages                             session Of Property: Loss resulting from
               arising directly from a loss covered                         your, or anyone acting on your express or
               under this insurance.                                        implied authority, being induced by any dis-
          (3) Payment of costs, fees or other ex-                           honest act to voluntarily part with title to or
               penses you incur in establishing either                      possession of any property.
               the existence or the amount of loss un-         C. LIMIT OF INSURANCE
               der this insurance.                                The most we will pay for loss of "money" and "secur-
       h. Legal Expenses: Expenses related to any                 ties" inside the "premises", and outside the "prem-
          legal action.                                           ises" are the Limits of Insurance shown in the Dec-
       i. Nuclear: Loss resulting from nuclear re-                larations for MONEY AND SECURITIES.
          action, nuclear radiation or radioactive con-        D. DEDUCTIBLE
          tamination, or any related act or incident.             We will not pay for loss in any one "occurrence"
       j. War And Military Action:                                unless the amount of loss exceeds the Deductible
          Loss or damage resulting from:                          Amount shown in the Declarations for MONEY AND
          (1) War, including undeclared or civil war;             SECURITIES. We will then pay the amount of loss
          (2) Warlike action by a military force, in-             in excess of the Deductible Amount up to the Limit
               cluding action in hindering or defending           of Insurance.
               against an actual or expected attack, by        E. GENERAL CONDITIONS
               any government, sovereign or other                 The following Conditions apply in addition to the
               authority using military personnel or              Common Policy Conditions:
               other agents; or                                   1. Consolidation - Merger: If through consolida-
          (3) Insurrection, rebellion, revolution,                     tion or merger with, or purchase of assets of,
               usurped power, or action taken by gov-                  some other entity:
               ernmental authority in hindering or de-                 a. Any additional persons become "employ-
               fending against any of these.                                ees"; or
       k. Money Operated Devices: Loss of prop-                        b. You acquire the use and control of any
          erty contained in any money operated de-                          additional "premises"
          vice unless the amount of "money" de-                        any insurance afforded for "employees" or
          posited in it is recorded by a continuous                    "premises" also applies to those additional
          recording instrument in the device.                          "employees" and "premises", but only if you:
       l. Transfer Or Surrender Of Property:                           a. Give us written notice within 30 days there-
          (1) Loss of property after it has been trans-                     after; and
               ferred or surrendered to a person or                    b. Pay us an additional premium.
               place outside the "premises" or "banking           2. Discovery Period For Loss: We will pay only
               premises":                                              for covered loss discovered no later than one
               (a) On the basis of unauthorized in-                    year from the end of the policy period.
                    structions; or                                3. Duties In The Event Of Loss
               (b) As a result of a threat to do:                      a. After you discover a loss or a situation that
                    1) Bodily harm to any person; or                        may result in loss of, or loss from damage
                    2) Damage to any property.                              to, covered "money" or "securities" you
          (2) However, this exclusion does not apply                        must:
               under A.2.b. above to loss of covered                        (1) Notify us as soon as possible.


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            (2) Submit to examination under oath at our                         insurance except that the time within which
                 request and give us a signed statement                         to discover loss had expired, we will pay for
                 of your answers.                                               it under this insurance, provided:
            (3) Give us a detailed, sworn proof of loss                         (1) This insurance became effective at the
                 within 120 days.                                                    time of cancellation or termination of the
            (4) Cooperate with us in the investigation                               prior insurance; and
                 and settlement of any claim.                                   (2) The loss would have been covered by
        b. If you have reason to believe that any loss                               this insurance had it been in effect when
            of or loss from damage to, covered "money"                               the acts or events causing the loss were
            or "securities" involves a violation of law,                             committed or occurred.
            you must notify the police.                                    b. The insurance under this Condition is part
   4.   Joint Insured                                                           of, not in addition to, the Limits of Insurance
        a. If more than one Insured is named in the                             and is limited to the lesser of the amount re-
            Declarations, the first named Insured will act                      coverable under:
            for itself and for every other Insured for all                      (1) This insurance as of its effective date; or
            purposes of this insurance. If the first named                      (2) The prior insurance had it remained in
            Insured ceases to be covered, then the next                              effect.
            named Insured will become the first named                8.    Loss Covered Under This Insurance And
            Insured.                                                       Prior Insurance Issued By Us Or Any
        b. If any Insured or partner or officer of that                    Affiliate: If any loss is covered:
            Insured has knowledge of any information                       a. Partly by this insurance; and
            relevant to this insurance, that knowledge is                  b. Partly by any prior canceled or terminated
            considered knowledge of every Insured.                              insurance that we or any affiliate had issued
        c. An "employee" of any Insured is considered                           to you or any predecessor in interest
            to be an " employee" of every Insured.                         the most we will pay is the larger of the amount
        d. If this insurance or any of its coverages are                   recoverable under this insurance or the prior
            canceled or terminated as to any Insured,                      insurance.
            loss sustained by that Insured is covered                9.    Non-Cumulation Of Limit Of Insurance: Re-
            only if discovered no later than one year                      gardless of the number of years this insurance
            from the date of that cancellation or                          remains in force or the number of premiums
            termination.                                                   paid, no Limit of Insurance cumulates from year
        e. We will not pay more for loss sustained by                      to year or period to period.
            more than one Insured than the amount we                10.    Other Insurance: This insurance does not
            should pay if all the loss had been sustained                  apply to loss recoverable or recovered under
            by one Insured.                                                other insurance or indemnity. However, if the
   5.   Legal Action Against Us: You may not bring                         limit of the other insurance or indemnity is in-
        any legal action against us involving loss:                        sufficient to cover the entire amount of the loss,
        a. Unless you have complied with all the terms                     this insurance will apply to that part of the loss,
            of this insurance;                                             other than that falling within any deductible
        b. Until 90 days after you have filed proof of                     amount, not recoverable or recovered under the
            loss with us; and                                              other insurance or indemnity, but not or more
        c. Unless brought within 2 years from the date                     than the Limit of Insurance.
            you discover the loss.                                   11.   Ownership Of Property; Interests Covered:
   6.   Loss Covered Under More Than One Cover-                            The property covered under this insurance is
        age Of This Insurance: If two or more cov-                         limited to property:
        erages of this insurance apply to the same loss,                   a. That you own or hold; or
        we will pay the lesser of:                                         b. For which you are legally liable.
        a. The actual amount of loss; or                                   However, this insurance is for your benefit only.
        b. The sum of the limits of insurance applicable                   It provides no rights or benefits to any other
            to those coverages.                                            person or organization.
   7.   Loss Sustained During Prior Insurance                        12.    Policy Period
        a. If you, or any predecessor in interest, sus-                    a. The Policy Period is shown in the Declara-
            tained loss during the period of any prior                          tions.
            insurance that you or the predecessor in                       b. Subject to the Loss Sustained During Prior
            interest could have recovered under that                            Insurance condition, we will pay only for loss


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             that you sustain through acts committed or                                 replace them in kind, in which event
             events occurring during the Policy Period.                                 you must assign to us all your
   13.   Records: You must keep records of all Cov-                                     rights, title and interest in and to
         ered Property so we can verify the amount of                                   those "securities"; or
         any loss.                                                                 (b) Pay the cost of any Lost Securities
   14.   Recoveries                                                                     Bond required in connection with
         a. Any recoveries, less the cost of obtaining                                  issuing duplicates of the "securities".
             them, made after settlement of loss covered                                However, we will be liable only for
             by this insurance will be distributed as                                   the payment of so much of the cost
             follows:                                                                   of the bond as would be charged for
             (1) To you, until you are reimbursed for any                               a bond having a penalty not exceed-
                  loss that you sustain that exceeds the                                ing the lesser of the:
                  Limit of Insurance and the Deductible                                 1) Value of the "securities" at the
                  Amount, if any;                                                            close of the business on the day
             (2) Then to us, until we are reimbursed for                                     the loss was discovered; or
                  the settlement made; and                                              2) Limit of Insurance.
             (3) Then to you, until you are reimbursed                        (3) Loss of, or loss from damage to "prop-
                  for that part of the loss equal to the De-                       erty other than money and securities" or
                  ductible Amount, if any.                                         loss from damage to the "premises" for
         b. Recoveries do not include any recovery:                                not more than the:
             (1) From insurance, suretyship, reinsur-                              (a) Actual cash value of the property on
                  ance, security or indemnity taken for our                             the day the loss was discovered;
                  benefit; or                                                      (b) Cost of repairing the property or
             (2) Of original "securities" after duplicates of                           "premises"; or
                  them have been issued.                                           (c) Cost of replacing the property with
   15.   Territory: This insurance covers only acts                                     property of like kind and quality.
         committed or events occurring within the United                           We may, at our option, pay the actual
         States of America (including its territories and                          cash value of the property or repair or
         possessions), Puerto Rico and Canada.                                     replace it.
   16.   Transfer Of Your Rights Of Recovery Against                               If we cannot agree with you upon the
         Others To Us: You must transfer to us all your                            actual cash value or the cost of repair or
         rights of recovery against any person or or-                              replacement, the value or cost will be
         ganization for any loss you sustained and for                             determined by arbitration.
         which we have paid or settled. You must also                    b. We may, at our option, pay for loss of, or
         do everything necessary to secure those rights                       loss from damage to, property other than
         and do nothing after loss to impair them.                            "money":
   17.   Valuation - Settlement                                               (1) In the "money" of the country in which
         a. Subject to the Limit of Insurance provision                            the loss occurred; or
             we will pay for:                                                 (2) In the United States of America dollar
             (1) Loss of "money" but only up to and in-                            equivalent of the "money" of the country
                  cluding its face value. We may, at our                           in which the loss occurred determined
                  option, pay for loss of "money" issued                           by the rate of exchange on the day the
                  by any country other than the United                             loss was discovered.
                  States of America:                                     c. Any property that we pay for or replace be-
                  (a) At face value in the "money" issued                     comes our property.
                       by that country; or                         F. DEFINITIONS
                  (b) In the United States of America                 1. "Banking Premises" means the interior of that
                       dollar equivalent determined by the               portion of any building occupied by a banking
                       rate of exchange on the day the loss              institution or similar safe depository.
                       was discovered.                                2. "Employee" means:
             (2) Loss of "securities" but only up to and                 a. Any natural person:
                  including their value at the close of                       (1) While in your service (and for 30 days
                  business on the day the loss was                                 after termination of service);
                  discovered. We may, at our option:                          (2) Whom you compensate directly by
                  (a) Pay the value of such "securities" or                        salary, wages or commissions; and


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           (3) Whom you have the right to direct and                     b. Act or event, or a series of related acts or
               control while performing services for                          events not involving any person.
               you; or                                             6.    "Premises" means the interior of that portion of
      b. Any natural person employed by an employ-                       any building you occupy in conducting your bus-
           ment contractor while that person is subject                  iness.
           to your direction and control and performing            7.    "Property Other Than Money And Securities"
           services for you excluding however, any                       means any tangible property other than "money"
           such person while having care and custody                     and "securities" that has intrinsic value but does
           of property outside the "premises".                           not include any property listed in any Coverage
           However, "employee" does not mean any:                        Form as Property Not Covered.
           (1) Agent, broker, factor, commission mer-              8.    "Securities" means negotiable and non-negoti-
               chant, consignee, independent con-                        able instruments or contracts representing either
               tractor or representative of the same                     "money" or other property and includes:
               general character; or                                     a. Tokens, tickets, revenue and other stamps
           (2) Director or trustee except while per-                          (whether represented by actual stamps or
               forming acts coming within the scope of                        unused value in a meter) in current use; and
               the usual duties of an employee.                          b. Evidences of debt issued in connection with
   3. "Messenger" means you, any of your partners or                          credit or charge cards, which cards are not
      any "employee" while having care and custody                            issued by you
      of the property outside the "premises".                            but does not include "money".
   4. "Money" means:                                               9.    "Theft" means any act of stealing.
      a. Currency, coins and bank notes in current                 10.   "Watchperson" means any person you retain
           use and having a face value; and                              specifically to have care and custody of property
      b. Travelers checks, register checks and                           inside the "premises" and who has no other
           money orders held for sale to the public.                     duties.
   5. "Occurrence" means an:
      a. Act or series of related acts involving one or        All other policy terms and conditions apply.
           more persons; or


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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              FORGERY OR ALTERATION
This endorsement adds Crime Coverage to the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM


A. COVERAGE

   We will pay for loss involving Covered Instruments resulting directly from the Covered Causes of Loss.

   1. Covered Instruments: Checks, drafts, promissory notes, or similar written promises, orders or directions to pay
      a sum certain in "money" that are:

       a. Made or drawn by or drawn upon you;

       b. Made or drawn by one acting as your agent; or

       that are purported to have been so made or drawn.

   2. Covered Cause of Loss: Forgery or alteration of, on or in any Covered Instrument.

   3. Coverage Extension

       Legal Expenses: If you are sued for refusing to pay any Covered Instrument on the basis that it has been forged
       or altered, and you have our written consent to defend the suit, we will pay for any reasonably legal expenses that
       you incur and pay in that defense. The amount we will pay under this extension is in addition to the Limit of Insur-
       ance applicable to this insurance.

B. EXCLUSIONS

   We will not pay for loss as specified below:

   1. Acts Committed by You or Your Partners: Loss resulting from any dishonest or criminal act committed by you
      or any of your partners whether acting alone or in collusion with other persons.

   2. Acts of Employees, Directors, or Trustees: We will not pay for loss resulting from any dishonest or criminal act
      committed by any of your "employees", directors, or trustees:

       a. Whether acting alone or in collusion with other persons; or

       b. Whether while performing services for you or otherwise.

   3. Governmental Action: Loss resulting from seizure or destruction or property by order of governmental authority.



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   4. Indirect Loss: Loss that is an indirect result of any act or "occurrence" covered by this insurance including, but
      not limited to, loss resulting from:

       a. Your inability to realize income that you would have realized had there been no loss of, or loss from damage
          to, Covered Instruments.

       b. Payment of damages of any type for which you are legally liable. But, we will pay compensatory damages
          arising directly from a loss covered under this insurance.

       c. Payment of costs, fees or other expenses you incur in establishing either the existence or the amount of loss
          under this insurance.

   5. Legal Expenses: Expenses related to any legal action.

   6. Nuclear: Loss resulting from nuclear reaction, nuclear radiation or radioactive contamination, or any related act
      or incident.

   7. War and Similar Actions: Loss resulting from war, whether or not declared, warlike action, insurrection, rebel-
      lion or revolution, or any related act or incident.

C. LIMIT OF INSURANCE

   The most we will pay for loss in any one "occurrence" is the Limit of Insurance shown in the Declarations for FOR-
   GERY AND ALTERATION.

D. DEDUCTIBLE

   We will not pay for loss in any one "occurrence" unless the amount of loss exceeds the Deductible Amount shown in
   the Declarations for FORGERY AND ALTERATION. We will then pay the amount of loss in excess of the Deductible
   Amount up to the Limit of Insurance. This provision does not apply to legal expenses paid under the Coverage Ex-
   tension.

E. GENERAL CONDITIONS

   1. Consolidation - Merger: If through consolidation or merger with, or purchase of assets of, some other entity:

       a. Any additional persons become "employees"; or

       b. You acquire the use and control of any additional "premises";

       any insurance afforded for "employees" or "premises" also applies to those additional "employees" and "prem-
       ises", but only if you:

       a. Give us written notice within 30 days thereafter; and

       b. Pay us an additional premium.

   2. Discovery Period for Loss: We will pay only for covered loss discovered no later than one year from the end of
      the policy period.

   3. Duties in the Event of Loss: After you discover a loss or a situation that may result in loss of, or loss from
      damage to, Covered Instruments you must:

       a. Notify us as soon as possible.



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       b. Submit to examination under oath at our request and give us a signed statement of your answers.

       c. Give us a detailed, sworn proof of loss within 120 days.

       d. Cooperate with us in the investigation and settlement of any claim.

   4. Joint Insured

       a. If more than one Insured is named in the Declarations, the first named Insured will act for itself and for every
          other Insured for all purposes of this insurance. If the first named Insured ceases to be covered, then the
          next named Insured will become the first named Insured.

       b. If any Insured or partner or officer of that Insured has knowledge of any information relevant to this insurance,
          that knowledge is considered knowledge of every Insured.

       c. An "employee" of any Insured is considered to be an "employee" of every Insured.

       d. If this insurance or any of its coverages is canceled or terminated as to any Insured, loss sustained by that
          Insured is covered only if discovered no later than one year from the date of that cancellation or termination.

       e. We will not pay more for loss sustained by more than one Insured than the amount we should pay if all the
          loss had been sustained by one Insured.

   5. Legal Action Against Us: You may not bring any legal action against us involving loss:

       a. Unless you have complied with all the terms of this insurance;

       b. Until 90 days after you have filed proof of loss with us; and

       c. Unless brought within 2 years from the date you discover the loss.

   6. Loss Covered Under More Than One Coverage of This Insurance: If two or more coverages of this insurance
      apply to the same loss, we will pay the lesser of:

       a. The actual amount of loss; or

       b. The sum of the limits of insurance applicable to those coverages.

   7. Loss Sustained During Prior Insurance

       a. If you, or any predecessor in interest, sustained loss during the period of any prior insurance that you or the
          predecessor in interest could have recovered under that insurance except that the time within which to dis-
          cover loss had expired, we will pay for it under this insurance, provided:

           (1) This insurance became effective at the time of cancellation or termination of the prior insurance; and

           (2) The loss would have been covered by this insurance had it been in effect when the acts or events caus-
               ing the loss were committed or occurred.

       b. The insurance under this Condition is part of, not in addition to, the Limits of Insurance and is limited to the
          lesser of the amount recoverable under:

           (1) This insurance as of its effective date; or




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           (2) The prior insurance had it remained in effect.

   8. Loss Covered Under This Insurance and Prior Insurance Issued by Us or Any Affiliate: If any loss is cov-
      ered:

       a. Partly by this insurance; and

       b. Partly by any prior canceled or terminated insurance that we or any affiliate had issued to you or any prede-
          cessor in interest;

       the most we will pay is the larger of the amount recoverable under this insurance or the prior insurance.

   9. Non-Cumulation of Limit of Insurance: Regardless of the number of years this insurance remains in force or
      the number of premiums paid, no Limit of Insurance cumulates from year to year or period to period.

   10. Other Insurance: This insurance does not apply to loss recoverable or recovered under other insurance or in-
       demnity. However, if the limit of the other insurance or indemnity is insufficient to cover the entire amount of the
       loss, this insurance will apply to that part of the loss, other than that falling within any deductible amount, not re-
       coverable or recovered under the other insurance or indemnity, but not or more than the Limit of Insurance.

   11. Ownership of Property; Interests Covered: The property covered under this insurance is limited to property:

       a. That you own or hold; or

       b. For which you are legally liable.

       However, this insurance is for your benefit only. It provides no rights or benefits to any other person or organiza-
       tion.

   12. Policy Period

       a. The Policy Period is shown in the Declarations.

       b. Subject to the Loss Sustained During Prior Insurance condition, we will pay only for loss that you sustain
          through acts committed or events occurring during the Policy Period.

   13. Records: You must keep records of all Covered Instruments so we can verify the amount of any loss.

   14. Recoveries

       a. Any recoveries, less the cost of obtaining them, made after settlement of loss covered by this insurance will
          be distributed as follows:

           (1) To you, until you are reimbursed for any loss that you sustain that exceeds the Limit of Insurance and the
               Deductible Amount, if any:

           (2) Then to us, until we are reimbursed for the settlement made;

           (3) Then to you, until you are reimbursed for that part of the loss equal to the Deductible Amount, if any.

       b. Recoveries do not include any recovery:

           (1) From insurance, suretyship, reinsurance, security or indemnity taken for our benefit; or




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           (2) Of original "securities" after duplicates of them have been issued.

   15. Territory: This insurance covers only acts committed or events occurring within the United States of America,
       U.S. Virgin Islands, Puerto Rico, Canal Zone or Canada.

   16. Transfer of Your Rights of Recovery Against Others to Us: You must transfer to us all your rights of recov-
       ery against any person or organization for any loss you sustained and for which we have paid or settled. You
       must also do everything necessary to secure those rights and do nothing after loss to impair them.

   17. Valuation - Settlement

       a. Subject to the Limit of Insurance provision we will pay for:

           (1) Loss of "money" but only up to and including its face value. We may, at our option, pay for loss of "mon-
               ey" issued by any country other than the United States of America;

               (a) At face value in the "money" issued by that country; or

               (b) In the United States of America dollar equivalent determined by the rate of exchange on the day the
                   loss was discovered.

           (2) Loss of "securities" but only up to and including their value at the close of business on the day the loss
               was discovered. We may, at our option:

               (a) Pay the value of such "securities" or replace them in kind, in which event you must assign to us all
                   your rights, title and interest in and to those "securities";

               (b) Pay the cost of any Lost Securities Bond required in connection with issuing duplicates of the "securi-
                   ties". However, we will be liable only for the payment of so much of the cost of the bond as would be
                   charged for a bond having a penalty not exceeding the lesser of the:

                   i.   Value of the "securities" at the close of the business on the day the loss was discovered; or

                   ii. Limit of Insurance.

           (3) Loss of, or loss from damage to "property other than money and securities" or loss from damage to the
               "premises" for not more than the:

               (a) Actual cash value of the property on the day the loss was discovered;

               (b) Cost of repairing the property or "premises"; or

               (c) Cost of replacing the property with property of like kind and quality.

               We may, at our option, pay the actual cash value of the property or repair or replace it.

               If we cannot agree with you upon the actual cash value or the cost of repair or replacement, the value or
               cost will be determined by arbitration.

       b. We may, at our option, pay for loss of, or loss from damage to, property other than "money:"

           (1) In the "money" of the country in which the loss occurred; or

           (2) In the United States of America dollar equivalent of the "money" of the country in which the loss occurred
               determined by the rate of exchange on the day the loss was discovered.


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        c. Any property that we pay for or replace becomes our property.

    18. Facsimile Signatures: We will treat mechanically reproduced facsimile signatures the same as handwritten
        signatures.

    19. Proof of Loss: You must include with your proof of loss any instrument involved in that loss, or if that is not
        possible, an affidavit setting forth the amount and cause of loss.

F. DEFINITIONS

    1. "Employee" means:

        a. Any natural person:

            (1) While in your service (and for 30 days after termination of service);

            (2) Whom you compensate directly by salary, wages or commissions; and

            (3) Whom you have the right to direct and control while performing services for you; or

        b. Any natural person employed by an employment contractor while that person is subject to your direction and
           control and performing services for you excluding however, any such person while having care and custody of
           property outside the "premises".

            But "employee" does not mean any:

            (1) Agent, broker, factor, commission merchant, consignee, independent contractor or representative of the
                same general character; or

            (2) Director or trustee except while performing acts coming within the scope of the usual duties of an em-
                ployee.

    2. "Money" means:

        a. Currency, coins and bank notes in current use and having a face value; and

        b. Travelers checks, register checks and money orders held for sale to the public.

    3. "Occurrence" means all loss caused by any person or in which that person is involved, whether the loss involves
       one or more instruments.

    4. "Property Other Than Money and Securities" means any tangible property other than "money" and "securities"
       that has intrinsic value but does not include any property listed in any Coverage Form and Property Not Covered.

    5. "Securities" means negotiable and non-negotiable instruments or contracts representing either "money" or other
       property and includes:

        a. Tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused value in a
           meter) in current use; and

        b. Evidences of debt issued in connection with credit or charge cards, which cards are not issued by you;

        but does not include "money".

All other policy terms and conditions apply.


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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  EMPLOYEE DISHONESTY
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
A. A. COVERAGE is amended as follows:                                          (1) Your inability to realize income that you
   We will pay for loss involving Covered Property re-                             would have realized had there been no
   sulting directly from the Covered Cause of Loss.                                loss of, or loss from damage to, Cov-
   1. Covered Property for this endorsement means                                  ered Property.
        "money", "securities", and "property other than                        (2) Payment of damages of any type for
        money and securities".                                                     which you are legally liable. However,
   2. Covered Cause of Loss means "Employee                                        we will pay compensatory damages
        Dishonesty".                                                               arising directly from a loss covered
   3. Coverage Extension                                                           under this insurance.
        Employee Temporarily Outside Coverage                                  (3) Payment of costs, fees or other ex-
        Territory: We will pay for loss caused by any                              penses you incur in establishing either
        "employee" while temporarily outside the                                   the existence or the amount of loss
        territory specified in E. GENERAL CONDI-                                   under this insurance.
        TIONS, 15. Territory for a period not more than                   d.   Legal Expenses: Expenses related to any
        90 days. The amount we pay under this Ex-                              legal action.
        tension is part of, not in addition to, the Limit of              e.   Nuclear: Loss resulting from nuclear re-
        Insurance shown in the Declarations for EM-                            action, nuclear radiation or radioactive con-
        PLOYEE DISHONESTY.                                                     tamination, or any related act or incident.
   4. "Money" and "securities" as defined in this en-                     f.   War And Military Action:
        dorsement are withdrawn from 2. Property Not                           Loss or damage resulting from:
        Covered.                                                               (1) War, including undeclared or civil war;
B. EXCLUSIONS                                                                  (2) Warlike action by a military force, in-
   1. The Covered Causes Of Loss Form shown in                                     cluding action in hindering or defending
        the Declarations as applicable to Property, does                           against an actual or expected attack, by
        not apply to this Coverage.                                                any government, sovereign or other
   2. We will not pay for loss caused by any of the                                authority using military personnel or
        following:                                                                 other agents; or
        a. Acts Committed By You, Your Partners                                (3) Insurrection, rebellion, revolution,
             Or Your Members: Loss resulting from any                              usurped power, or action taken by
             dishonest or criminal act committed by you,                           governmental authority in hindering or
             any of your partners or members whether                               defending against any of these.
             acting alone or in collusion with other per-                 g.   Employee Canceled Under Prior Insur-
             sons.                                                             ance: Loss caused by any "employee" of
        b. Governmental Action: Loss resulting from                            yours, or predecessor in interest of yours,
             seizure or destruction of property by order of                    for whom similar prior insurance has been
             governmental authority.                                           canceled and not reinstated since the last
        c. Indirect Loss: Loss that is an indirect re-                         such cancellation.
             sult of any act or "occurrence" covered by                   h.   Inventory Shortages: Loss, or that part of
             this insurance including, but not limited to,                     any loss, the proof of which as to its exist-
             loss resulting from:                                              ence or amount is dependent upon:

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            (1) An inventory computation; or                                Insured ceases to be covered, then the next
            (2) A profit and loss computation.                              named Insured will become the first named
C. LIMIT OF INSURANCE                                                       Insured.
   The most we will pay for loss in any one                             b. If any Insured or partner or officer of that
   "occurrence" is the Limit of Insurance shown in the                      Insured has knowledge of any information
   Declarations for EMPLOYEE DISHONESTY.                                    relevant to this insurance, that knowledge is
D. DEDUCTIBLE                                                               considered knowledge of every Insured.
   1. We will not pay for loss in any one "occurrence"                  c. An "employee" of any Insured is considered
       unless the amount of loss exceeds the De-                            to be an "employee" of every Insured.
       ductible Amount shown in the Declarations for                    d. If this insurance or any of its coverages are
       EMPLOYEE DISHONESTY. We will then pay                                canceled or terminated as to any Insured,
       the amount of loss in excess of the Deductible                       loss sustained by that Insured is covered
       Amount up to the Limit of Insurance. This pro-                       only if discovered no later than one year
       vision does not apply to legal expenses paid                         from the date of that cancellation or termin-
       under the Coverage Extension.                                        ation.
   2. You must:                                                         e. We will not pay more for loss sustained by
       a. Give us notice as soon as possible of any                         more than one Insured than the amount we
            loss of the type insured under this Coverage                    would pay if all such loss had been sus-
            Form even though it falls entirely within the                   tained by one Insured.
            Deductible Amount.                                       5. Legal Action Against Us: You may not bring
       b. Upon our request, give us a statement de-                     any legal action against us involving loss:
            scribing the loss.                                          a. Unless you have complied with all the terms
E. GENERAL CONDITIONS                                                       of this insurance;
   1. Consolidation - Merger: If through consolida-                     b. Until 90 days after you have filed proof of
       tion or merger with, or purchase of assets of,                       loss with us; and
       some other entity:                                               c. Unless brought within 2 years from the date
       a. Any additional persons become "em-                                you discover the loss.
            ployees"; or                                             6. Loss Covered Under More Than One
       b. You acquire the use and control of any                        Coverage Of This Insurance: If two or more
            additional "premises"                                       coverages of this insurance apply to the same
       any insurance afforded for "employees" or                        loss, we will pay the lesser of:
       "premises" also applies to those additional                      a. The actual amount of loss; or
       "employees" and "premises", but only if you:                     b. The sum of the limits of insurance applicable
       a. Give us written notice within 30 days                             to those coverages.
            thereafter; and                                          7. Loss Sustained During Prior Insurance
       b. Pay us an additional premium.                                 a. If you, or any predecessor in interest, sus-
   2. Discovery Period For Loss: We will pay only                           tained loss during the period of any prior
       for covered loss discovered no later than one                        insurance that you or the predecessor in
       year from the end of the policy period.                              interest could have recovered under that in-
   3. Duties In The Event Of Loss: After you dis-                           surance except that the time within which to
       cover a loss or a situation that may result in loss                  discover loss had expired, we will pay for it
       of, or loss from damage to Covered Property,                         under this insurance, provided:
       you must:                                                            (1) This insurance became effective at the
       a. Notify us as soon as possible.                                         time of cancellation or termination of the
       b. Submit to examination under oath at our                                prior insurance; and
            request and give us a signed statement of                       (2) The loss would have been covered by
            your answers.                                                        this insurance had it been in effect when
       c. Give us a detailed, sworn proof of loss                                the acts or events causing the loss were
            within 120 days.                                                     committed or occurred.
       d. Cooperate with us in the investigation and                    b. The insurance under this Condition is part
            settlement of any claim.                                        of, not in addition to, the Limits of Insurance
    4. Joint Insured                                                        and is limited to the lesser of the amount
       a. If more than one Insured is named in the                          recoverable under:
            Declarations, the first named Insured will act                  (1) This insurance as of its effective date; or
            for itself and for every other Insured for all                  (2) The prior insurance had it remained in
            purposes of this insurance. If the first named                       effect.
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    8. Loss Covered Under This Insurance And                                 (3) Then to you, until you are reimbursed
       Prior Insurance Issued By Us Or Any                                       for that part of the loss equal to the
       Affiliate: If any loss is covered:                                        Deductible Amount, if any.
       a. Partly by this insurance; and                                  b. Recoveries do not include any recovery:
       b. Partly by any prior canceled or terminated                         (1) From insurance, suretyship, rein-
            insurance that we or any affiliate had issued                        surance, security or indemnity taken for
            to you or any predecessor in interest                                our benefit; or
       the most we will pay is the larger of the amount                      (2) Of original "securities" after duplicates of
       recoverable under this insurance or the prior                             them have been issued.
       insurance.                                                   15. Territory: This insurance covers only acts
   9. Non-Cumulation Of Limit Of Insurance:                             committed or events occurring within the United
       Regardless of the number of years this insur-                    States of America (including its territories and
       ance remains in force or the number of prem-                     possessions), Puerto Rico and Canada.
       iums paid, no Limit of Insurance cumulates from              16. Transfer Of Your Rights Of Recovery Against
       year to year or period to period.                                Others To Us: You must transfer to us all your
   10. Other Insurance: This insurance does not                         rights of recovery against any person or organ-
       apply to loss recoverable or recovered under                     ization for any loss you sustained and for which
       other insurance or indemnity. However, if the                    we have paid or settled. You must also do
       limit of the other insurance or indemnity is in-                 everything necessary to secure those rights and
       sufficient to cover the entire amount of the loss,               do nothing after loss to impair them.
       this insurance will apply to that part of the loss,          17. Valuation - Settlement
       other than that falling within any deductible                    a. Subject to the Limit of Insurance provision
       amount, not recoverable or recovered under the                        we will pay for:
       other insurance or indemnity, but not for more                        (1) Loss of "money" but only up to and
       than the Limit of Insurance.                                              including its face value. We may, at our
   11. Ownership Of Property; Interests Covered:                                 option, pay for loss of "money" issued
       The property covered under this insurance is                              by any country other than the United
       limited to property:                                                      States of America:
       a. That you own or hold; or                                               (a) At face value in the "money" issued
       b. For which you are legally liable.                                           by that country; or
       However, this insurance is for your benefit only.                         (b) In the United States of America
       It provides no rights or benefits to any other                                 dollar equivalent determined by the
       person or organization.                                                        rate of exchange on the day the loss
   12. Policy Period                                                                  was discovered.
       a. The Policy Period is shown in the Declar-                          (2) Loss of "securities" but only up to and
            ations.                                                              including their value at the close of
       b. Subject to the Loss Sustained During Prior                             business on the day the loss was dis-
            Insurance condition, we will pay only for loss                       covered. We may, at our option:
            that you sustain through acts committed or                           (a) Pay the value of such "securities" or
            events occurring during the Policy Period.                                replace them in kind, in which event
   13. Records: You must keep records of all                                          you must assign to us all your
       Covered Property so we can verify the amount                                   rights, title and interest in and to
       of any loss.                                                                   those "securities"; or
   14. Recoveries                                                                (b) Pay the cost of any Lost Securities
       a. Any recoveries, less the cost of obtaining                                  Bond required in connection with
            them, made after settlement of loss covered                               issuing duplicates of the
            by this insurance will be distributed as                                  "securities". However, we will be
            follows:                                                                  liable only for the payment of so
            (1) To you, until you are reimbursed for any                              much of the cost of the bond as
                 loss that you sustain that exceeds the                               would be charged for a bond having
                 Limit of Insurance and the Deductible                                a penalty not exceeding the lesser
                 Amount, if any;                                                      of the:
            (2) Then to us, until we are reimbursed for                               1) Value of the "securities" at the
                 the settlement made; and                                                  close of the business on the day



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                        the loss was discovered; or                        b. Any natural person employed by an em-
                    2) Limit of Insurance.                                     ployment contractor while that person is
           (3) Loss of, or loss from damage to "prop-                          subject to your direction and control and
               erty other than money and securities" or                        performing services for you excluding how-
               loss from damage to the "premises" for                          ever, any such person while having care and
               not more than the:                                              custody of property outside the "premises".
               (a) Actual cash value of the property on                        However, "employee" does not mean any:
                    the day the loss was discovered;                           (1) Agent, broker, factor, commission mer-
               (b) Cost of repairing the property or                               chant, consignee, independent con-
                    "premises"; or                                                 tractor or representative of the same
               (c) Cost of replacing the property with                             general character; or
                    property of like kind and quality.                         (2) Director or trustee except while perform-
               We may, at our option, pay the actual                               ing acts coming within the scope of the
               cash value of the property or repair or                             usual duties of an employee.
               replace it.                                           2.   "Employee Dishonesty" in paragraph A.2.
               If we cannot agree with you upon the                       means only dishonest acts committed by an
               actual cash value or the cost of repair or                 "employee", whether identified or not, acting
               replacement, the value or cost will be                     alone or in collusion with other persons, except
               determined by arbitration.                                 you or a partner, with the manifest intent to:
       b. We may, at our option, pay for loss of, or                      a. Cause you to sustain loss; and also
           loss from damage to, property other than                       b. Obtain financial benefit (other than em-
           "money":                                                            ployee benefits earned in the normal course
           (1) In the "money" of the country in which                          of employment, including: salaries, com-
               the loss occurred; or                                           missions, fees, bonuses, promotions,
           (2) In the United States of America dollar                          awards, profit sharing or pensions) for:
               equivalent of the "money" of the country                        (1) The "employee"; or
               in which the loss occurred determined                           (2) Any person or organization intended by
               by the rate of exchange on the day the                              the "employee" to receive that benefit.
               loss was discovered.                                  3.   "Money" means:
       c. Any property that we pay for or replace be-                     a. Currency, coins and bank notes in current
           comes our property.                                                 use and having a face value; and
   18. Cancellation As To Any Employee: This in-                          b. Travelers checks, register checks and
       surance is canceled as to any "Employee":                               money orders held for sale to the public.
       a. Immediately upon discovery by:                             4.   "Occurrence" means all loss caused by, or in-
           (1) You; or                                                    volving one or more "employees", whether the
           (2) Any of your partners, officers or                          result of a single act or series of acts.
               directors not in collusion with the                   5.   "Property Other Than Money And Securities"
               "employee"                                                 means any tangible property other than "money"
           of any dishonest act committed by that                         and "securities" that has intrinsic value but does
           "employee" whether before or after be-                         not include any property listed in any Coverage
           coming employed by you.                                        Form as Property Not Covered.
       b. On the date specified in a notice mailed to                6.   "Securities" means negotiable and non-negoti-
           you. That date will be at least 30 days after                  able instruments or contracts representing either
           the date of mailing. The notice will be                        "money" or other property and includes:
           mailed to you at your last mailing address                     a. Tokens, tickets, revenue and other stamps
           known to us.                                                        (whether represented by actual stamps or
F. DEFINITIONS                                                                 unused value in a meter) in current use; and
   1. "Employee" means:                                                   b. Evidences of debt issued in connection with
       a. Any natural person:                                                  credit or charge cards, which cards are not
           (1) While in your service (and for 30 days                          issued by you
               after termination of service);                             but does not include "money".
           (2) Whom you compensate directly by
               salary, wages or commissions; and                 All other policy terms and conditions apply.
           (3) Whom you have the right to direct and
               control while performing services for
               you; or
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                                                                                               COMMERCIAL PROPERTY
                                                                                                         54317 (2-05)


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               ORDINANCE OR LAW - INCREASED PERIOD
                        OF RESTORATION
This endorsement modifies insurance provided under the following:

BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM
EXTRA EXPENSE COVERAGE FORM


A. If a Covered Cause of Loss occurs to property at the           B. The PERIOD OF RESTORATION definition is re-
   premises described in the Declarations, coverage is               placed by the following:
   extended to include the amount of actual and neces-
   sary loss you sustain during the increased period of               3. "Period of Restoration" means the period of
   suspension of "operations" caused by or resulting                     time that:
   from the enforcement of any ordinance or law that:
                                                                          a. Begins:
   1. Regulates the construction or repair of any
      property;                                                               (1) 72 hours after the time of direct physi-
                                                                                  cal loss or damage for Business Income
   2. Requires the tearing down of parts of any prop-                             coverage; or
      erty not damaged by a Covered Cause of Loss;
      and                                                                     (2) Immediately after the time of direct
                                                                                  physical loss or damage for Extra Ex-
   3. Is in force at the time of loss.                                            pense coverage

   However, coverage is not extended under this en-                           caused by or resulting from any Covered
   dorsement to include loss caused by or resulting                           Cause of Loss at the described premises;
   from the enforcement of any ordinance or law that                          and
   requires:
                                                                          b. Ends on the earlier of:
   1. The demolition, repair, replacement, reconstruc-
      tion, remodeling or remediation of property due                         (1) The date when the property at the de-
      to contamination by "pollutants" or due to the                              scribed premises should be repaired, re-
      presence, growth, proliferation, spread or any                              built or replaced with reasonable speed
      activity of "fungi", wet rot, dry rot or bacteria; or                       and similar quality; or

   2. Any insured or others to test for, monitor, clean                       (2) The date when business is resumed at a
      up, remove, contain, treat, detoxify or neutralize,                         new permanent location.
      or in any way respond to, or assess the effects
      of "pollutants", "fungi", wet rot, dry rot or bacte-        "Period of restoration" includes any in- creased period
      ria.                                                        required to repair or re- construct the property to comply
                                                                  with



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               the minimum standards of any ordi-                C. The following definition is added:
               nance or law, in force at the time of loss,
               that regulates the construction or repair,                "Fungi" means any type or form of fungus, in-
               or requires the tearing down of any                       cluding but not limited to, any mold, mildew, my-
               property.                                                 cotoxins, spores, scents or byproducts produced
                                                                         or released by any type or form of fungus.
               The expiration date of this policy will not
               cut short the "period of restoration".



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                                                                                                             54334 (12-10)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               UTILITY SERVICES FAILURE
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
BUSINESS INCOME (AND EXTRA EXPENSE) ACTUAL LOSS SUSTAINED COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
CAUSES OF LOSS - SPECIAL FORM

A. A. COVERAGE is amended as follows:                                2. Power or Other Utility Grid Failure
   1. Under BUILDING AND PERSONAL PROP-                                  Under CAUSES OF LOSS - SPECIAL FORM,
       ERTY COVERAGE FORM, CONDOMINIUM                                   B. EXCLUSIONS, exclusion 1.e. Utility Ser-
       ASSOCIATION COVERAGE FORM AND CON-                                vices is deleted and replaced by the following:
       DOMINIUM COMMERCIAL UNIT-OWNERS                                   e. Utility Services
       COVERAGE FORM, 4. Additional Coverages,                                We shall not pay for loss or damage caused
       the following is added:                                                by or resulting from the failure to supply
       Utility Services Failure                                               "communication supply services", "power
       We shall pay for loss or damage to Covered                             supply services" or "water supply services"
       Property due to the interruption of utility ser-                       from any regional or national grid.
       vice(s) to the premises described in the Declar-           D. Definitions
       ations. The interruption must result from direct              1. Under BUSINESS INCOME (AND EXTRA EX-
       physical damage by a Covered Cause of Loss to                     PENSE) COVERAGE FORM, F. DEFINITIONS,
       the property of your "local utility service".                     and BUSINESS INCOME (AND EXTRA EX-
   2. Under BUSINESS INCOME (AND EXTRA                                   PENSE) ACTUAL LOSS SUSTAINED COVER-
       EXPENSE) COVERAGE FORM and BUSINESS                               AGE FORM, D. DEFINITIONS, 4. "Period of
       INCOME (AND EXTRA EXPENSE) ACTUAL                                 restoration" is deleted and replaced by the fol-
       LOSS SUSTAINED COVERAGE FORM, 5.                                  lowing with respect to the coverage provided by
       Additional Coverages, the following is added:                     this endorsement only:
       Utility Services Failure                                          4. "Period of restoration" means period of time
       We shall pay for the actual loss of Business                           that:
       Income you sustain and necessary Extra Ex-                             a. Begins immediately following the time of
       pense you incur due to the interruption of utility                         the interruption of utility service(s) to
       service(s) to the premises described in the Dec-                           premises described in the Declarations
       larations. The interruption must result from                               caused by or resulting from direct physi-
       direct physical damage by a Covered Cause of                               cal loss or damage by a Covered Cause
       Loss to the property of your "local utility service".                      of Loss to the property of your "local
B. Limits of Insurance                                                            utility service"; and
   The most we shall pay for the sum of A.1. and 2.                           b. Ends on the date when the interruption
   above, in any one loss, is the Limit of Insurance                              of utility service to the premises des-
   shown in the Declarations for UTILITY SERVICES                                 cribed in the Declarations is restored.
   FAILURE.                                                                   "Period of restoration" does not mean any
C. Exclusions                                                                 increased period required due to the en-
   The following exclusions apply only to this endorse-                       forcement of any ordinance or law that:
   ment:                                                                      a. Regulates the construction, use or
   1. Perishable Stock                                                            repair, or requires the tearing down of
       We will not pay for loss or damage to "perish-                             any property; or
       able stock".                                                           b. Regulates the prevention, control, re-

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               pair, clean-up or restoration of environ-                c. "Perishable Stock" means merchandise held
               mental damage.                                              in storage or for sale that is refrigerated for
          The expiration date of this policy will not                      preservation and is susceptible to loss or
          shorten or cause the "period of restoration"                     damage if the refrigeration fails.
          to terminate.                                                 d. "Power Supply Services" meaning the fol-
   2. The following definitions apply only to this Addi-                   lowing types of property supplying elec-
      tional Coverage:                                                     tricity, steam or gas to the described prem-
      a. "Communication Supply Services" meaning                           ises, that are not located on a described
          property supplying communication services,                       premises and not rented, leased or owned
          including telephone, radio, microwave or                         by any insured:
          television services, to the described prem-                      (1) Utility generating plants;
          ises, that are not located on a described                        (2) Switching stations;
          premises and not rented, leased or owned                         (3) Substations;
          by any insured, such as:                                         (4) Transformers; and
          (1) Communication transmission lines, in-,                       (5) Transmission lines.
               cluding optic fiber transmission lines;                  e. "Water Supply Services" mean the following
          (2) Coaxial cables; and                                          types of property supplying water to the
          (3) Microwave radio relays, except satel-                        described premises, that are not located on
               lites.                                                      a described premises and not rented, leased
      b. "Local Utility Service" means your billing                        or owned by any insured:
          entity, repair entity or service entity directly                 (1) Pumping stations; and
          supplying your "communication supply ser-                        (2) Water mains.
          vices", "power supply services" or "water
          supply services" to the premises described            All other policy terms and conditions apply.
          in the Declarations.


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                                                                                                               54338 (3-13)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        FINE ARTS, COLLECTIBLES AND MEMORABILIA
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
CAUSES OF LOSS - SPECIAL FORM

A. Under A. COVERAGE, 4. Additional Coverages,                               (3)  Theft or attempted theft;
   the following Additional Coverage is added:                               (4)  Earthquake;
   Fine Arts, Collectibles and Memorabilia                                   (5)  Flood or storm surge;
   1. Coverage                                                               (6)  Malicious damage; or
       We will pay for direct physical loss or damage to                     (7)  Collision, derailment or overturn of con-
       "fine arts", "collectibles" and "memorabilia" that                         veyance
       are:                                                                  except as we may state otherwise.
       a. Located at the premises described in the                      d. Mysterious disappearance unless the loss is
            Declarations;                                                    a direct result of forcible entry of which there
       b. Not held for sale; and                                             is visible evidence.
       c. Owned by:                                                     e. Neglect of an insured to use all reasonable
            (1) You; or                                                      means to save and preserve property from
            (2) If you are:                                                  further damage at and after the time of loss.
                 (a) An individual, your spouse.                     3. Limit Of Insurance
                 (b) A partnership or a joint venture,                  We will pay no more than the smallest of either:
                     your members, your partners and                    a. The cost to replace damaged property with
                     their spouses.                                          new property of similar quality and features
                 (c) A limited liability company, your                       reduced by the amount of decrease in value
                     members.                                                because of age, wear, obsolescence or
                 (d) An organization other than a part-                      market value applicable to the damaged
                     nership, joint venture or limited lia-                  property immediately prior to the loss; or
                     bility company, your "executive of-                b. The limits shown in the Declarations for
                     ficers".                                                FINE ARTS, COLLECTIBLES AND MEM-
                 (e) A trust, your trustees.                                 ORABILIA.
   2. Exclusions                                                        In no event shall our payment for all items in any
       Under B. EXCLUSIONS of the CAUSES OF                             one loss exceed the limits shown in the Declara-
       LOSS - SPECIAL FORM, the following exclu-                        tions for FINE ARTS, COLLECTIBLES AND
       sions are added to apply only to this Additional                 MEMORABILIA.
       Coverage.                                                        Our payment for loss of or damage to "fine arts",
       a. An action committed by you or at your direc-                  "collectibles", and "memorabilia" will only be for
            tion with the intent to cause loss or damage.               the account of the owner of the property.
       b. Damage caused by any repairing, restora-                      This is an additional amount of insurance.
            tion or retouching process.                              4. Deductible
       c. Breakage of art glass windows, statuary,                      No deductible applies to this Additional Cover-
            marble, glassware, bric-a-brac, porcelains                  age.
            and similar fragile articles unless caused by:           5. Conditions
            (1) Fire or lightning;                                      a. In case of loss of or damage to any part of a
            (2) Aircraft;                                                    pair or set, we may:




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            (1) Repair or replace any part of the pair or            1. "Fine arts" mean paintings, etchings, pictures,
                set to restore it to its value before the               tapestries, art glass windows and other bona
                loss; or                                                fide works of art of rarity, historical value or
            (2) Pay the difference between the actual                   artistic merit.
                cash value of the property before and                2. "Collectibles" mean objects collected as a
                after the loss.                                         hobby, for display or as an investment whose
        b. In case of loss or damage to any part of                     value may appreciate.
            property covered, consisting of several parts            3. "Memorabilia" means objects valued for their
            when complete, we shall pay only for the                    connection to historical events, culture, enter-
            value of the part lost or damaged.                          tainment or experiences worthy of remem-
        c. In the event of loss or damage to property                   brance.
            covered, claim payment is subject to the                 4. "Executive officer" means a person holding any
            insurable interest of the covered insured.                  of the officer positions created by your charter,
B. Under F. ADDITIONAL CONDITIONS, Coinsur-                             constitution, by-laws or any other similar govern-
   ance, does not apply to this coverage.                               ing document.
C. Under C. LIMITATIONS of CAUSES OF LOSS -
   SPECIAL FORM, paragraph 2.b. does not apply to               All other policy terms and conditions apply.
   this Additional Coverage.
D. The following Definitions apply to this Additional
   Coverage only:


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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     WINDSTORM OR HAIL PERCENTAGE DEDUCTIBLE
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
BUILDERS RISK COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM

The Windstorm or Hail Deductible, as shown in the                         b. Personal Property in or on the building or in
Declarations and set forth in this endorsement, applies                       the open (or in a vehicle) within 1,000 feet of
to covered loss or damage caused directly or indirectly                       the described premises that sustains
by Windstorm or Hail. This Deductible applies to each                         covered loss or damage; and
occurrence of Windstorm or Hail.                                          c. Other Covered Property:
                                                                              (1) That is scheduled in the Declarations;
Nothing in this endorsement implies or affords cover-                             and
age for any loss or damage that is excluded elsewhere                         (2) Sustains loss or damage.
in this policy. If you have a flood insurance policy, a
separate Flood Deductible applies to loss or damage                       If there is damage to both a building and per-
attributable to Flood, in accordance with the terms of                    sonal property as described in a. and b. above,
that policy.                                                              separate deductibles apply to the building and to
                                                                          the personal property.
As used in this endorsement, the terms "specific in-
surance" and "blanket insurance" have the following                   2. We will not pay for loss or damage until the
meanings:                                                                amount of covered loss or damage exceeds the
                                                                         applicable Deductible. We will then pay the
a. Specific insurance covers each item of insurance                      amount of covered loss or damage in excess of
   (for example, each building or personal property in                   that Deductible, up to the applicable Limit of
   a building) under a separate Limit of Insurance.                      Insurance, after any reduction by any of the
b. Blanket insurance covers two or more items of in-                     following:
   surance (for example, a building and personal                         a. Coinsurance Condition;
   property in that building, or two buildings) under a                  b. Agreed Value Optional Coverage; or
   single Limit of Insurance.                                            c. Any provision in a Value Reporting Form
                                                                              relating to full reporting or failure to submit
Items of insurance and corresponding Limit(s) of In-                          reports.
surance are shown in the Declarations.                                3. When property is covered under Coverage
                                                                         Extension for Newly Acquired or Constructed
WINDSTORM OR HAIL DEDUCTIBLE                                             Property: In determining the amount, if any, that
CALCULATIONS                                                             we will pay for covered loss or damage, we will
                                                                         deduct an amount equal to a percentage of the
A. Calculation Of The Deductible - All Policies                          value(s) of the property at time of loss. The
                                                                         applicable percentage for Newly Acquired or
    1. A deductible is calculated separately for, and                    Constructed Property is the highest percentage
       applies separately to:                                            shown in the Declarations for any described
       a. Each building that sustains covered loss or                    premises.
           damage;




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B. Calculation Of The Deductible - Specific                          2. Property Subject To Value Reporting Forms
   Insurance Other Than Builders' Risk
                                                                         In determining the amount, if any, that we will
   1. Property Not Subject To Value Reporting                            pay for property that has sustained covered loss
      Forms                                                              or damage, we will deduct an amount equal to
                                                                         the percentage (as shown in the Declarations) of
       In determining the amount, if any, that we will                   the value(s) of that property as of the time of
       pay for covered loss or damage, we will deduct                    covered loss or damage.
       an amount equal to the percentage (as shown in
       the Declarations) of the Limit(s) of Insurance            D. Calculation Of The Deductible - Builders' Risk In-
       applicable to the property that has sustained                surance
       covered loss or damage.
                                                                     1. Builders' Risk Other Than Reporting Form
   2. Property Subject To Value Reporting Forms
                                                                         In determining the amount, if any, that we will
       In determining the amount, if any, that we will                   pay for loss or damage, we will deduct an
       pay for covered loss or damage, we will deduct                    amount equal to the percentage (as shown in
       an amount equal to the percentage (as shown in                    the Declarations) of the actual cash value(s) of
       the Declarations) of the value(s) of the property                 that property as of the time of covered loss or
       that has sustained covered loss or damage. The                    damage.
       value(s) to be used are the latest value(s)
       shown in the most recent Report of Values on                  2. Builders' Risk Reporting Form
       file with us.
                                                                         In determining the amount, if any, that we will
       However:                                                          pay for covered loss or damage, we will deduct
       a. If the most recent Report of Values shows                      an amount equal to the percentage (as shown in
          less than the full value(s) of the property on                 the Declarations) of the value(s) of the property
          the report dates, we will determine the                        that has sustained covered loss or damage.
          deductible amount as a percentage of the                       The value(s) to be used are the actual cash
          full value(s) as of the report dates.                          value(s) shown in the most recent Report of
       b. If the first Report of Values is not filed with                Values on file with us.
          us prior to loss or damage, we will deter-
          mine the deductible amount as a percent-                       However:
          age of the applicable Limit(s) of Insurance.                   a. If the most recent Report of Values shows
                                                                            less than the actual cash value(s) of the
C. Calculation Of The Deductible - Blanket                                  property on the report date, we will deter-
   Insurance Other Than Builders' Risk                                      mine the deductible amount as a percent-
                                                                            age of the actual cash value(s) as of the
   1. Property Not Subject To Value Reporting                               report date.
      Forms                                                              b. If the first Report of Values is not filed with
                                                                            us prior to covered loss or damage, we will
       In determining the amount, if any, that we will                      determine the deductible amount as a
       pay for covered loss or damage, we will deduct                       percentage of the actual cash value(s) of the
       an amount equal to the percentage (as shown in                       property as of the time of covered loss or
       the Declarations) of the value(s) of the property                    damage.
       that has sustained covered loss or damage.
       The value(s) to be used are those shown in the            All other policy terms and conditions apply.
       most recent Statement of Values on file with us.




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                                                                                                             54835 (7-08)


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    CONDITIONAL EXCLUSION OF TERRORISM
 INVOLVING NUCLEAR, BIOLOGICAL OR CHEMICAL
TERRORISM (RELATING TO DISPOSITION OF FEDERAL
      TERRORISM RISK INSURANCE ACT)
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART


A. Applicability Of This Endorsement                                 3. If this endorsement does NOT become appli-
                                                                        cable, then any terrorism endorsement al-
   1. The provisions of this endorsement will                           ready endorsed to this policy, that addresses
      apply if and when one of the following                            "certified acts of terrorism", will remain in
      situations occurs:                                                effect. However, if the Program is renewed,
                                                                        extended or otherwise continued in effect
       a. The federal Terrorism Risk Insurance                          with revisions that change the level or terms
          Program ("Program"), established by the                       or conditions of coverage, and we are re-
          Terrorism Risk Insurance Act of 2002 (in-                     quired to offer you the revised coverage or to
          cluding ensuing Congressional actions                         provide the revised coverage to those who
          pursuant to the Act), terminates; or                          previously accepted coverage under the
                                                                        Program, then we will take the appropriate
       b. The Program is renewed, extended or                           steps in response to the federal require-
          otherwise continued in effect:                                ments.

           (1) With revisions that increase insurers'            B. The following definition is added and applies under
               statutory percentage deductible or                   this endorsement wherever the term terrorism is
               decrease the federal government's                    enclosed in quotation marks.
               statutory percentage share in poten-                 "Terrorism" means activities against persons, or-
               tial terrorism losses above such de-                 ganizations or property of any nature:
               ductible, or that results in a change in
               the level or terms or conditions of                   1. That involve the following or preparation for the
               coverage; and                                            following:

           (2) We are not required by the Program                        a. Use or threat of force or violence; or
               to make terrorism coverage available
               to you and elect not to do so.                            b. Commission or threat of a dangerous act; or

   2. When this endorsement becomes applicable                           c. Commission or threat of an act that inter-
      in accordance with the terms of A.1.a. or                             feres with or disrupts an electronic, com-
      A.1.b., above, it supersedes any terrorism                            munication, information, or mechanical
      endorsement already endorsed to this policy                           system; and
      that addresses "certified acts of terrorism".



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   2. When one or both of the following applies:                      1. The "terrorism" is carried out by means of the
                                                                         dispersal or application of radioactive material,
       a. The effect is to intimidate or coerce a gov-                   or through the use of a nuclear weapon or
          ernment or the civilian population or any                      device that involves or produces a nuclear
          segments thereof, or to disrupt any segment                    reaction, nuclear radiation or radioactive
          of the economy; or                                             contamination;

       b. It appears that the intent is to intimidate or              2. Radioactive material is released, and it appears
          coerce a government or the civilian popu-                      that one purpose of the "terrorism" was to re-
          lation or to further political, ideological,                   lease such material;
          religious, social or economic objectives or to
          express (or express opposition to) a philos-                3. The "terrorism" is carried out by means of the
          ophy or ideology.                                              dispersal or application of pathogenic or
                                                                         poisonous biological or chemical materials; or
C. The following exclusion is added:
                                                                      4. Pathogenic or poisonous biological or chemical
   Exclusion Of "Terrorism"                                              materials are released, and it appears that one
                                                                         purpose of the "terrorism" was to release such
   We will not pay for loss or damage caused directly                    materials.
   or indirectly by "terrorism", including action in hinder-
   ing or defending against an actual or expected                     Multiple incidents of "terrorism" which occur within a
   incident of "terrorism". Such loss or damage is ex-                72-hour period and appear to be carried out in
   cluded regardless of any other cause or event that                 concert or to have a related purpose or common
   contributes concurrently or in any sequence to the                 leadership will be deemed to be one incident,
   loss. This exclusion applies only when one or more                 regardless of whether this endorsement was in
   of the following are attributed to an incident of                  effect during the entirety of that time period or not.
   "terrorism":



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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  EQUIPMENT BREAKDOWN COVERAGE
This endorsement modifies insurance provided under the following:

    BUILDING AND PERSONAL PROPERTY COVERAGE FORM
    CAUSES OF LOSS - BASIC FORM
    CAUSES OF LOSS - BROAD FORM
    CAUSES OF LOSS - SPECIAL FORM

1. The BUILDING AND PERSONAL PROPERTY                                                  will be valued at the cost of replace-
   COVERAGE FORM is amended.                                                           ment of the media on which the
   a. A. COVERAGE is amended. The following cov-                                       "electronic data" was stored, with
      erage is added for purposes of this endorsement                                  blank media of substantially identi-
      only.                                                                            cal type.
      We will pay for "Equipment Breakdown" in any                                (2) The term "electronic data" has the
      one occurrence at any one location where                                         meaning set forth in the DEFINI-
      "Equipment Breakdown" is shown in the Decla-                                     TIONS section of the BUILDING
      rations. The most we will pay for "Equipment                                     AND PERSONAL PROPERTY
      Breakdown" is shown in the Declarations and is                                   COVERAGE FORM.
      subject to the Limits of Insurance section of this                          (3) The amount we pay is subject to the
      endorsement.                                                                     Limits of Insurance section of this
   b. A. COVERAGE, 4. Additional Coverages is                                          endorsement.
      amended for purposes of this endorsement only.                      (3) The following Additional Coverages are
      (1) Paragraph d. Pollutant Clean-up And Re-                             added.
           moval is deleted and replaced by the                               (a) Expediting Expenses
           following.                                                             We will pay for the expediting expense
           d. Pollutant Clean-up And Removal                                      loss resulting from an "Equipment
                We will pay for the pollutant clean-up,                           Breakdown" with respect to your dam-
                removal, repair or replacement of dam-                            aged Covered Property. We will pay the
                aged Covered Property resulting from                              "reasonable extra cost" to:
                an "Equipment Breakdown". The                                     1) Make temporary repairs;
                amount we pay is subject to the Limits                            2) Expedite permanent repairs; or
                of Insurance section of this                                      3) Expedite permanent replacement.
                endorsement.                                                      "Reasonable extra cost" shall mean "the
                This coverage does not include contam-                            extra cost of temporary repair and of ex-
                ination of perishable stock by a                                  pediting the repair of such damaged
                refrigerant.                                                      equipment of the insured, including
      (2) Paragraph e. Electronic Data is deleted                                 overtime and the extra cost of express
           and replaced by the following.                                         or other rapid means of transportation".
           e. Electronic Data Restoration                                         The amount we pay is subject to the
                (1) We will pay for your reasonable and                           Limits of Insurance section of this
                     necessary cost to research, replace                          endorsement.
                     or restore "electronic data" which                       (b) Refrigerant Contamination
                     has been destroyed or corrupted as                           We will pay for loss to your Covered
                     a result of "Equipment Breakdown".                           Property that is damaged by contami-
                     To the extent that "electronic data"                         nation by a refrigerant used in the re-
                     is not replaced or restored, the loss                        frigerating, cooling or humidity control



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               equipment at the described premises as                            because of the use or presence of a re-
               a result of an "Equipment Breakdown".                             frigerant containing CFC (chlorofluoro-
               The amount we pay is subject to the                               carbon) substances.
               Limits of Insurance section of this                               "Additional costs" mean those in ex-
               endorsement.                                                      cess of what would have been required
           (c) Spoilage Coverage                                                 to repair or replace Covered Property,
               1) We will pay for loss of "perishable                            had no CFC refrigerant been involved.
                   goods" caused by spoilage resulting                           We will also pay for additional loss as
                   from lack of power, light, heat,                              described under Spoilage Coverage or
                   steam or refrigeration caused by an                           loss of Business Income Coverage pro-
                   "Equipment Breakdown" to types of                             vided by this endorsement, caused by
                   property covered by this policy, that                         the presence of a refrigerant containing
                   are:                                                          CFC substances.
                   a) Located on or within 1,000 feet                            We will pay no more than the least of
                        of your described premises; and                          the following:
                   b) Owned by you, the building                                 1) The cost to repair the damaged
                        owner (if you are a tenant), or                               property and replace any lost CFC
                        owned by a public utility, or                                 refrigerant;
                        other supplier with whom you                             2) The cost to repair the damaged
                        have a contract to supply you                                 property, retrofit the system to ac-
                        with any of the following ser-                                cept a non-CFC refrigerant, and
                        vices: electrical power, waste                                charge the system with a non-CFC
                        disposal, air conditioning, refrig-                           refrigerant; or
                        eration, heating, natural gas,                           3) The cost to replace the system with
                        compressed air, water, steam,                                 one using a non-CFC refrigerant.
                        internet access, telecommunica-                          The amount we pay is subject to the
                        tions services, wide area net-                           Limits of Insurance section of this
                        works or data transmission.                              endorsement.
               2) However, we will not pay for any                           (e) Computer Equipment
                   physical loss or damage caused by                             We will pay for direct physical loss or
                   or resulting from any of the causes                           damage to your computers as a result of
                   of loss listed below, unless loss or                          an "Equipment Breakdown". The
                   damage not otherwise excluded                                 amount we pay is subject to the Limits
                   results, then we will pay for such                            of Insurance section of this
                   resulting damage:                                             endorsement.
                   a) Fire, lightning, combustion ex-                        (f) Business Interruption, Extra Expense,
                        plosion, windstorm or hail,                              Electronic Data and Service
                        weight of snow, ice or sleet, fall-                      Interruption
                        ing objects, smoke, aircraft or                          Any insurance provided for Business In-
                        vehicles, riot or civil commotion,                       come, Extra Expense or Electronic Data
                        vandalism, sinkhole collapse,                            is extended to apply to your loss, dam-
                        volcanic action, leakage from                            age or expense caused by an "Equip-
                        fire extinguishing equipment,                            ment Breakdown" to equipment that is
                        water damage, earth move-                                owned by a utility, landlord or other sup-
                        ment; or                                                 plier with whom you have a contract to
                   b) Flood, unless an "Equipment                                supply you with any of the following ser-
                        Breakdown" ensues.                                       vices: electrical power, waste disposal,
                   Our payment will be based upon the                            air conditioning, refrigeration, heating,
                   actual replacement cost of the "per-                          natural gas, compressed air, water,
                   ishable goods" at the time of loss.                           steam, internet access, telecommunica-
                   The amount we pay is subject to the                           tions services, wide area networks, data
                   Limits of Insurance section of this                           transmission or "cloud computing". The
                   endorsement.                                                  equipment must meet the definition of
           (d) CFC Refrigerants                                                  "Equipment Breakdown" except that it is
               We will pay for the "additional costs" to                         not Covered Property.
               repair or replace Covered Property


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               We will pay:                                                      introduced into or enacted on a com-
               1) Your actual loss sustained from a                              puter system or a network to which it is
                    total or partial interruption of busi-                       connected, designed to damage or de-
                    ness; and                                                    stroy any part of the system or disrupt
               2) The reasonable extra expense you                               its normal operation.
                    sustain to run your business during                          The amount we pay is subject to the
                    the interruption, caused solely by an                        Limits of Insurance section of this
                    "Equipment Breakdown", including                             endorsement.
                    an "Equipment Breakdown" to any                          (i) Risk Improvement
                    transformer, electrical apparatus, or                        If Covered Property suffers direct phys-
                    any covered equipment that is:                               ical loss or damage caused by an
                    a) Located on or within 1,000 feet                           "Equipment Breakdown", we will pay for
                         of your described premises;                             the insured to improve the "power qual-
                    b) Owned by you, the building                                ity" of the electrical system or equipment
                         owner (if you are a tenant), or                         at the loss location where the "Equip-
                         owned by a public utility com-                          ment Breakdown" occurred. "Power
                         pany; and                                               quality" means the conditions that allow
                    c) Used to supply electrical power,                          electrical systems or equipment to op-
                         waste disposal, air conditioning,                       erate as intended by limiting voltage
                         refrigeration, heating, natural                         fluctuations and other power influences
                         gas, compressed air, water,                             that would adversely affect the opera-
                         steam, internet access, tele-                           tional performance and/or reduce the
                         communications services, wide                           reliability or the lifespan of the electrical
                         area networks or data                                   system.
                         transmission.                                           We will pay the reasonable extra cost to
               The amount we pay is subject to the                               improve "power quality" for the following
               Limits of Insurance section of this                               electrical systems and/or equipment
               endorsement.                                                      improvements:
           (g) Temperature Fluctuation                                           1) Installation of surge protection de-
               We will pay for loss of "perishable                                    vices (SPD's) which are installed at
               goods" only caused by or resulting from                                the loss location's line disconnect,
               any condition or event to Covered Prop-                                load disconnect, or on specific
               erty that can be resolved by calibrating,                              pieces of equipment and that are
               resetting, tightening, adjusting or                                    certified by Underwriter Laboratories
               cleaning.                                                              (UL) or has an equivalent
               However, we will not pay for loss of                                   certification.
               "perishable goods" as a result of re-                                  However SPD's do not include any
               setting the power supply to the Covered                                SPD's which are cord-connected
               Property containing the "perishable                                    surge strips, direct plug-in SPD's or
               goods".                                                                receptacle SPD's;
               The amount we pay is subject to the                               2) An upgrade and/or replacement of
               Limits of Insurance section of this                                    electrical panels, switchgear and/or
               endorsement.                                                           circuit breakers; or
           (h) Unauthorized Instruction                                          3) Electrical wire and wiring improve-
               We will pay for loss or damage to your                                 ments which include installation of
               "computer equipment" caused by an                                      flexible conduit, junction boxes
               "unauthorized instruction" which results                               and/or ground wiring.
               in an "Equipment Breakdown".                                      An invoice for implementation of this
               "Computer equipment" means Covered                                Additional Coverage must be sent to us
               Property that is electronic computer or                           within 180 days after the payment of the
               other data processing equipment, in-                              loss is received.
               cluding peripherals used in conjunction                           The amount we pay is subject to the
               with such equipment and electronic                                Limits of Insurance section of this
               media and records.                                                endorsement.
               "Unauthorized instruction" means a
               virus, harmful code or similar instruction


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          (j) Off-Premises Coverage                                               Temperature Fluctuation, Risk
               We will pay for loss or damage to Cov-                             Improvement and Off-Premises
               ered Property resulting from a covered                             Coverage are not additional limits of
               "Equipment Breakdown" while tempo-                                 insurance, but are included in the "total
               rarily at a premises or location that is                           insured value". We will pay the lesser of
               not a described premises. The amount                               "total insured value" or:
               we pay is subject to the Limits of Insur-                          a. For Pollutant Clean-up And Re-
               ance section of this endorsement.                                       moval, the greater of $250,000 or
      (4) The following is added to 5. Coverage                                        the limit shown in the Declarations
          Extensions.                                                                  for Pollutant Clean-up And Removal
          Replacement Cost Coverage                                                    or the limit shown in an endorse-
          We will pay you the amount you actually                                      ment that is attached to the property
          spend to repair or replace your damaged                                      form;
          property with new property of like kind, ca-                            b. For Electronic Data Restoration, up
          pacity, size and quality, whichever is less                                  to $100,000 for loss, damage or ex-
          except for the following.                                                    pense including actual loss of Busi-
          If any damaged property is not repaired or                                   ness Income you sustain and nec-
          replaced, then we will pay only the actual                                   essary Extra Expense you incur;
          cash value at the time of the "Equipment                                c. For Refrigerant Contamination, up
          Breakdown".                                                                  to $750,000 for loss or damage;
   c. B. EXCLUSIONS AND LIMITATIONS is                                            d. For Spoilage Coverage, up to
      amended. The following provision is added for                                    $750,000 for loss or damage;
      purposes of this endorsement only.                                          e. For Temperature Fluctuation, up to
      Under Business Interruption, Extra Expense and                                   $5,000 for loss including actual loss
      Service Interruption, we will not pay for:                                       of Business Income you sustain and
      (1) The interruption of business that would not                                  necessary Extra Expense you incur;
          or could not have been carried on if the                                f. For Risk Improvement, 10% of the
          "Equipment Breakdown" had not occurred;                                      loss amount paid, up to a maximum
      (2) Your failure to use due diligence and dis-                                   limit of $10,000; and
          patch and all reasonable means to resume                                g. For Off-Premises Coverage, up to
          business at the location(s) shown on the                                     $25,000 for loss or damage.
          Declarations page; or                                              3. In no event will we pay more than the
      (3) The part of any loss or expense that is due                             "total insured value" for each location
          solely to the suspension, lapse or cancella-                            where "Equipment Breakdown" is shown
          tion of a contract following an "Equipment                              in the Declarations.
          Breakdown" extending beyond the time                               4. As regards Business Interruption, Extra
          business would have resumed if the contract                             Expense and Service Interruption, our
          had not lapsed, been suspended or                                       limit of liability for any one "Equipment
          canceled.                                                               Breakdown" is equal to twelve (12) con-
   d. C. LIMITS OF INSURANCE is deleted and re-                                   secutive months of actual loss sustained
      placed by the following for purposes of this                                for a total or partial interruption of your
      endorsement only.                                                           business. The twelve (12) consecutive
      C. LIMITS OF INSURANCE                                                      months begin on the date of the "Equip-
          1. The most we will pay for "Equipment                                  ment Breakdown".
               Breakdown" for one or more coverages                  e. F. ADDITIONAL CONDITIONS is amended.
               in any one occurrence at any one loca-                   The following conditions are added for purposes
               tion is the amount equal to the "total                   of this endorsement only.
               insured value" at each location where                    (1) Suspension
               "Equipment Breakdown" is shown in the                         Whenever Covered Property is found to be
               Declarations. This provision does not                         in, or exposed to, a dangerous condition,
               apply to Paragraph C.4.                                       any of our representatives may immediately
          2. The limit of insurance for Pollutant                            suspend the insurance against loss to that
               Clean-up And Removal, Electronic                              Covered Property for the perils covered by
               Data Restoration, Refrigerant Con-
               tamination, Spoilage Coverage,



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           this endorsement. Coverage can be sus-                                 4) The additional reasonable and nec-
           pended and possibly reinstated by deliver-                                  essary cost incurred by you for
           ing or mailing a written notice of suspension                               "Green" in the removal, disposal or
           or coverage reinstatement to:                                               recycling of damaged Covered
           (a) Your last known address; or                                             Property.
           (b) The address where the property is                                  5) The business interruption (if cover-
                located.                                                               age is provided by the policy to
           If we suspend your insurance, you will get a                                which this endorsement is attached)
           pro rata refund of premium. However, the                                    loss during the additional time re-
           suspension will be effective even if we have                                quired for repair or replacement of
           not yet made or offered a refund.                                           Covered Property, consistent with
       (2) Jurisdictional Inspections                                                  "Green", in the coverage above.
           If any Covered Property under this endorse-                            We will not pay more than 150%, up to a
           ment requires inspection to comply with                                maximum limit of $100,000, of what the
           state or municipal boiler and pressure vessel                          cost would have been to repair or re-
           regulations, we agree to perform such in-                              place with equipment of like kind and
           spection on your behalf. We do not warrant                             quality inclusive of fees, costs and any
           that conditions are safe or healthful.                                 business interruption loss incurred as
       (3) Environmental, Safety and Efficiency                                   stated above.
           Improvements                                                      (b) Green Environmental and Efficiency
           If Covered Property requires replacement                               Improvements does not cover any of
           caused by an "Equipment Breakdown", we                                 the following.
           will pay your additional cost to replace with                          1) Covered Property does not include
           equipment that is better for the environment,                               stock, raw materials, finished goods,
           safer, or more efficient than the equipment                                 "production machinery", merchan-
           being replaced.                                                             dise, electronic data processing
           However, we will not pay more than 150% of                                  equipment not used in the functional
           what the cost would have been to repair or                                  support of the real property, process
           replace with like kind and quality. This con-                               water, molds and dies, property in
           dition does not apply to any property to                                    the open, property of others for
           which Actual Cash Value applies.                                            which you are legally liable, or per-
       (4) Green Environmental and Efficiency                                          sonal property of others.
           Improvements                                                           2) Any loss adjusted on any valuation
           (a) If Covered Property requires repair or                                  basis other than a repair or replace-
                replacement caused by an "Equipment                                    ment cost basis as per E. LOSS
                Breakdown", we will pay:                                               CONDITIONS, 4. Loss Payment.
                1) The lesser of the reasonable and                               3) Any loss covered under any other
                    necessary additional cost incurred                                 section of this policy.
                    by you to repair or replace physi-                            4) Any cost incurred because of any
                    cally damaged Covered Property                                     law or ordinance with which you
                    with equipment of like kind and qual-                              were legally obligated to comply
                    ity which qualifies as "Green". Like                               with prior to the time of the
                    kind and quality includes similar size                             "Equipment Breakdown".
                    and capacity.                                        (5) Other Insurance Issued By Us
                2) The additional reasonable and nec-                        If this policy provides coverage for Data Pro-
                    essary fees incurred by you for an                       cessing Equipment Coverages, Electronic
                    accredited professional certified by                     Data Processing Equipment, Refrigerated
                    a "Green Authority" to participate in                    Products or Mechanical Breakdown where
                    the repair or replacement of physi-                      two or more of this policy's coverages apply
                    cally damaged Covered Property as                        to the same loss or damage, the Coverage
                    "Green".                                                 of this endorsement shall supersede any
                3) The additional reasonable and nec-                        coverages provided outside of this Equip-
                    essary cost incurred by you for cer-                     ment Breakdown Endorsement for the loss
                    tification or recertification of the                     or damage that arises out of an "Equip-
                    repaired or replaced Covered                             ment Breakdown" loss.
                    Property as "Green".


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             This Condition supersedes any similar Con-                            (c) Pulse of electromagnetic energy; or
             dition when provided by us in this policy.                            (d) Electromagnetic waves or
2. B. EXCLUSIONS of the CAUSES OF LOSS                                                 microwaves.
   FORMS is amended.                                                          However, if fire results, we will pay for the
   a. CAUSES OF LOSS - BASIC FORM and                                         loss or damage caused by that fire.
       CAUSES OF LOSS - BROAD FORM are                                        Mechanical breakdown, including rupture or
       amended. The following exclusions are deleted                          bursting caused by centrifugal force. How-
       for purposes of this endorsement only.                                 ever, if mechanical breakdown results in el-
       Artificially generated electrical, magnetic or elec-                   evator collision, we will pay for the loss or
       tromagnetic energy that damages, disturbs, dis-                        damage caused by that elevator collision.
       rupts or otherwise interferes with any:                                Explosion of steam boilers, steam pipes,
       (1) Electrical or electronic wire, device, appli-                      steam engines or steam turbines owned or
             ance, system or network; or                                      leased by you, or operated under your con-
       (2) Device, appliance, system or network utiliz-                       trol. However, if explosion of steam boilers,
             ing cellular or satellite technology.                            steam pipes, steam engines or steam tur-
       For the purpose of this exclusion, electrical,                         bines results in fire or combustion explosion,
       magnetic or electromagnetic energy includes but                        we will pay for the loss or damage caused
       is not limited to:                                                     by that fire or combustion explosion. We will
             (a) Electrical current, including arcing;                        also pay for loss or damage caused by or
             (b) Electrical charge produced or conducted                      resulting from the explosion of gases or fuel
                  by a magnetic or electromagnetic field;                     within the furnace of any fired vessel or
             (c) Pulse of electromagnetic energy; or                          within the flues or passages through which
             (d) Electromagnetic waves or microwaves.                         the gases of combustion pass.
       However, if fire results, we will pay for the loss             c. CAUSES OF LOSS - SPECIAL FORM, C. LIM-
       or damage caused by that fire.                                    ITATIONS is amended. The following limitations
       Mechanical breakdown, including rupture or                        are deleted for purposes of this endorsement
       bursting caused by centrifugal force. However,                    only.
       if mechanical breakdown results in a Covered                      (1) Steam boilers, steam pipes, steam engines,
       Cause of Loss, we will pay for the loss or dam-                        or steam turbines caused by or resulting
       age caused by that Covered Cause of Loss. Ex-                          from any condition or event inside such
       plosion of steam boilers, steam pipes, steam                           equipment. However, we will pay for loss of
       engines or steam turbines owned or leased by                           or damage to such equipment caused by or
       you, or operated under your control.                                   resulting from an explosion of gases or fuel
       However, if explosion of steam boilers, steam                          within the furnace of any fired vessel or
       pipes, steam engines or steam turbines results                         within the flues or passages through which
       in fire or combustion explosion, we will pay for                       the gases of combustion pass.
       the loss or damage caused by that fire or com-                    (2) Hot water boilers or other water heating
       bustion explosion.                                                     equipment caused by or resulting from any
   b. CAUSES OF LOSS - SPECIAL FORM is                                        condition or event inside such boilers or
       amended. The following exclusions are deleted                          equipment, other than any explosion.
       for purposes of this endorsement only.                      3. DEFINITIONS is amended.
       a. Artificially generated electrical, magnetic or              a. CAUSES OF LOSS - SPECIAL FORM, "Speci-
             electromagnetic energy that damages, dis-                   fied Causes of Loss" is amended to include
             turbs, disrupts or otherwise interferes with                "Equipment Breakdown" for purposes of this
             any:                                                        endorsement only.
             (1) Electrical or electronic wire, device, ap-           b. CAUSES OF LOSS - SPECIAL FORM,
                  pliance, system or network; or                         CAUSES OF LOSS - BASIC FORM and
             (2) Device, appliance, system or network                    CAUSES OF LOSS - BROAD FORM is
                  utilizing cellular or satellite technology.            amended. The following definitions are added
             For the purpose of this exclusion, electrical,              for purposes of this endorsement only.
             magnetic or electromagnetic energy in-
             cludes but is not limited to:                                 "Cloud computing" means on-demand network
                  (a) Electrical current, including arcing;                access to a shared pool of computing resources
                  (b) Electrical charge produced or con-                   via networks, servers, storage, applications and
                        ducted by a magnetic or electro-                   services provided by an organization with whom
                        magnetic field;


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       you have a contract with using the following ser-                 (3) However, "Equipment Breakdown" does not
       vice models: Software as a Service (SaaS),                            mean:
       Platform as a Service (PaaS) and Infrastructure                       Physical loss or damage caused by or re-
       as a Service (laaS) on the following deployment                       sulting from any of the following; however, if
       models: public cloud, community cloud, hybrid                         loss or damage not otherwise excluded re-
       cloud and private cloud.                                              sults, then we will pay for such resulting
                                                                             damage:
       "Electronic equipment" means devices which op-                        (a) Wear and tear;
       erate using many small electrical parts such as,                      (b) Rust or other corrosion, decay, deterio-
       but not limited to, microchips, transistors or                             ration, hidden or latent defect, "fungi",
       circuits.                                                                  wet rot, dry rot, virus, bacteria or any
                                                                                  other quality in property that causes it to
       "Electronic equipment deficiency" means the                                damage or destroy itself;
       quality or condition inside of "electronic equip-                     (c) Smog;
       ment" which renders this equipment unexpect-                          (d) Settling, cracking, shrinking or
       edly inoperable and which is operable again                                expansion;
       once a piece of "electronic equipment" has been                       (e) Nesting or infestation, or discharge or
       replaced.                                                                  release of waste products or secretions,
       However, "electronic equipment deficiency" will                            by insects, birds, rodents or other
       not include replacement of "electronic equip-                              animals;
       ment" for any condition that could have been                          (f) Any accident, loss, damage, cost, claim,
       resolved without replacement of the "electronic                            or expense, whether preventative, reme-
       equipment" including but not limited to "com-                              dial, or otherwise, directly or indirectly
       puter equipment" maintenance or the reinstalla-                            arising out of or relating to the recogni-
       tion or incompatibility of software.                                       tion, interpretation, calculation, compar-
                                                                                  ison, differentiation, sequencing, or pro-
       "Equipment Breakdown" means:                                               cessing of data by any computer system
       (1) Physical loss or damage both originating                               including any hardware, programs or
           within:                                                                software;
           (a) Boilers, fired or unfired pressure ves-                       (g) Scratching or marring; and
               sels, vacuum vessels, and pressure pip-                       (h) Loss, damage, cost or expense directly
               ing, all normally subject to vacuum or                             caused by, contributed to by, resulting
               internal pressure other than static pres-                          from or arising out of the following
               sure of contents, excluding:                                       causes of loss:
               1) Waste disposal piping;                                          1) Fire, lightning, combustion explo-
               2) Any piping forming part of a fire pro-                               sion, windstorm or hail, weight of
                    tective system;                                                    snow, ice or sleet, falling objects,
               3) Furnaces; and                                                        smoke, aircraft or vehicles, riot or
               4) Any water piping other than:                                         civil commotion, vandalism, sinkhole
                    a) Boiler feed water piping be-                                    collapse, volcanic action, leakage
                         tween the feed pump and the                                   from fire extinguishing equipment,
                         boiler;                                                       water damage, earth movement; or
                    b) Boiler condensate return piping;                           2) Flood, unless an "Equipment Break-
                         or                                                            down" ensues.
                    c) Water piping forming part of a
                         refrigerating or air conditioning               "Total insured value" means:
                         system.                                         The sum of the limits for the following coverages
           (b) All mechanical, electrical, "electronic                   if shown at the location where "Equipment
               equipment" or fiber optic equipment; and                  Breakdown" is shown in the Declarations:
       (2) Caused by, resulting from, or consisting of:                  (1) Building;
           (a) Mechanical breakdown;                                     (2) Business Personal Property;
           (b) Electrical or electronic breakdown and                    (3) Stock;
               "electronic equipment deficiency"; or                     (4) Personal Property of Others;
           (c) Rupture, bursting, bulging, implosion, or                 (5) Tenants Improvements and Betterments;
               steam explosion.                                          (6) Improvements and Alterations;



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       (7)  Furniture;                                                  "Green Authority" means an authority on
       (8)  Fixtures;                                                   "Green" buildings, products, materials, methods
       (9)  Machinery and Equipment;                                    or processes certified and accepted by Leader-
       (10) Personal Property in the Open;                              ship in Energy and Environmental Design
       (11) Legal Liability Real Property;                              (LEED®), "Green" Building Initiative Green
       (12) Business Income and Extra Expense                           Globes®, Energy Star Rating System or any
            (when Business Income and Extra Ex-                         other recognized "Green" rating system.
            pense - Actual Loss Sustained is shown in
            the Declarations, Business Income and                       "Perishable goods" means stock preserved and
            Extra Expense applies at 25% of the sum                     maintained under controlled conditions and sus-
            of the building and business personal                       ceptible to loss or damage if the controlled
            property limits at that location);                          conditions change.
       (13) Business Income (Without Extra Expense);
       (14) Extra Expense; and                                          "Production machinery" means any machine
       (15) Any other property described.                               which processes, forms, shapes or transports
                                                                        raw materials, materials in process, waste
       "Green" means products, materials, methods                       materials or finished products.
       and processes certified by a "Green Authority"
       that conserve natural resources, reduce energy           All other policy terms and conditions apply.
       or water consumption, avoid toxic or other
       polluting emissions or otherwise minimize
       environmental impact.



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                                                                                                              64013 (12-10)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          LIMITATION - SPECIALTY GLASS
This endorsement modifies insurance provided under the following:

CAUSES OF LOSS - SPECIAL FORM
CAUSES OF LOSS - BROAD FORM
CAUSES OF LOSS - BASIC FORM

A. Under LIMITATIONS in Causes of Loss - Special                       This limitation does not apply to loss or damage by
   Form and LIMITATION in Causes of Loss - Broad                       the "specified causes of loss", except vandalism.
   Form and Basic Form, the following limitation is
   added:                                                          B. Under DEFINITIONS, the following definition is
   We will not pay more than $500 in any one occur-                   added:
   rence for direct physical loss of or damage to "spe-               "Specialty glass" means art glass, etched glass, half
   cialty glass" at the premises described in the Decla-              tone screens, memorial windows, mosaic art, roto-
   rations regardless of the number of panes, plates or               gravure screens, stained glass or stained glass in
   similar units of glass. Subject to this aggregate, we              leaded sections.
   will not pay more than $100 for any one pane, plate,
   multiple plate insulating unit, jalousie, louver or shut-       All other policy terms and conditions apply.
   ter.


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                                                                                                                             64000 (12-10)


                                BUILDING AND PERSONAL PROPERTY
                                        COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
and is not covered.

Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The words
"we", "us" and "our" refer to the Company providing this insurance.

Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. DEFINITIONS.

The descriptions in the headings of this Coverage Form and all applicable endorsements are solely for convenience and
form no part of the terms and conditions of coverage.

A. COVERAGE                                                                                        ises, used for making additions,
   We will pay for direct physical loss of or damage to                                            alterations or repairs to the building
   Covered Property at the premises described in the                                               or structure.
   Declarations caused by or resulting from any Cov-                                   b. Your Business Personal Property located
   ered Cause of Loss.                                                                    in or on the building described in the Decla-
   1. Covered Property                                                                    rations or in the open (or in a vehicle) within
       Covered Property, as used in this Coverage                                         1,000 feet of the described premises, con-
       Part, means the type of property described in                                      sisting of the following unless otherwise
       Section A.1., and limited in A.2., Property Not                                    specified in the Declarations or on the Your
       Covered, if a Limit of Insurance is shown in the                                   Business Personal Property - Separation Of
       Declarations for that type of property.                                            Coverage endorsement:
       a. Building, meaning the building or structure                                     (1) Furniture and fixtures;
           described in the Declarations, including:                                      (2) Machinery and equipment;
           (1) Completed additions;                                                       (3) "Stock";
           (2) Fixtures, including outdoor fixtures;                                      (4) All other personal property owned by
           (3) Permanently installed:                                                          you and used in your business;
               (a) Machinery; and                                                         (5) Labor, materials or services furnished or
               (b) Equipment;                                                                  arranged by you on personal property of
           (4) Building glass, meaning glass that is                                           others;
               part of the building or structure;                                         (6) Your use interest as tenant in improve-
           (5) Personal property owned by you that is                                          ments and betterments. Improvements
               used to maintain or service the building                                        and betterments are fixtures, alterations,
               or structure or its premises, including:                                        installations or additions:
               (a) Fire-extinguishing equipment;                                               (a) Made a part of the building or
               (b) Outdoor furniture;                                                              structure you occupy but do not
               (c) Floor coverings; and                                                            own; and
               (d) Appliances used for refrigerating,                                          (b) You acquired or made at your ex-
                    ventilating, cooking, dishwashing or                                           pense but cannot legally remove;
                    laundering; and                                                                and
           (6) If not covered by other insurance:                                         (7) Leased personal property for which you
               (a) Additions under construction, altera-                                       have a contractual responsibility to in-
                    tions and repairs to the building or                                       sure, unless otherwise provided for
                    structure; and                                                             under Personal Property Of Others.
               (b) Materials, equipment, supplies and                                  c. Personal Property Of Others that is:
                    temporary structures, on or within                                    (1) In your care, custody or control; and
                    1,000 feet of the described prem-



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          (2) Located in or on the building described                                    able Papers And Records (Other Than Elec-
                in the Declarations or in the open (or in                                tronic Data) for limited coverage for valuable
                a vehicle) within 1,000 feet of the de-                                  papers and records other than those which
                scribed premises.                                                        exist as "electronic data";
          However, our payment for loss of or damage                                p. Vehicles or self-propelled machines (in-
          to personal property of others will only be for                                cluding aircraft or watercraft) that:
          the account of the owner of the property.                                      (1) Are licensed for use on public roads; or
    2. Property Not Covered                                                              (2) Are operated principally away from the
       Covered Property does not include:                                                    described premises.
       a. Accounts, bills, currency, food stamps or                                      This paragraph does not apply to:
          other evidences of debt, money, notes or                                       (a) Vehicles or self-propelled machines or
          securities. Lottery tickets held for sale are                                      automobiles you manufacture, process
          not securities;                                                                    or warehouse;
       b. Animals, unless owned by others and in                                         (b) Vehicles or self-propelled machines,
          your care, custody or control, or if owned by                                      other than automobiles, you hold for
          you, only as "stock" while inside of buildings;                                    sale;
       c. Automobiles held for sale;                                                     (c) Rowboats or canoes out of water at the
       d. Bridges, roadways, walks, patios or other                                          described premises; or
          paved surfaces;                                                                (d) Trailers, but only to the extent provided
       e. Contraband, or property in the course of                                           for in the Coverage Extension for Non-
          illegal transportation or trade;                                                   owned Detached Trailers; or
       f. The cost of excavations, grading, backfilling                             q. The following property while outside of build-
          or filling;                                                                    ings:
       g. Foundations of buildings, structures, ma-                                      (1) Grain, hay, straw or other crops; or
          chinery or boilers if their foundations are                                    (2) Fences, radio or television antennas
          below:                                                                             (including satellite dishes) and their
          (1) The lowest basement floor; or                                                  lead-in wiring, masts or towers, trees,
          (2) The surface of the ground, if there is no                                      shrubs or plants (other than "stock" of
                basement;                                                                    trees, shrubs or plants), all except as
       h. Land (including land on which the property is                                      provided in the Coverage Extensions.
          located), water, growing crops or lawns;                               3. Covered Causes Of Loss
       i. Personal property while airborne or water-                                See applicable Causes Of Loss Form as shown
          borne;                                                                    in the Declarations.
       j. Bulkheads, pilings, piers, wharves or docks;                           4. Additional Coverages
       k. Property that is covered under another                                    a. Debris Removal
          coverage form of this or any other policy in                                   (1) Subject to Paragraphs (3) and (4) be-
          which it is more specifically described,                                           low, we will pay your expense to remove
          except for the excess of the amount due                                            debris of Covered Property caused by or
          (whether you can collect on it or not) from                                        resulting from a Covered Cause of Loss
          that other insurance;                                                              that occurs during the policy period.
       l. Retaining walls that are not part of a                                             The expenses will be paid only if they
          building;                                                                          are reported to us in writing within 180
       m. Underground pipes, flues or drains;                                                days of the date of direct physical loss
       n. "Electronic data", except as provided under                                        or damage.
          the Additional Coverage - Electronic Data.                                     (2) Debris Removal does not apply to costs
          This Paragraph n. does not apply to your                                           to:
          "stock" of prepackaged software;                                                   (a) Extract "pollutants" from land or
       o. The cost to replace or restore the informa-                                             water; or
          tion on valuable papers and records, in-                                           (b) Remove, restore or replace polluted
          cluding those which exist as "electronic                                                land or water.
          data". Valuable papers and records include                                     (3) Subject to the exceptions in Paragraph
          but are not limited to proprietary information,                                    (4) below, the following provisions apply:
          books of account, deeds, manuscripts, ab-                                          (a) The most we will pay for the total of
          stracts, drawings and card index systems.                                               direct physical loss or damage plus
          Refer to the Coverage Extension for Valu-                                               debris removal expense is the Limit


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                         of Insurance applicable to the Cov-                    The debris removal expense is less than 25% of the sum
                         ered Property that has sustained                       of the loss payable plus the deductible. The sum of the
                         loss or damage.                                        loss payable and the debris removal expense ($49,500 +
                    (b) Subject to (a) above, the amount we                     $10,000 = $59,500) is less than the Limit of Insurance.
                         will pay for debris removal expense                    Therefore, the full amount of debris removal expense is
                         is limited to 25% of the sum of the                    payable in accordance with the terms of Paragraph (3).
                         deductible plus the amount that we
                         pay for direct physical loss or dam-                   EXAMPLE #2
                         age to the Covered Property that                       Limit of Insurance:                                $90,000
                         has sustained loss or damage.                          Amount of Deductible:                              $ 500
                (4) We will pay up to an additional $10,000                     Amount of Loss:                                    $80,000
                    for debris removal expense, for each                        Amount of Loss Payable:                            $79,500
                    location, in any one occurrence of                                                                     ($80,000 - $500)
                    physical loss or damage to Covered                          Debris Removal Expense:                            $30,000
                    Property, if one or both of the following                   Debris Removal Expense Payable
                    circumstances apply:                                        Basic Amount:                                       $10,500
                    (a) The total of the actual debris re-                      Additional Amount:                                  $10,000
                         moval expense plus the amount we
                         pay for direct physical loss or dam-                   The basic amount payable for debris removal expense
                         age exceeds the Limit of Insurance                     under the terms of Paragraph (3) is calculated as
                         on the Covered Property that has                       follows: $80,000 ($79,500 + $500) x .25 = $20,000;
                         sustained loss or damage.                              capped at $10,500. The cap applies because the sum
                    (b) The actual debris removal expense                       of the loss payable ($79,500) and the basic amount
                         exceeds 25% of the sum of the                          payable for debris removal expense ($10,500) cannot
                         deductible plus the amount that we                     exceed the Limit of Insurance ($90,000).
                         pay for direct physical loss or
                         damage to the Covered Property                         The additional amount payable for debris removal
                         that has sustained loss or damage.                     expense is provided in accordance with the terms of
                    Therefore, if (4)(a) and/or (4)(b) apply,                   Paragraph (4), because the debris removal expense
                    our total payment for direct physical loss                  ($30,000) exceeds 25% of the loss payable plus the
                    or damage and debris removal expense                        deductible ($30,000 is 37.5% of $80,000), and because
                    may reach but will never exceed the                         the sum of the loss payable and debris removal expense
                    Limit of Insurance on the Covered                           ($79,500 + $30,000 = $109,500) would exceed the Limit
                    Property that has sustained loss or                         of Insurance ($90,000). The additional amount of
                    damage, plus $10,000.                                       covered debris removal expense is $10,000, the
                (5) Examples                                                    maximum payable under Paragraph (4). Thus, the total
                    In the following examples, the figures                      payable for debris removal expense in this example is
                    used are for illustrative purposes only                     $20,500; $9,500 of the debris removal expense is not
                    and do not reflect your actual insurance.                   covered.

                    The following examples assume that                                     b. Preservation Of Property
                    there is no Coinsurance penalty.                                          If it is necessary to move Covered Property
                                                                                              from the described premises to preserve it
EXAMPLE #1                                                                                    from loss or damage by a Covered Cause of
Limit of Insurance:                                    $90,000                                Loss, we will pay for any direct physical loss
Amount of Deductible:                                  $ 500                                  or damage to that property:
Amount of Loss:                                        $50,000                                (1) While it is being moved or while
Amount of Loss Payable:                                $49,500                                       temporarily stored at another location;
                                               ($50,000 - $500)                                      and
Debris Removal Expense:                                $10,000                                (2) Only if the loss or damage occurs within
Debris Removal                                                                                       45 days, unless a higher number of
Expense Payable:                                           $10,000                                   days are shown in the Declarations,
($10,000 is 20% of $50,000.)                                                                         after the property is first moved.




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         c. Fire Department Service Charge                                                              Data, is limited to the "specified
            When the fire department is called to save                                                  causes of loss" as defined in that
            or protect Covered Property from a Covered                                                  form, and Collapse as set forth in
            Cause of Loss, we will pay up to $2,500 per                                                 that form.
            occurrence, unless a higher limit is shown in                                           (b) If the Causes Of Loss - Broad Form
            the Declarations, for your liability for fire                                               applies, coverage under this Addi-
            department service charges:                                                                 tional Coverage, Electronic Data,
            (1) Assumed by contract or agreement prior                                                  includes Collapse as set forth in that
                to loss; or                                                                             form.
            (2) Required by local ordinance.                                                        (c) If the Causes Of Loss Form is
         d. Pollutant Clean-up And Removal                                                              endorsed to add a Covered Cause
            We will pay your expense to extract "pollut-                                                of Loss, the additional Covered
            ants" from land or water at the described                                                   Cause of Loss does not apply to
            premises if the discharge, dispersal, seep-                                                 coverage provided under this
            age, migration, release or escape of the                                                    Additional Coverage, Electronic
            "pollutants" is caused by or results from a                                                 Data.
            Covered Cause of Loss that occurs during                                                (d) The Covered Causes of Loss in-
            the policy period. The expenses will be paid                                                clude a computer virus, harmful
            only if they are reported to us in writing                                                  code or similar instruction intro-
            within 180 days of the date on which the                                                    duced into or enacted on a com-
            Covered Cause of Loss occurs.                                                               puter system (including "electronic
                                                                                                        data") or a network to which it is
                This Additional Coverage does not apply to                                              connected, designed to damage or
                costs to test for, monitor or assess the exis-                                          destroy any part of the system or
                tence, concentration or effects of "pollut-                                             disrupt its normal operation. How-
                ants". However, we will pay for testing                                                 ever, there is no coverage for loss
                which is performed in the course of extract-                                            or damage caused by or resulting
                ing the "pollutants" from the land or water.                                            from manipulation of a computer
                                                                                                        system (including "electronic data")
            The most we will pay under this Additional                                                  by any employee, including a tem-
            Coverage for each described premises is                                                     porary or leased employee, or by an
            $10,000, unless a higher limit is shown in                                                  entity retained by you or for you to
            the Declarations, for the sum of all covered                                                inspect, design, install, modify,
            expenses arising out of Covered Causes of                                                   maintain, repair or replace that
            Loss occurring during each separate 12-                                                     system.
            month period of this policy.                                                        (3) Limit of Insurance
         e. Electronic Data                                                                         (a) Annual Aggregate Limit – The most
            (1) Subject to the provisions of this Addi-                                                 we will pay under this Additional
                tional Coverage, we will pay for the cost                                               Coverage, Electronic Data, for all
                to replace or restore "electronic data"                                                 loss or damage sustained in any
                which has been destroyed or corrupted                                                   one policy year, regardless of the
                by a Covered Cause of Loss. To the                                                      number of occurrences of loss or
                extent that "electronic data" is not re-                                                damage or the number of premises,
                placed or restored, the loss will be                                                    locations or computer systems
                valued at the cost of replacement of the                                                involved is $10,000, unless a higher
                media on which the "electronic data"                                                    limit is shown in the Declarations.
                was stored, with blank media of sub-                                                (b) Per Occurrence Limit - Subject to
                stantially identical type.                                                              (a) above, we will pay up to the
            (2) The Covered Causes of Loss applicable                                                   following amounts in any one
                to Your Business Personal Property                                                      occurrence of loss or damage:
                apply to this Additional Coverage, Elec-                                                1) $10,000 if the computer sys-
                tronic Data, subject to the following:                                                       tem(s) are equipped with active
                (a) If the Causes Of Loss - Special                                                          virus scanning or anti-virus
                     Form applies, coverage under this                                                       software at the time of loss; or
                     Additional Coverage, Electronic


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                    2) $2,500 if the computer sys-                                       (2) The most we will pay per occurrence is
                          tem(s) are not equipped with                                        25% of the amount of covered loss or
                          active virus scanning or anti-                                      $7,500, whichever is less, unless a
                          virus software at the time of                                       higher limit is shown in Declarations,
                          loss.                                                               regardless of the number of persons
                    If loss payment for the first occur-                                      who provide information.
                    rence does not exhaust the annual                                i. Rekeying of Locks
                    aggregate limit shown in (a) above,                                  (1) If the keys to locks on doors of the
                    then the balance is available for                                         building described in the Declarations
                    subsequent loss or damage sus-                                            are a part of a theft loss covered by this
                    tained in but not after that policy                                       policy, we will pay reasonable necessary
                    year. With respect to an occur-                                           expenses you incur to rekey locks on
                    rence which begins in one policy                                          doors of the building described in the
                    year and continues or results in                                          Declarations.
                    additional loss or damage in a sub-                                  (2) The most we will pay per occurrence is
                    sequent policy year(s), all loss or                                       $1,000, unless a higher limit is shown in
                    damage is deemed to be sustained                                          the Declarations.
                    in the policy year in which the                               5. Coverage Extensions
                    occurrence began.                                                Except as otherwise provided, the following
         f. Fire Extinguisher Systems Recharge                                       Extensions apply to property located in or on the
            Expense                                                                  building described in the Declarations or in the
            (1) We will pay:                                                         open (or in a vehicle) within 1,000 feet of the
                (a) The cost of recharging or replacing,                             described premises.
                    whichever is less, your fire extin-
                    guishers and fire extinguishing sys-                                If a coinsurance percentage of 80% or more, or
                    tems (including hydrostatic testing if                              a Value Reporting period symbol, is shown in
                    needed) if they are discharged on or                                the Declarations, you may extend the insurance
                    within 1,000 feet of the described                                  provided by this Coverage Part as follows:
                    premises; and                                                       a. Newly Acquired Or Constructed Property
                (b) For loss or damage to Covered                                            (1) Buildings
                    Property if such loss or damage is                                           If this policy covers Building, you may
                    the result of an accidental discharge                                        extend that insurance to apply to:
                    of chemicals from a fire extinguisher                                        (a) Your new buildings while being built
                    or a fire extinguishing system.                                                   on the described premises; and
            (2) No coverage will apply if the fire extin-                                        (b) Buildings you acquire at locations,
                guishing system is discharged during                                                  other than the described premises,
                installation or testing.                                                              intended for:
            (3) The most we will pay under this Addi-                                                 1) Similar use as the building
                tional Coverage is $10,000, unless a                                                       described in the Declarations; or
                higher limit is shown in the Declarations,                                            2) Use as a warehouse.
                in any one occurrence.                                                           The most we will pay for loss or damage
         g. Arson Reward                                                                         under this Extension is $500,000, unless
            (1) We will pay for information which leads                                          a higher limit is shown in the Declara-
                to a conviction for arson in connection                                          tions, at each building.
                with a fire loss to Covered Property                                         (2) Your Business Personal Property
                insured by this policy.                                                          (a) If this policy covers Your Business
            (2) The most we will pay per occurrence is                                                Personal Property, you may extend
                $7,500, unless a higher limit is shown in                                             that insurance to apply to:
                the Declarations, regardless of the                                                   1) Business personal property
                number of persons who provide infor-                                                       (other than "stock"), including
                mation.                                                                                    such property that you newly
         h. Theft Reward                                                                                   acquire, at any location you
            (1) We will pay for information which leads                                                    acquire other than at fairs, trade
                to a conviction for theft of Covered                                                       shows or exhibitions;
                Property insured by this policy.


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                     2) Business personal property                                         (2) Personal property of others in your care,
                          (other than "stock"), including                                      custody or control.
                          such property that you newly                                     The most we will pay for loss or damage
                          acquire, located at your newly                                   under this Extension is $2,500, unless a
                          constructed or acquired build-                                   higher limit is shown in the Declarations, at
                          ings at the location described in                                each described premises. Our payment for
                          the Declarations; or                                             loss of or damage to personal property of
                     3) Business personal property                                         others will only be for the account of the
                          (other than "stock") that you                                    owner of the property.
                          newly acquire, located at the                                 c. Valuable Papers and Records (Other
                          described premises.                                              Than "Electronic Data")
                     The most we will pay for loss or                                      (1) You may extend the insurance that ap-
                     damage under this Extension is                                            plies to Your Business Personal Prop-
                     $250,000, unless a higher limit is                                        erty to apply to the cost to replace or
                     shown in the Declarations, at each                                        restore the lost information on valuable
                     building.                                                                 papers and records for which duplicates
                (b) This Extension does not apply to:                                          do not exist. However, this Extension
                     1) Personal property of others that                                       does not apply to valuable papers and
                          is temporarily in your                                               records which exist as "electronic data".
                          possession in the course of                                      (2) If the Causes Of Loss - Special Form
                          installing or performing work on                                     applies, coverage under this Extension
                          such property; or                                                    is limited to the "specified causes of
                     2) Personal property of others that                                       loss" as defined in that form, and
                          is temporarily in your posses-                                       Collapse as set forth in that form.
                          sion in the course of your manu-                                 (3) If the Causes Of Loss – Broad Form
                          facturing or wholesaling                                             applies, coverage under this Extension
                          activities.                                                          includes Collapse as set forth in that
            (3) Period Of Coverage                                                             form.
                With respect to insurance on or at each                                    (4) Under this Extension, the most we will
                newly acquired or constructed property,                                        pay in any one occurrence to replace or
                coverage will end when any of the                                              restore the lost information is:
                following first occurs:                                                        (a) $10,000 at each described prem-
                (a) This policy expires;                                                            ises; and
                (b) 60 days expire after you acquire the                                       (b) $10,000 while valuable papers and
                     property or begin construction of                                              records are away from a described
                     that part of the building that would                                           premises
                     qualify as covered property, unless                                       unless higher limit(s) are shown in the
                     a higher number of days are shown                                         Declarations. Such amounts are
                     in the Declarations; or                                                   additional insurance.
                (c) You report values to us.                                               (5) We will also pay for the cost of blank
                We will charge you additional premium                                          material for reproducing the records
                for values reported from the date you                                          (whether or not duplicates exist), and
                acquire the property or begin construc-                                        (when there is a duplicate) for the cost
                tion of that part of the building that                                         of labor to transcribe or copy the
                would qualify as covered property.                                             records. The costs of blank material
         b. Personal Effects And Property Of Others                                            and labor are subject to the applicable
            You may extend the insurance that applies                                          Limit of Insurance on Your Business
            to Your Business Personal Property to apply                                        Personal Property and therefore cov-
            to:                                                                                erage of such costs is not additional
            (1) Personal effects owned by you, your                                            insurance.
                officers, your partners or members, your                                d. Property Off-premises
                managers or your employees. This                                           (1) You may extend the insurance provided
                Extension does not apply to loss or                                            by this Coverage Form to apply to your
                damage by theft.                                                               Covered Property, including "stock",



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                 while it is away from the described                                         (g) Aircraft.
                 premises, if it is:                                                         The most we will pay for loss or damage
                 (a) Temporarily at a location you do not                                    is $2,000, unless a higher limit is shown
                      own, lease or operate;                                                 in the Declarations. This limit applies to
                 (b) In storage at a location you lease,                                     any one occurrence, regardless of the
                      provided the lease was executed                                        types or number of items lost or dam-
                      after the beginning of the current                                     aged in that occurrence.
                      policy term; or                                               f. Non-owned Detached Trailers
                 (c) At any fair, trade show or exhibition.                             (1) You may extend the insurance that
            (2) This Extension does not apply to                                             applies to Your Business Personal
                 Covered Property:                                                           Property to apply to loss or damage to
                 (a) In or on a vehicle; or                                                  trailers that you do not own, provided
                 (b) In the care, custody or control of                                      that:
                      your salespersons, unless the                                          (a) The trailer is used in your business;
                      property is in such care, custody or                                   (b) The trailer is in your care, custody
                      control at a fair, trade show or                                             or control at the premises described
                      exhibition.                                                                  in the Declarations; and
            (3) The most we will pay for loss or damage                                      (c) You have a contractual responsi-
                 under this Extension is $10,000, unless                                           bility to pay for loss or damage to
                 a higher limit is shown in the Declara-                                           the trailer.
                 tions.                                                                 (2) We will not pay for any loss or damage
         e. Outdoor Property                                                                 that occurs:
            You may extend the insurance provided by                                         (a) While the trailer is attached to any
            this Coverage Form to apply to your out-                                               motor vehicle or motorized con-
            door:                                                                                  veyance, whether or not the motor
            (1) Fences, trees, shrubs and plants (other                                            vehicle or motorized conveyance is
                 than "stock" of trees, shrubs or plants),                                         in motion;
                 including debris removal expense,                                           (b) During hitching or unhitching opera-
                 caused by or resulting from any of the                                            tions, or when a trailer becomes
                 following causes of loss if they are Cov-                                         accidentally unhitched from a motor
                 ered Causes of Loss:                                                              vehicle or motorized conveyance.
                 (a) Fire;                                                              (3) The most we will pay for loss or damage
                 (b) Lightning;                                                              under this Extension is $5,000, unless a
                 (c) Explosion;                                                              higher limit is shown in the Declarations.
                 (d) Riot or Civil Commotion; or                                        (4) This insurance is excess over the
                 (e) Aircraft.                                                               amount due (whether you can collect on
                 The most we will pay for loss or damage                                     it or not) from any other insurance
                 is $10,000, but not more than $1,000 for                                    covering such property.
                 any one tree, shrub or plant, unless                           Each of these Extensions is additional insurance un-
                 higher limits are shown in the Declara-                        less otherwise indicated. The Additional Condition,
                 tions. These limits apply to any one                           Coinsurance, does not apply to these Extensions.
                 occurrence, regardless of the types or                      B. EXCLUSIONS AND LIMITATIONS
                 number of items lost or damaged in that                        See applicable Causes Of Loss Form as shown in
                 occurrence.                                                    the Declarations.
            (2) Radio and television antennas (including                     C. LIMITS OF INSURANCE
                 satellite dishes), including debris re-                        1. The most we will pay for loss or damage in any
                 moval expense, caused by or resulting                              one occurrence is the applicable Limit of Insur-
                 from any of the following causes of loss                           ance shown in the Declarations.
                 if they are Covered Causes of Loss:                            2. The most we will pay for loss or damage to out-
                 (a) Fire;                                                          door signs, whether or not the sign is attached
                 (b) Lightning;                                                     to a building, is $5,000, unless a higher limit is
                 (c) Windstorm or Hail;                                             shown in the Declarations, per sign in any one
                 (d) Ice, snow or sleet;                                            occurrence.
                 (e) Explosion;                                                 3. The amounts of insurance stated in the following
                 (f) Riot or Civil Commotion; or                                    Additional Coverages apply in accordance with


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       the terms of such coverages and are in addition                                   will pay the resulting amount or the Limit of
       to the Limit(s) of Insurance shown in the Dec-                                    Insurance, whichever is less.
       larations for any other coverage, unless other-                            2. If Paragraph 1., above does not apply:
       wise indicated:                                                               a. If the amount of loss is less than or equal to
       a. Fire Department Service Charge;                                                the Deductible, we will not pay for that loss.
       b. Pollutant Clean-up And Removal;                                            b. If the amount of loss exceeds the Deduct-
       c. Electronic Data;                                                               ible, we will then subtract the Deductible
       d. Fire Extinguisher Systems Recharge                                             from the loss and will pay the resulting
            Expense;                                                                     amount or the Limit of Insurance, whichever
       e. Arson Reward;                                                                  is less.
       f. Theft Reward; and                                                          When the occurrence involves loss to more than
       g. Rekeying of Locks.                                                         one item of Covered Property and separate
   4. Payments under the Preservation Of Property                                    Limits of Insurance apply, the losses will not be
       Additional Coverage will not increase the                                     combined in determining application of the De-
       applicable Limit of Insurance.                                                ductible. However, the Deductible will be ap-
   5. Your Business Personal Property Limit -                                        plied only once per occurrence.
       Seasonal Increase                                                          3. No Deductible applies to the following Additional
       a. Subject to Paragraph 5.b. below, the Limit                                 Coverages:
            of Insurance for Your Business Personal                                  a. Fire Department Service Charge;
            Property is automatically increased by:                                  b. Fire Extinguisher Systems Recharge Ex-
            (1) The percentage shown in the                                              pense;
                 Declarations for Your Business Personal                             c. Arson Reward;
                 Property - Seasonal Increase; or                                    d. Theft Reward; and
            (2) 25%, if no percentage is shown in the                                e. Rekeying of Locks.
                 Declarations for Your Business Personal
                 Property - Seasonal Increase                                          In the following examples, the figures used are
            to provide for seasonal variances.                                         for illustrative purposes only and do not reflect
       b. The increase described above in Paragraph                                    your actual insurance.
            5.a., will apply only if the Limit of Insurance
            shown for Your Business Personal Property                                  The following examples assume there is no
            in the Declarations is at least 100% of your                               Coinsurance penalty.
            average monthly values during the lesser of:
            (1) The 12 months immediately preceding                          EXAMPLE #1
                 the date loss or damage occurs; or                          Deductible:                                         $ 250
            (2) The period of time you have been in                          Limit of Insurance - Building #1:                   $60,000
                 business as of the date the loss or dam-                    Limit of Insurance - Building #2:                   $80,000
                 age occurs.                                                 Loss to Building #1:                                $60,100
D. DEDUCTIBLE                                                                Loss to Building #2:                                $90,000
   The applicable Deductible shown in the Declara-
   tions will apply unless otherwise stated by endorse-                      The amount of loss to Building #1 ($60,100) is less than
   ment.                                                                     the sum ($60,250) of the Limit of Insurance applicable to
                                                                             Building #1 plus the Deductible.
    In any one occurrence of loss or damage (herein-
    after referred to as loss), the Deductible will apply as                 The Deductible will be subtracted from the amount of
    follows:                                                                 loss in calculating the loss payable for Building #1:
    1. We will first reduce the amount of loss if re-
         quired by the Coinsurance Condition or the                          $60,100
         Agreed Value Optional Coverage.                                     -   250
         a. If the adjusted amount of loss is less than or                   $59,850 Loss Payable - Building #1
             equal to the Deductible, we will not pay for
             that loss.                                                      The Deductible applies once per occurrence and
         b. If the adjusted amount of loss exceeds the                       therefore is not subtracted in determining the amount of
             Deductible, we will then subtract the Deduct-                   loss payable for Building #2. Loss payable for Building
             ible from the adjusted amount of loss and                       #2 is the Limit of Insurance of $80,000.



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Total amount of loss payable:                                                          (4) Take all reasonable steps to protect the
$59,850 + $80,000 = $139,850                                                                Covered Property from further damage,
                                                                                            and keep a record of your expenses
EXAMPLE #2                                                                                  necessary to protect the Covered Prop-
The Deductible and Limits of Insurance are the same as                                      erty, for consideration in the settlement
those in Example #1.                                                                        of the claim. This will not increase the
                                                                                            Limit of Insurance. However, we will not
Loss to Building #1:                                   $70,000                              pay for any subsequent loss or damage
(Exceeds Limit of Insurance plus Deductible)                                                resulting from a cause of loss that is not
Loss to Building #2:                                   $90,000                              a Covered Cause of Loss. Also, if fea-
(Exceeds Limit of Insurance plus Deductible)                                                sible, set the damaged property aside
Loss Payable – Building #1:                            $60,000                              and in the best possible order for exam-
(Limit of Insurance)                                                                        ination.
Loss Payable - Building #2:                            $80,000                         (5) At our request, give us complete inven-
(Limit of Insurance)                                                                        tories of the damaged and undamaged
Total amount of loss payable:                        $140,000                               property. Include quantities, costs,
                                                                                            values and amount of loss claimed.
E. LOSS CONDITIONS                                                                     (6) As often as may be reasonably required,
   The following conditions apply in addition to the                                        permit us to inspect the property proving
   Common Policy Conditions and the Commercial                                              the loss or damage and examine your
   Property Conditions.                                                                     books and records.
   1. Abandonment                                                                           Also permit us to take samples of dam-
      There can be no abandonment of any property                                           aged and undamaged property for in-
      to us.                                                                                spection, testing and analysis, and
   2. Appraisal                                                                             permit us to make copies from your
      If we and you disagree on the value of the prop-                                      books and records.
      erty or the amount of loss, either may make                                      (7) Send us a signed, sworn proof of loss
      written demand for an appraisal of the loss. In                                       containing the information we request to
      this event, each party will select a competent                                        investigate the claim. You must do this
      and impartial appraiser. The two appraisers will                                      within 60 days after our request.
      select an umpire. If they cannot agree, either                                        We will supply you with the necessary
      may request that selection be made by a judge                                         forms.
      of a court having jurisdiction. The appraisers will                              (8) Cooperate with us in the investigation or
      state separately the value of the property and                                        settlement of the claim.
      amount of loss. If they fail to agree, they will                              b. We may examine any insured under oath,
      submit their differences to the umpire. A deci-                                  while not in the presence of any other in-
      sion agreed to by any two will be binding. Each                                  sured and at such times as may be reason-
      party will:                                                                      ably required, about any matter relating to
      a. Pay its chosen appraiser; and                                                 this insurance or the claim, including an
      b. Bear the other expenses of the appraisal                                      insured's books and records. In the event of
            and umpire equally.                                                        an examination, an insured's answers must
      If there is an appraisal, we will still retain our                               be signed.
      right to deny the claim.                                                   4. Loss Payment
   3. Duties In The Event Of Loss Or Damage                                         a. In the event of loss or damage covered by
      a. You must see that the following are done in                                   this Coverage Form, at our option, we will
            the event of loss or damage to Covered                                     either:
            Property:                                                                  (1) Pay the value of lost or damaged
            (1) Notify the police if a law may have been                                    property;
                broken.                                                                (2) Pay the cost of repairing or replacing the
            (2) Give us prompt notice of the loss or                                        lost or damaged property, subject to b.
                damage. Include a description of the                                        below;
                property involved.                                                     (3) Take all or any part of the property at an
            (3) As soon as possible, give us a                                              agreed or appraised value; or
                description of how, when and where the
                loss or damage occurred.


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                (4) Repair, rebuild or replace the property                                   subrogation we may have against any entity,
                     with other property of like kind and                                     including the owner or insurer of the ad-
                     quality, subject to b. below.                                            joining building, and does not alter the terms
                We will determine the value of lost or dam-                                   of the Transfer Of Rights Of Recovery
                aged property, or the cost of its repair or                                   Against Others To Us Condition in this
                replacement, in accordance with the appli-                                    policy.
                cable terms of the Valuation Condition in                            5. Recovered Property
                this Coverage Form or any applicable pro-                               If either you or we recover any property after
                vision which amends or supersedes the                                   loss settlement, that party must give the other
                Valuation Condition.                                                    prompt notice.
         b.     The cost to repair, rebuild or replace does
                not include the increased cost attributable to                            If you recover the property, at your option, you
                enforcement of any ordinance or law regu-                                 may retain the property. You must then return
                lating the construction, use or repair of any                             to us the amount we paid to you for the prop-
                property.                                                                 erty less any expenses to repair the Covered
         c.     We will give notice of our intentions within                              Property and expenses incurred to recover the
                30 days after we receive the sworn proof of                               property. You may give us the recovered prop-
                loss.                                                                     erty in which case we will pay recovery ex-
         d.     We will not pay you more than your finan-                                 penses, subject to the Limit of Insurance.
                cial interest in the Covered Property.
         e.     We may adjust losses with the owners of                                 If we recover the property, at your option, we
                lost or damaged property if other than you.                             may return the property to you. We will pay any
                If we pay the owners, such payments will                                recovery expenses, subject to the Limit of Insur-
                satisfy your claims against us for the                                  ance. We will also pay any expenses to repair
                owners’ property. We will not pay the                                   the Covered Property, subject to the Limit of In-
                owners more than their financial interest in                            surance. However, before we return the Cov-
                the Covered Property.                                                   ered Property or pay for the repair of the Cov-
         f.     We may elect to defend you against suits                                ered Property, you must first return to us the
                arising from claims of owners of property.                              amount we paid to you for the property.
                We will do this at our expense.                                      6. Vacancy
         g.     We will pay for covered loss or damage                                  a. Description Of Terms
                within 30 days after we receive the sworn                                   (1) As used in this Vacancy Condition, the
                proof of loss, if you have complied with all of                                  term building and the term vacant have
                the terms of this Coverage Part and:                                             the meanings set forth in (1)(a) and
                (1) We have reached agreement with you                                           (1)(b) below:
                     on the amount of loss; or                                                   (a) When this policy is issued to a ten-
                (2) An appraisal award has been made.                                                ant, and with respect to that tenant's
         h.     A party wall is a wall that separates and is                                         interest in Covered Property, build-
                common to adjoining buildings that are                                               ing means the unit or suite rented or
                owned by different parties. In settling cov-                                         leased to the tenant. Such building
                ered losses involving a party wall, we will                                          is vacant when it does not contain
                pay a proportion of the loss to the party wall                                       enough business personal property
                based on your interest in the wall in propor-                                        to conduct customary operations.
                tion to the interest of the owner of the ad-                                     (b) When this policy is issued to the
                joining building. However, if you elect to                                           owner or general lessee of a build-
                repair or replace your building and the                                              ing, building means the entire build-
                owner of the adjoining building elects not to                                        ing. Such building is vacant unless
                repair or replace that building, we will pay                                         at least 31% of its total square foot-
                you the full value of the loss to the party                                          age is:
                wall, subject to all applicable policy provi-                                        1) Rented to a lessee or sub-
                sions including Limits of Insurance, the Val-                                             lessee and used by the lessee
                uation and Coinsurance Conditions and all                                                 or sub-lessee to conduct its
                other provisions of this Loss Payment Con-                                                customary operations; and/or
                dition. Our payment under the provisions of                                          2) Used by the building owner to
                this paragraph does not alter any right of                                                conduct customary operations.


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            (2) Buildings under construction or renova-                                     (1) Actual cash value of the lost or dam-
                 tion are not considered vacant.                                                aged property if you make repairs
       b. Vacancy Provisions                                                                    promptly.
            If the building where loss or damage occurs                                     (2) A proportion of your original cost if you
            has been vacant for more than 60 consecu-                                           do not make repairs promptly. We will
            tive days before that loss or damage occurs:                                        determine the proportionate value as
            (1) We will not pay for any loss or damage                                          follows:
                 caused by any of the following even if                                         (a) Multiply the original cost by the
                 they are Covered Causes of Loss:                                                    number of days from the loss or
                 (a) Vandalism;                                                                      damage to the expiration of the
                 (b) Sprinkler leakage, unless you have                                              lease; and
                      protected the system against                                              (b) Divide the amount determined in (a)
                      freezing;                                                                      above by the number of days from
                 (c) Building glass breakage;                                                        the installation of improvements to
                 (d) Water damage;                                                                   the expiration of the lease.
                 (e) Theft; or                                                                  If your lease contains a renewal option,
                 (f) Attempted theft.                                                           the expiration of the renewal option
            (2) With respect to Covered Causes of Loss                                          period will replace the expiration of the
                 other than those listed in b.(1)(a)                                            lease in the procedure.
                 through b.(1)(f) above, we will reduce                                     (3) Nothing if others pay for repairs or
                 the amount we would otherwise pay for                                          replacement.
                 the loss or damage by 15%.                                     F. ADDITIONAL CONDITIONS
    7. Valuation                                                                   The following conditions apply in addition to the
       We will determine the value of Covered Property                             Common Policy Conditions and the Commercial
       in the event of loss or damage as follows:                                  Property Conditions.
       a. At actual cash value as of the time of loss or                           1. Coinsurance
            damage, except as provided in b., c., d. and                              If a Coinsurance percentage is shown in the
            e. below.                                                                 Declarations, the following condition applies:
       b. If the Limit of Insurance for Building satisfies                            a. We will not pay the full amount of any loss if
            the Additional Condition, Coinsurance, and                                      the value of Covered Property at the time of
            the cost to repair or replace the damaged                                       loss times the Coinsurance percentage
            building property is $2,500 or less, we will                                    shown for it in the Declarations is greater
            pay the cost of building repairs or                                             than the Limit of Insurance for the property.
            replacement.
                                                                                                Instead, we will determine the most we will
                The cost of building repairs or replacement                                     pay using the following steps:
                does not include the increased cost attribut-                                   (1) Multiply the value of Covered Property
                able to enforcement of any ordinance or law                                          at the time of loss by the Coinsurance
                regulating the construction, use or repair of                                        percentage;
                any property.                                                                   (2) Divide the Limit of Insurance of the
                                                                                                     property by the figure determined in
            However, the following property will be val-                                             Step (1);
            ued at the actual cash value even when                                              (3) Multiply the total amount of loss, before
            attached to the building:                                                                the application of any deductible, by the
            (1) Awnings or floor coverings;                                                          figure determined in Step (2); and
            (2) Appliances for refrigerating, ventilating,                                      (4) Subtract the deductible from the figure
                cooking, dishwashing or laundering; or                                               determined in Step (3).
            (3) Outdoor equipment or furniture.                                                 We will pay the amount determined in Step
         c. "Stock" you have sold but not delivered at                                          (4) or the Limit of Insurance, whichever is
            the selling price less discounts and ex-                                            less. For the remainder, you will either have
            penses you otherwise would have had.                                                to rely on other insurance or absorb the loss
         d. Glass at the cost of replacement with safety-                                       yourself.
            glazing material if required by law.
         e. Tenants' Improvements and Betterments at:



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In the following examples, the figures used are for                                            Building at Location #2:        $ 30,000
illustrative purposes only and do not reflect your actual                                      Personal Property at
insurance.                                                                                     Location #2:                    $ 20,000
                                                                                                                               $ 50,000
EXAMPLE #1 (UNDERINSURANCE)                                                    Step (1):   $250,000 x 90% = $225,000
When:    The value of the property is:                  $250,000                           (the minimum amount of
         The Coinsurance                                                                   insurance to meet your Co-
         percentage for it is:                              80%                            insurance requirements and
         The Limit of Insurance for it is:              $100,000                           to avoid the penalty shown below)
         The Deductible is:                             $    250               Step (2):   $180,000 ÷ $225,000 = .80
         The amount of loss is:                         $ 40,000               Step (3):   $ 50,000 x .80 = $40,000
                                                                               Step (4):   $ 40,000 - $1,000 = $39,000
Step (1):   $250,000 x 80% = $200,000                                          We will pay no more than $39,000. The remaining
            (the minimum amount of                                             $11,000 is not covered.
            insurance to meet your Co-
            insurance requirements)                                                 2. Mortgageholders
Step (2):   $100,000 ÷ $200,000 = .50                                                  a. The term mortgageholder includes trustee.
Step (3):   $ 40,000 x .50 = $20,000                                                   b. We will pay for covered loss of or damage to
Step (4):   $20,000 - $250 = $19,750                                                      buildings or structures to each mortgage-
We will pay no more than $19,750. The remaining                                           holder shown in the Declarations in their
$20,250 is not covered.                                                                   order of precedence, as interests may
                                                                                          appear.
EXAMPLE #2 (ADEQUATE INSURANCE)                                                        c. The mortgageholder has the right to receive
When:       The value of the property is:       $250,000                                  loss payment even if the mortgageholder
            The Coinsurance percentage                                                    has started foreclosure or similar action on
            for it is:                               80%                                  the building or structure.
            The Limit of Insurance for it is:   $200,000                               d. If we deny your claim because of your acts
            The Deductible is:                  $     250                                 or because you have failed to comply with
            The amount of loss is:              $ 40,000                                  the terms of this Coverage Part, the mort-
The minimum amount of insurance to meet your Coin-                                        gageholder will still have the right to receive
surance requirement is $200,000 ($250,000 x 80%).                                         loss payment if the mortgageholder:
Therefore, the Limit of Insurance in this example is                                      (1) Pays any premium due under this Cov-
adequate and no penalty applies. We will pay no more                                           erage Part at our request if you have
than $39,750 ($40,000 amount of loss minus the                                                 failed to do so;
deductible of $250).                                                                      (2) Submits a signed, sworn proof of loss
                                                                                               within 60 days after receiving notice
         b. If one Limit of Insurance applies to two or                                        from us of your failure to do so; and
            more separate items, this condition will                                      (3) Has notified us of any change in owner-
            apply to the total of all property to which the                                    ship, occupancy or substantial change
            limit applies.                                                                     in risk known to the mortgageholder.
                                                                                          All of the terms of this Coverage Part will
EXAMPLE #3                                                                                then apply directly to the mortgageholder.
When:   The value of the property is:                                                  e. If we pay the mortgageholder for any loss or
        Building at Location #1:          $ 75,000                                        damage and deny payment to you because
        Building at Location #2:          $100,000                                        of your acts or because you have failed to
        Personal Property at Location #2: $ 75,000                                        comply with the terms of this Coverage Part:
                                          $250,000                                        (1) The mortgageholder's rights under the
                                                                                               mortgage will be transferred to us to the
                The Coinsurance percentage for it is: 90%                                      extent of the amount we pay; and
                The Limit of Insurance for Buildings                                      (2) The mortgageholder's right to recover
                and Personal Property at Locations                                             the full amount of the mortgageholder's
                #1 and #2 is:                       $180,000                                   claim will not be impaired.
                The Deductible is:                  $ 1,000                               At our option, we may pay to the mortgage-
                The amount of loss is:                                                    holder the whole principal on the mortgage



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            plus any accrued interest. In this event,                                       (3) The number of days since the beginning
            your mortgage and note will be transferred                                          of the current policy year or the effective
            to us and you will pay your remaining                                               date of the most recent policy change
            mortgage debt to us.                                                                amending the Limit of Insurance, divided
        f. If we cancel this policy, we will give written                                       by 365.
            notice to the mortgageholder at least:
            (1) 10 days before the effective date of                        In the following example, the figures used are for illus-
                 cancellation if we cancel for your non-                    trative purposes only and do not reflect your actual in-
                 payment of premium; or                                     surance.
            (2) 30 days before the effective date of
                 cancellation if we cancel for any other                    EXAMPLE
                 reason.                                                    If:       The applicable Limit of
        g. If we elect not to renew this policy, we will                              Insurance is:                         $100,000
            give written notice to the mortgageholder at                              The annual percentage increase is:           8%
            least 10 days before the expiration date of                               The number of days since the
            this policy.                                                              beginning of the policy year
G. OPTIONAL COVERAGES                                                                 (or last policy change) is:                 146
   If shown as applicable in the Declarations, the                                    The amount of increase is:
   following Optional Coverages apply separately to                                   $100,000 x .08 x 146 ÷ 365 =             $3,200
   each item.                                                                   3. Replacement Cost
   1. Agreed Value                                                                 a. Replacement Cost (without deduction for
        a. The Additional Condition, Coinsurance, does                                depreciation) replaces Actual Cash Value in
            not apply to Covered Property to which this                               the Valuation Loss Condition of this
            Optional Coverage applies. We will pay no                                 Coverage Form.
            more for loss of or damage to that property                            b. This Optional Coverage does not apply to:
            than the proportion that the Limit of Insur-                              (1) Personal property of others;
            ance under this Coverage Part for the                                     (2) Contents of a residence;
            property bears to the Agreed Value shown                                  (3) Works of art, antiques or rare articles,
            for it in the Declarations.                                                    including etchings, pictures, statuary,
        b. If the expiration date for this Optional Cov-                                   marbles, bronzes, porcelains and
            erage shown in the Declarations is not ex-                                     bric-a-brac; or
            tended, the Additional Condition, Coinsur-                                (4) "Stock", unless the Including "Stock"
            ance, is reinstated and this Optional Cov-                                     option is shown in the Declarations.
            erage expires.                                                            Under the terms of this Replacement Cost
        c. The terms of this Optional Coverage apply                                  Optional Coverage, tenants' improvements
            only to loss or damage that occurs:                                       and betterments are not considered to be
            (1) On or after the effective date of this                                the personal property of others.
                 Optional Coverage; and                                            c. You may make a claim for loss or damage
            (2) Before the Agreed Value expiration date                               covered by this insurance on an actual cash
                 shown in the Declarations or the policy                              value basis instead of on a replacement cost
                 expiration date, whichever occurs first.                             basis. In the event you elect to have loss or
   2. Inflation Guard                                                                 damage settled on an actual cash value
        a. The Limit of Insurance for property to which                               basis, you may still make a claim for the
            this Optional Coverage applied will auto-                                 additional coverage this Optional Coverage
            matically increase by the annual percentage                               provides if you notify us of your intent to do
            shown in the Declarations.                                                so within 180 days after the loss or damage.
        b. The amount of increase will be:                                         d. We will not pay on a replacement cost basis
            (1) The Limit of Insurance that applied on                                for any loss or damage:
                 the most recent of the policy inception                              (1) Until the lost or damaged property is
                 date, the policy anniversary date, or any                                 actually repaired or replaced; and
                 other policy change amending the Limit                               (2) Unless the repairs or replacement are
                 of Insurance, times                                                       made as soon as reasonably possible
            (2) The percentage of annual increase                                          after the loss or damage.
                 shown in the Declarations, expressed as                              With respect to tenants' improvements and
                 a decimal (example: 8% is .08), times                                betterments, the following also apply:


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          (3) If the conditions in d.(1) and d.(2) above                               Cost Optional Coverage is deleted and all
               are not met, the value of tenants' im-                                  other provisions of the Replacement Cost
               provements and betterments will be de-                                  Optional Coverage apply to replacement
               termined as a proportion of your original                               cost on personal property of others.
               cost, as set forth in the Valuation Loss                           b. With respect to replacement cost on the
               Condition of this Coverage Form; and                                    personal property of others, the following
          (4) We will not pay for loss or damage to                                    limitation applies:
               tenants' improvements and betterments                                   If an item(s) of personal property of others is
               if others pay for repairs or replacement.                               subject to a written contract which governs
       e. We will not pay more for loss or damage on                                   your liability for loss or damage to that
          a replacement cost basis than the least of                                   item(s), then valuation of that item(s) will be
          (1), (2) or (3), subject to f. below:                                        based on the amount for which you are
          (1) The Limit of Insurance applicable to the                                 liable under such contract, but not to exceed
               lost or damaged property;                                               the lesser of the replacement cost of the
          (2) The cost to replace the lost or damaged                                  property or the applicable Limit of Insurance.
               property with other property:                                H. DEFINITIONS
               (a) Of comparable material and quality;                         1. "Electronic data" means information, facts or
                    and                                                           computer programs stored as or on, created or
               (b) Used for the same purpose; or                                  used on, or transmitted to or from computer
          (3) The amount actually spent that is nec-                              software (including systems and applications
               essary to repair or replace the lost or                            software), on hard or floppy disks, CD-ROMs,
               damaged property.                                                  tapes, drives, cells, data processing devices or
          If a building is rebuilt at a new premises, the                         any other repositories of computer software
          cost described in e.(2) above is limited to                             which are used with electronically controlled
          the cost which would have been incurred if                              equipment. The term computer programs,
          the building had been rebuilt at the original                           referred to in the foregoing description of
          premises.                                                               electronic data, means a set of related electronic
       f. The cost of repair or replacement does not                              instructions which direct the operations and
          include the increased cost attributable to                              functions of a computer or device connected to
          enforcement of any ordinance or law                                     it, which enable the computer or device to
          regulating the construction, use or repair of                           receive, process, store, retrieve or send data.
          any property.                                                        2. "Pollutants" means any solid, liquid, gaseous or
    4. Extension Of Replacement Cost To Personal                                  thermal irritant or contaminant, including smoke,
       Property Of Others                                                         vapor, soot, fumes, acids, alkalis, chemicals and
       a. If the Replacement Cost Optional Coverage                               waste. Waste includes materials to be re-
          is shown as applicable in the Declarations,                             cycled, reconditioned or reclaimed.
          then this Optional Coverage may also be                              3. "Stock" means merchandise held in storage or
          shown as applicable. If the Declarations                                for sale, raw materials and in-process or finished
          show this Optional Coverage as applicable,                              goods, including supplies used in their packing
          then Paragraph 3.b.(1) of the Replacement                               or shipping.




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                                                                                                                               64004 (12-10)


                BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
and is not covered.

Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The words
"we", "us" and "our" refer to the Company providing this insurance.

Other words and phrases that appear in quotation marks have special meaning. Refer to Section F., DEFINITIONS.

The descriptions in the headings of this Coverage Form and all applicable endorsements are solely for convenience and
form no part of the terms and conditions of coverage.

A. COVERAGE                                                                            Income Limit of Insurance is shown in the
   1. Business Income                                                                  Declarations. The loss or damage must be
      Business Income means the:                                                       caused by or result from a Covered Cause of
      a. Net Income (Net Profit or Loss before                                         Loss. With respect to loss of or damage to
         income taxes) that would have been earned                                     personal property in the open or personal
         or incurred; and                                                              property in a vehicle, the described premises
      b. Continuing normal operating expenses                                          include the area within 1,000 feet of the site at
         incurred, including payroll.                                                  which the described premises are located.

         For manufacturing risks, Net Income includes                                With respect to the requirements set forth in the
         the net sales value of production.                                          preceding paragraph, if you occupy only part of
                                                                                     the site at which the described premises are
         Coverage is provided as described and limited                               located, your premises means:
         below for one or more of the following options                                  (a) The portion of the building which you
         for which a Limit of Insurance is shown in the                                       rent, lease or occupy; and
         Declarations.                                                                   (b) Any area within the building or on the
              (1) Business Income Including "Rental                                           site at which the described premises are
                  Value".                                                                     located, if that area services, or is used
              (2) Business Income Other Than "Rental                                          to gain access to, the described
                  Value".                                                                     premises.
              (3) "Rental Value".                                                 2. Extra Expense
         If option (1) above is selected, the term                                   a. Extra Expense Coverage is provided at the
         Business Income will include "Rental Value". If                                 premises described in the Declarations only
         option (3) above is selected, the term Business                                 if the Declarations show that Business
         Income will mean "Rental Value" only.                                           Income Coverage applies at that premises.
                                                                                     b. Extra Expense means necessary expenses
         If Limits of Insurance are shown under more                                     you incur during the "period of restoration"
         than one of the above options, the provisions of                                that you would not have incurred if there had
         this Coverage Part apply separately to each.                                    been no direct physical loss or damage to
                                                                                         property caused by or resulting from a
         We will pay for the actual loss of Business                                     Covered Cause of Loss.
         Income you sustain due to the necessary
         "suspension" of your "operations" during the                                       We will pay Extra Expense (other than the
         "period of restoration". The "suspension" must                                     expense to repair or replace property) to:
         be caused by direct physical loss of or damage                                     (1) Avoid or minimize the "suspension" of
         to property at premises which are described in                                         business and to continue operations at
         the Declarations and for which a Business                                              the described premises or at



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                    replacement premises or temporary                                                more than one mile from the damaged
                    locations, including relocation expenses                                         property; and
                    and costs to equip and operate the                                         (2) The action of civil authority is taken in
                    replacement location or temporary                                                response to dangerous physical
                    location.                                                                        conditions resulting from the damage or
                (2) Minimize the "suspension" of business if                                         continuation of the Covered Cause of
                    you cannot continue "operations".                                                Loss that caused the damage, or the
                                                                                                     action is taken to enable a civil authority
             We will also pay Extra Expense to repair or                                             to have unimpeded access to the
             replace property, but only to the extent it                                             damaged property.
             reduces the amount of loss that otherwise                                         Civil Authority Coverage for Business
             would have been payable under this                                                Income will begin immediately following the
             Coverage Form.                                                                    time of the first action of civil authority that
    3. Covered Causes Of Loss, Exclusions And                                                  prohibits access to the described premises;
        Limitations                                                                            however, if a waiting period is shown in the
        See applicable Causes Of Loss Form as shown                                            Declarations, then after such period
        in the Declarations.                                                                   following the time of the first action of civil
    4. Additional Limitation - Interruption Of                                                 authority that prohibits access to the
        Computer Operations                                                                    described premises.
        a. Coverage for Business Income does not                                               Civil Authority Coverage for Business
             apply when a "suspension" of "operations" is                                      Income will apply for a period of up to four
             caused by destruction or corruption of                                            consecutive weeks from the date on which
             "electronic data", or any loss or damage to                                       such coverage began.
             "electronic data", except as provided under                                       Civil Authority Coverage for Extra Expense
             the Additional Coverage - Interruption Of                                         will begin immediately after the time of the
             Computer Operations.                                                              first action of civil authority that prohibits
        b. Coverage for Extra Expense does not apply                                           access to the described premises and will
             when action is taken to avoid or minimize a                                       end:
             "suspension" of "operations" caused by                                            (1) Four consecutive weeks after the date
             destruction or corruption of "electronic data",                                         of that action; or
             or any loss or damage to "electronic data",                                       (2) When your Civil Authority Coverage for
             except as provided under the Additional                                                 Business Income ends
             Coverage - Interruption Of Computer                                               whichever is later.
             Operations.                                                                    b. Alterations And New Buildings
     5. Additional Coverages                                                                   We will pay for the actual loss of Business
        a. Civil Authority                                                                     Income you sustain and necessary Extra
             In this Additional Coverage - Civil Authority,                                    Expense you incur due to direct physical
             the described premises are premises to                                            loss or damage at the described premises
             which this Coverage Form applies, as                                              caused by or resulting from any Covered
             shown in the Declarations.                                                        Cause of Loss to:
                                                                                               (1) New buildings or structures, whether
                When a Covered Cause of Loss causes                                                  complete or under construction;
                damage to property other than property at                                      (2) Alterations or additions to existing
                the described premises, we will pay for the                                          buildings or structures; and
                actual loss of Business Income you sustain                                     (3) Machinery, equipment, supplies or
                and necessary Extra Expense caused by                                                building materials located on or within
                action of civil authority that prohibits access                                      1,000 feet of the described premises
                to the described premises, provided that                                             and:
                both of the following apply:                                                         (a) Used in the construction, alterations
                (1) Access to the area immediately                                                        or additions; or
                     surrounding the damaged property is                                             (b) Incidental to the occupancy of new
                     prohibited by civil authority as a result of                                         buildings.
                     the damage, and the described                                             If such direct physical loss or damage
                     premises are within that area but are not                                 delays the start of "operations", the "period



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            of restoration" for Business Income                                                               "Rental Value" that would have
            Coverage will begin on the date "operations"                                                      existed if no direct physical loss
            would have begun if the direct physical loss                                                      or damage had occurred; or
            or damage had not occurred.                                                                   2) 30 consecutive days after the
         c. Extended Business Income                                                                          date determined in (2)(a) above.
            (1) Business Income Other Than "Rental                                                    However, Extended Business Income
                 Value"                                                                               does not apply to loss of "Rental Value"
                 If the necessary "suspension" of your                                                incurred as a result of unfavorable
                 "operations" produces a Business                                                     business conditions caused by the
                 Income loss payable under this policy,                                               impact of the Covered Cause of Loss in
                 we will pay for the actual loss of                                                   the area where the described premises
                 Business Income you incur during the                                                 are located.
                 period that:
                 (a) Begins on the date property (except                                          Loss of "Rental Value" must be caused
                      "finished stock") is actually repaired,                                     by direct physical loss or damage at the
                      rebuilt or replaced and "operations"                                        described premises caused by or
                      are resumed; and                                                            resulting from any Covered Cause of
                 (b) Ends on the earlier of:                                                      Loss.
                      1) The date you could restore your                                   d. Interruption Of Computer Operations
                           "operations", with reasonable                                      (1) Subject to all provisions of this
                           speed, to the level which would                                        Additional Coverage, you may extend
                           generate the business income                                           the insurance that applies to Business
                           amount that would have existed                                         Income and Extra Expense to apply to
                           if no direct physical loss or                                          a "suspension" of "operations" caused
                           damage had occurred; or                                                by an interruption in computer
                      2) 30 consecutive days after the                                            operations due to destruction or
                           date determined in (1)(a) above.                                       corruption of "electronic data" due to a
                 However, Extended Business Income                                                Covered Cause of Loss.
                 does not apply to loss of Business                                           (2) With respect to the coverage provided
                 Income incurred as a result of                                                   under this Additional Coverage, the
                 unfavorable business conditions caused                                           Covered Causes of Loss are subject to
                 by the impact of the Covered Cause of                                            the following:
                 Loss in the area where the described                                             (a) If the Causes Of Loss - Special
                 premises are located.                                                                 Form applies, coverage under this
                                                                                                       Additional Coverage - Interruption
                    Loss of Business Income must be                                                    Of Computer Operations is limited
                    caused by direct physical loss or                                                  to the "specified causes of loss" as
                    damage at the described premises                                                   defined in that form, and Collapse
                    caused by or resulting from any                                                    as set forth in that form.
                    Covered Cause of Loss.                                                        (b) If the Causes Of Loss - Broad Form
                (2) "Rental Value"                                                                     applies, coverage under this
                    If the necessary "suspension" of your                                              Additional Coverage - Interruption
                    "operations" produces a "Rental Value"                                             Of Computer Operations includes
                    loss payable under this policy, we will                                            Collapse as set forth in that form.
                    pay for the actual loss of "Rental Value"                                     (c) If the Causes Of Loss Form is
                    you incur during the period that:                                                  endorsed to add a Covered Cause
                    (a) Begins on the date property is                                                 of Loss, the additional Covered
                         actually repaired, rebuilt or replaced                                        Cause of Loss does not apply to the
                         and tenantability is restored; and                                            coverage provided under this
                    (b) Ends on the earlier of:                                                        Additional Coverage - Interruption
                         1) The date you could restore                                                 Of Computer Operations.
                             tenant occupancy, with                                               (d) The Covered Causes of Loss
                             reasonable speed, to the level                                            include a computer virus, harmful
                             which would generate the                                                  code or similar instruction



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                         introduced into or enacted on a                                       incurred in the policy year in which the
                         computer system (including                                            interruption began.
                         "electronic data") or a network to                               (4) This Additional Coverage - Interruption
                         which it is connected, designed to                                    Of Computer Operations does not apply
                         damage or destroy any part of the                                     to loss sustained or expense incurred
                         system or disrupt its normal                                          after the end of the "period of
                         operation. However, there is no                                       restoration", even if the amount of
                         coverage for an interruption related                                  insurance stated in (3) above has not
                         to manipulation of a computer                                         been exhausted.
                         system (including "electronic data")                     6. Coverage Extension
                         by any employee, including a                                If a Coinsurance percentage of 50% or more is
                         temporary or leased employee, or                            shown in the Declarations, you may extend the
                         by an entity retained by you or for                         insurance provided by this Coverage Part as
                         you to inspect, design, install,                            follows:
                         maintain, repair or replace that                            NEWLY ACQUIRED LOCATIONS
                         system.                                                     a. You may extend your Business Income and
                (3) The most we will pay under this                                       Extra Expense Coverages to apply to
                    Additional Coverage - Interruption Of                                 property at any location you acquire other
                    Computer Operations for all loss                                      than fairs or exhibitions, if the location you
                    sustained and expense incurred in any                                 acquire is intended for:
                    one policy year, regardless of the                                    (1) Similar use as the location described in
                    number of interruptions or the number of                                   the Declarations; or
                    premises, locations or computer                                       (2) Use as a warehouse.
                    systems involved is $10,000, unless a                            b. The most we will pay under this Extension,
                    higher limit is shown in the Declarations,                            for the sum of Business Income loss and
                    subject to the following:                                             Extra Expense incurred, is $100,000 at each
                    (a) If at the time of interruption, the                               location.
                         computer system is equipped with                            c. Insurance under this Extension for each
                         active virus scanning or anti-virus                              newly acquired location will end when any of
                         software, this entire amount is                                  the following first occurs:
                         available.                                                       (1) This policy expires;
                    (b) If at the time of interruption, the                               (2) 60 days expire after you acquire or
                         computer system is not equipped                                       begin to construct the property; or
                         with active virus scanning or                                    (3) You report values to us.
                         anti-virus software, payment will be                             We will charge you additional premium for
                         limited to $2,500 for that                                       values reported from the date you acquire
                         occurrence.                                                      the property.
                    If loss payment relating to the first                            The Additional Condition, Coinsurance, does not
                    interruption does not exhaust this                               apply to this Extension.
                    amount, then the balance is available for                  B. LIMITS OF INSURANCE
                    loss or expense sustained or incurred as                      1. The most we will pay for loss in any one
                    a result of subsequent interruptions in                          occurrence is the applicable Limit of Insurance
                    that policy year. A balance remaining at                         shown in the Declarations.
                    the end of a policy year does not                             2. Payments under the following coverages will not
                    increase the amount of insurance in the                          increase the applicable Limit of Insurance:
                    next policy year. With respect to any                            a. Alterations And New Buildings;
                    interruption which begins in one policy                          b. Civil Authority;
                    year and continues or results in                                 c. Extra Expense; or
                    additional loss or expense in a                                  d. Extended Business Income.
                    subsequent policy year(s), all loss and                       3. The amounts of insurance stated in the following
                    expense is deemed to be sustained or                             apply in accordance with the terms of those




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      coverages and are separate from the Limit(s) of                                          Covered Cause of Loss. Also, if
      Insurance shown in the Declarations for any                                              feasible, set the damaged property
      other coverage:                                                                          aside and in the best possible order for
      a. Interruption Of Computer Operations                                                   examination.
            Additional Coverage; and                                                       (5) As often as may be reasonably
      b. Newly Acquired Locations Coverage                                                     required, permit us to inspect the
            Extension.                                                                         property proving the loss or damage
C. LOSS CONDITIONS                                                                             and examine your books and records.
   The following conditions apply in addition to the
   Common Policy Conditions and the Commercial                                              Also permit us to take samples of
   Property Conditions.                                                                     damaged and undamaged property for
   1. Appraisal                                                                             inspection, testing and analysis, and
      If we and you disagree on the amount of Net                                           permit us to make copies from your
      Income and operating expense or the amount of                                         books and records.
      loss, either may make written demand for an                                      (6) Send us a signed, sworn proof of loss
      appraisal of the loss. In this event, each party                                      containing the information we request
      will select a competent and impartial appraiser.                                      to investigate the claim. You must do
                                                                                            this within 60 days after our request.
       The two appraisers will select an umpire. If they                                    We will supply you with the necessary
       cannot agree, either may request that selection                                      forms.
       be made by a judge of a court having                                            (7) Cooperate with us in the investigation or
       jurisdiction. The appraisers will state separately                                   settlement of the claim.
       the amount of Net Income and operating                                          (8) If you intend to continue your business,
       expense or amount of loss. If they fail to agree,                                    you must resume all or part of your
       they will submit their differences to the umpire.                                    "operations" as quickly as possible.
       A decision agreed to by any two will be binding.                             b. We may examine any insured under oath,
       Each party will:                                                                while not in the presence of any other
       a. Pay its chosen appraiser; and                                                insured and at such times as may be
       b. Bear the other expenses of the appraisal                                     reasonably required, about any matter
            and umpire equally.                                                        relating to this insurance or the claim,
       If there is an appraisal, we will still retain our                              including an insured's books and records.
       right to deny the claim.                                                        In the event of an examination, an insured's
    2. Duties In The Event Of Loss                                                     answers must be signed.
       a. You must see that the following are done in                            3. Loss Determination
            the event of loss:                                                      a. The amount of Business Income loss will be
            (1) Notify the police if a law may have been                               determined based on:
                 broken.                                                               (1) The Net Income of the business before
            (2) Give us prompt notice of the direct                                         the direct physical loss or damage
                 physical loss or damage. Include a                                         occurred;
                 description of the property involved.                                 (2) The likely Net Income of the business if
            (3) As soon as possible, give us a descrip-                                     no physical loss or damage had
                 tion of how, when, and where the direct                                    occurred, but not including any Net
                 physical loss or damage occurred.                                          Income that would likely have been
            (4) Take all reasonable steps to protect the                                    earned as a result of an increase in the
                 Covered Property from further damage,                                      volume of business due to favorable
                 and keep a record of your expenses                                         business conditions caused by the
                 necessary to protect the Covered                                           impact of the Covered Cause of Loss
                 Property, for consideration in the                                         on customers or on other businesses;
                 settlement of the claim. This will not                                (3) The operating expenses, including
                 increase the Limit of Insurance.                                           payroll expenses, necessary to resume
                 However, we will not pay for any                                           "operations" with the same quality of
                 subsequent loss or damage resulting                                        service that existed just before the direct
                 from a cause of loss that is not a                                         physical loss or damage; and




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           (4) Other relevant sources of information,                               b. An appraisal award has been made.
               including:                                                   D. ADDITIONAL CONDITION
               (a) Your financial records and                                  COINSURANCE
                    accounting procedures;                                     If a Coinsurance percentage is shown in the
               (b) Bills, invoices and other vouchers;                         Declarations, the following condition applies in
                    and                                                        addition to the Common Policy Conditions and the
               (c) Deeds, liens or contracts.                                  Commercial Property Conditions.
       b. The amount of Extra Expense will be
           determined based on:                                                  We will not pay the full amount of any Business
           (1) All expenses that exceed the normal                               Income loss if the Limit of Insurance for Business
               operating expenses that would have                                Income is less than:
               been incurred by "operations" during the                          1. The Coinsurance percentage shown for
               "period of restoration" if no direct                                  Business Income in the Declarations; times
               physical loss or damage had occurred.                             2. The sum of:
               We will deduct from the total of such                                 a. The Net Income (Net Profit or Loss before
               expenses:                                                                  income taxes), and
               (a) The salvage value that remains of                                 b. Operating expenses, including payroll
                    any property bought for temporary                                     expenses
                    use during the "period of                                        that would have been earned or incurred (had
                    restoration" once "operations" are                               no loss occurred) by your "operations" at the
                    resumed; and                                                     described premises for the 12 months following
               (b) Any Extra Expense that is paid for                                the inception, or last previous anniversary date,
                    by other insurance, except for                                   of this policy (whichever is later).
                    insurance that is written subject to
                    the same plan, terms, conditions                                  Instead, we will determine the most we will pay
                    and provisions as this insurance;                                 using the following steps:
                    and
           (2) Necessary expenses that reduce the                                     Step(1):Multiply the Net Income and operating
               Business Income loss that otherwise                                            expense for the 12 months following the
               would have been incurred.                                                      inception, or last previous anniversary
       c. Resumption Of Operations                                                            date, of this policy by the Coinsurance
           We will reduce the amount of your:                                                 percentage;
           (1) Business Income loss, other than Extra                                 Step(2):Divide the Limit of Insurance for the
               Expense, to the extent you can resume                                          described premises by the figure
               your "operations", in whole or in part, by                                     determined in Step (1); and
               using damaged or undamaged property                                    Step(3):Multiply the total amount of loss by the
               (including merchandise or stock) at the                                        figure determined in Step (2).
               described premises or elsewhere.
           (2) Extra Expense loss to the extent you                                   We will pay the amount determined in Step (3)
               can return "operations" to normal and                                  or the limit of insurance, whichever is less. For
               discontinue such Extra Expense.                                        the remainder, you will either have to rely on
       d. If you do not resume "operations", or do not                                other insurance or absorb the loss yourself.
           resume "operations" as quickly as possible,
           we will pay based on the length of time it                                 In determining operating expenses for the
           would have taken to resume "operations"                                    purpose of applying the Coinsurance condition,
           as quickly as possible.                                                    the following expenses, if applicable, shall be
    4. Loss Payment                                                                   deducted from the total of all operating
       We will pay for covered loss within 30 days after                              expenses:
       we receive the sworn proof of loss, if you have                                    (1) Prepaid freight - outgoing;
       compiled with all of the terms of this Coverage                                    (2) Returns and allowances;
       Part and;                                                                          (3) Discounts;
       a. We have reached agreement with you on                                           (4) Bad debts;
           the amount of loss; or                                                         (5) Collection expenses;




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              (6) Cost of raw stock and factory supplies                     Therefore, the Limit of Insurance in this example is
                   consumed (including transportation                        adequate and no penalty applies. We will pay no more
                   charges);                                                 than $80,000 (amount of loss).
              (7) Cost of merchandise sold (including
                   transportation charges);                                  This condition does not apply to Extra Expense
              (8) Cost of other supplies consumed                            Coverage.
                   (including transportation charges);                       E. OPTIONAL COVERAGES
              (9) Cost of services purchased from                                 If shown as applicable in the Declarations, the
                   outsiders (not employees) to resell, that                      following Optional Coverages apply separately to
                   do not continue under contract;                                each item.
              (10)Power, heat and refrigeration expenses                          1. Maximum Period Of Indemnity
                   that do not continue under contract (if                              a. The Additional Condition, Coinsurance, does
                   Form CP 15 11 is attached);                                             not apply to this Coverage Form at the
              (11)All ordinary payroll expenses or the                                     described premises to which this Optional
                   amount of payroll expense excluded (if                                  Coverage applies.
                   Form CP 15 10 is attached); and                                      b. The most we will pay for the total of
              (12)Special deductions for mining properties                                 Business Income loss and Extra Expense is
                   (royalties unless specifically included in                              the lesser of:
                   coverage; actual depletion commonly                                     (1) The amount of loss sustained and
                   known as unit or cost depletion - not                                         expenses incurred during the 120 days
                   percentage depletion; welfare and                                             immediately following the beginning of
                   retirement fund charges based on                                              the "period of restoration"; or
                   tonnage; hired trucks).                                                 (2) The Limit of Insurance shown in the
In the following examples, the figures used are for                                              Declarations.
illustrative purposes only and do not reflect your actual                         2. Monthly Limit Of Indemnity
insurance.                                                                              a. The Additional Condition, Coinsurance, does
EXAMPLE #1 (UNDERINSURANCE)                                                                not apply to this Coverage Form at the
When:         The Net Income and operating                                                 described premises to which this Optional
              expenses for the 12 months                                                   Coverage applies.
              following the inception, or last                                          b. The most we will pay for loss of Business
              previous anniversary date, of                                                Income in each period of 30 consecutive
              this policy at the described                                                 days after the beginning of the "period of
              premises would have been:              $400,000                              restoration" is:
              The Coinsurance percentage is:             50%                               (1) The Limit of Insurance, multiplied by
              The Limit of Insurance is:             $150,000                              (2) The fraction shown in the Declarations
              The amount of loss is:                 $ 80,000                                    for this Optional Coverage.
Step (1):     $400,000 x 50% = $200,000                                      In the following example, the figures used are for
              (the minimum amount of                                         illustrative purposes only and do not reflect your actual
              insurance to meet your Co-                                     insurance.
              insurance requirements)                                        EXAMPLE
Step (2):     $150,000 ÷ $200,000 = .75                                      When:         The Limit of Insurance is:            $120,000
Step (3):     $ 80,000 x .75 = $60,000                                                     The fraction shown in the
We will pay no more than $60,000. The remaining                                            Declarations for this Optional
$20,000 is not covered.                                                                    Coverage is:                               1/4
EXAMPLE #2 (ADEQUATE INSURANCE)                                                            The most we will pay for loss in
When:         The Net Income and operating                                                 each period of 30 consecutive
              expenses for the 12 months                                                   days is:                              $ 30,000
              following the inception, or last                                             ($120,000 x 1/4 = $30,000)
              previous anniversary date, of                                                If, in this example, the actual
              this policy at the described                                                 amount of loss is:
              premises would have been:              $400,000                              Days 1-30:                            $ 40,000
              The Coinsurance percentage is:             50%                               Days 31-60:                           $ 20,000
              The Limit of Insurance is:             $200,000                              Days 61-90:                           $ 30,000
              The amount of loss is:                 $ 80,000                                                                    $ 90,000
The minimum amount of insurance to meet your
Coinsurance requirement is $200,000 ($400,000 x 50%).
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                We will pay:                                                  EXAMPLE
                Days 1-30:                           $ 30,000                 When:        The Limit of Insurance is:        $ 100,000
                Days 31-60:                          $ 20,000                              The Agreed Value is:              $ 200,000
                Days 61-90:                          $ 30,000                              The amount of loss is:            $ 80,000
                                                     $ 80,000                 Step (1):    $100,000 ÷ $200,000 = .50
              The remaining $10,000 is not covered.                           Step (2):     .50 x $80,000 = $40,000
     3. Business Income Agreed Value                                          We will pay $40,000. The remaining $40,000 is not
           a. To activate this Optional Coverage:                             covered.
              (1) A Business Income Report/Work Sheet                             4. Extended Period Of Indemnity
                   must be submitted to us and must show                              Under Paragraph A.5.c., Extended Business
                   financial data for your "operations":                              Income, the number 30 in Subparagraphs (1)(b)
                   (a) During the 12 months prior to the                              and (2)(b) is replaced by the number shown in
                        date of the Work Sheet; and                                   the Declarations for this Optional Coverage.
                   (b) Estimated for the 12 months                            F. DEFINITIONS
                        immediately following the inception                       1. "Electronic data" means information, facts or
                        of this Optional Coverage.                                    computer programs stored as or on, created or
               (2) The Declarations must indicate that the                            used on, or transmitted to or from computer
                   Business Income Agreed Value Optional                              software (including systems and applications
                   Coverage applies, and an Agreed Value                              software), on hard or floppy disks, CD-ROMs,
                   must be shown in the Declarations. The                             tapes, drives, cells, data processing devices or
                   Agreed Value should be at least equal                              any other repositories of computer software
                   to:                                                                which are used with electronically controlled
                   (a) The Coinsurance percentage shown                               equipment. The term computer programs,
                        in the Declarations; multiplied by                            referred to in the foregoing description of
                   (b) The amount of Net Income and                                   electronic data, means a set of related electronic
                        operating expenses for the following                          instructions which direct the operations and
                        12 months you report on the Work                              functions of a computer or device connected to
                        Sheet.                                                        it, which enable the computer or device to
           b. The Additional Condition, Coinsurance, is                               receive, process, store, retrieve or send data.
              suspended until:                                                    2. "Finished stock" means stock you have
              (1) 12 months after the effective date of this                          manufactured.
                   Optional Coverage; or
              (2) The expiration date of this policy                                     "Finished stock" also includes whiskey and
              whichever occurs first.                                                    alcoholic products being aged, unless there is a
           c. We will reinstate the Additional Condition,                                Coinsurance percentage shown for Business
              Coinsurance, automatically if you do not                                   Income in the Declarations.
              submit a new Work Sheet and Agreed
              Value:                                                                   "Finished stock" does not include stock you
              (1) Within 12 months of the effective date of                            have manufactured that is held for sale on the
                   this Optional Coverage; or                                          premises of any retail outlet insured under this
              (2) When you request a change in your                                    Coverage Part.
                   Business Income Limit of Insurance.                              3. "Operations" means:
           d. If the Business Income Limit of Insurance is                             a. Your business activities occurring at the
              less than the Agreed Value, we will not pay                                  described premises; and
              more of any loss than the amount of loss                                 b. The tenantability of the described premises,
              multiplied by:                                                               if coverage for Business Income Including
              (1) The Business Income Limit of                                             "Rental Value" or "Rental Value" applies.
                   Insurance; divided by                                            4. "Period of restoration" means period of time
              (2) The Agreed Value.                                                    that:
In the following example, the figures used are for                                     a. Begins:
illustrative purposes only and do not reflect your actual                                  (1) Immediately following the time of direct
insurance.                                                                                      physical loss or damage; however, if a




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                  waiting period is shown in the                                   5. "Pollutants" means any solid, liquid, gaseous or
                  Declarations, then after such period                                thermal irritant or contaminant, including smoke,
                  following the time of direct physical loss                          vapor, soot, fumes, acids, alkalis, chemicals and
                  or damage for Business Income                                       waste. Waste includes materials to be recycled,
                  Coverage; or                                                        reconditioned or reclaimed.
             (2) Immediately following the time of direct                          6. "Rental Value" means Business Income that
                  physical loss or damage for Extra                                   consists of:
                  Expense Coverage                                                    a. Net Income (Net Profit or Loss before
             caused by or resulting from any Covered                                      income taxes) that would have been earned
             Cause of Loss at the described premises;                                     or incurred as rental income from tenant
             and                                                                          occupancy of the premises described in the
         b. Ends on the earlier of:                                                       Declarations as furnished and equipped by
             (1) The date when the property at the                                        you, including fair rental value of any
                  described premises should be repaired,                                  portion of the described premises which is
                  rebuilt or replaced with reasonable                                     occupied by you; and
                  speed and similar quality; or                                       b. Continuing normal operating expenses
             (2) The date when business is resumed at                                     incurred in connection with that premises,
                  a new permanent location.                                               including:
         "Period of restoration" does not mean any                                        (1) Payroll; and
         increased period required due to the                                             (2) The amount of charges which are the
         enforcement of any ordinance or law that:                                             legal obligation of the tenant(s) but
         (1) Regulates the construction, use or repair, or                                     would otherwise be your obligations.
             requires the tearing down, of any property;                           7. "Suspension" means:
             or                                                                       a. The slowdown or cessation of your business
         (2) Requires any insured or others to test for,                                  activities; or
             monitor, clean up, remove, contain, treat,                               b. That a part or all of the described premises
             detoxify or neutralize, or in any way respond                                is rendered untenantable, if coverage for
             to, or assess the effects of "pollutants".                                   Business Income Including "Rental Value"
         The expiration date of this policy will not shorten                              or "Rental Value" applies.
         or cause the "period of restoration" to terminate.



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                                    CAUSES OF LOSS - SPECIAL FORM

Words and phrases that appear in quotation marks have special meaning. Refer to DEFINITIONS in the Commercial
Property Coverage Part.

A. COVERED CAUSES OF LOSS                                                                       of foundations or other parts of realty.
   When Special is shown in the Declarations, Covered                                           Soil conditions include contraction, ex-
   Causes of Loss means Risks Of Direct Physical                                                pansion, freezing, thawing, erosion, im-
   Loss unless the loss is:                                                                     properly compacted soil and the action
   1. Excluded in Section B., Exclusions; or                                                    of water under the ground surface.
   2. Limited in Section C., Limitations                                                   However, if Earth Movement, as described
   that follow.                                                                            in b.(1) through (4) above, results in fire or
B. EXCLUSIONS                                                                              explosion, we will pay for the loss or dam-
   1. We will not pay for loss or damage caused di-                                        age caused by that fire or explosion.
       rectly or indirectly by any of the following. Such                                  (5) Volcanic eruption, explosion or effusion.
       loss or damage is excluded regardless of any                                             However, if volcanic eruption, explosion
       other cause or event that contributes concur-                                            or effusion results in fire, building glass
       rently or in any sequence to the loss.                                                   breakage or Volcanic Action, we will pay
       a. Ordinance Or Law                                                                      for the loss or damage caused by that
             The enforcement of any ordinance or law:                                           fire, building glass breakage or Volcanic
             (1) Regulating the construction, use or re-                                        Action.
                 pair of any property; or                                                       Volcanic Action means direct loss or
             (2) Requiring the tearing down of any prop-                                        damage resulting from the eruption of a
                 erty, including the cost of removing its                                       volcano when the loss or damage is
                 debris.                                                                        caused by:
             This exclusion, Ordinance Or Law, applies                                          (a) Airborne volcanic blast or airborne
             whether the loss results from:                                                           shock waves;
                 (a) An ordinance or law that is enforced                                       (b) Ash, dust or particulate matter; or
                      even if the property has not been                                         (c) Lava flow.
                      damaged; or                                                               All volcanic eruptions that occur within
                 (b) The increased costs incurred to                                            any 168-hour period will constitute a
                      comply with an ordinance or law in                                        single occurrence.
                      the course of construction, repair,                                       Volcanic Action does not include the
                      renovation, remodeling or demolition                                      cost to remove ash, dust or particulate
                      of property, or removal of its debris,                                    matter that does not cause direct phys-
                      following a physical loss to that                                         ical loss or damage to the described
                      property.                                                                 property.
       b. Earth Movement                                                                c. Governmental Action
             (1) Earthquake, including any earth sinking,                                  Seizure or destruction of property by order
                 earth rising or earth shifting related to                                 of governmental authority.
                 such event;                                                               However, we will pay for loss or damage
             (2) Landslide, including any earth sinking,                                   caused by or resulting from acts of destruc-
                 earth rising or earth shifting related to                                 tion ordered by governmental authority and
                 such event;                                                               taken at the time of a fire to prevent its
             (3) Mine subsidence, meaning subsidence                                       spread, if the fire would be covered under
                 of a man-made mine, whether or not                                        this Coverage Part.
                 mining activity has ceased;                                            d. Nuclear Hazard
             (4) Earth sinking (other than sinkhole col-                                   Nuclear reaction or radiation, or radioactive
                 lapse), earth rising or earth shifting in-                                contamination, however caused.
                 cluding soil conditions which cause set-                                  However, if nuclear reaction or radiation, or
                 tling, cracking or other disarrangement                                   radioactive contamination, results in fire, we


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            will pay for the loss or damage caused by                                          (a) Foundations, walls, floors or paved
            that fire.                                                                              surfaces;
         e. Utility Services                                                                   (b) Basements, whether paved or not;
            The failure of power, communication, water                                              or
            or other utility service supplied to the des-                                      (c) Doors, windows or other openings;
            cribed premises, however caused, if the                                                 or
            failure:                                                                      (5) Waterborne material carried or other-
            (1) Originates away from the described pre-                                        wise moved by any of the water referred
                  mises; or                                                                    to in Paragraph (1), (3) or (4), or mate-
            (2) Originates at the described premises,                                          rial carried or otherwise moved by mud-
                  but only if such failure involves equip-                                     slide or mudflow.
                  ment used to supply the utility service to                              This exclusion applies regardless of whether
                  the described premises from a source                                    any of the above, in Paragraphs g.(1)
                  away from the described premises.                                       through (5) is caused by an act of nature or
            Failure of any utility service includes lack of                               is otherwise caused.
            sufficient capacity and reduction in supply.                                  However, if any of the above in Paragraphs
            Loss or damage caused by a surge of power                                     g.(1) through (5), results in fire, explosion or
            is also excluded, if the surge would not have                                 sprinkler leakage, we will pay for the loss or
            occurred but for an event causing a failure                                   damage caused by that fire, explosion or
            of power.                                                                     sprinkler leakage.
            However, if the failure or surge of power, or                            h. "Fungi", Wet Rot Or Dry Rot
            the failure of communication, water or other                                  Presence, growth, proliferation, spread or
            utility service, results in a Covered Cause of                                any activity of "fungi", wet rot or dry rot.
            Loss, we will pay for the loss or damage                                      However, if "fungi", wet rot or dry rot results
            caused by that Covered Cause of Loss.                                         in a "specified cause of loss", we will pay for
            Communication services include but are not                                    the loss or damage caused by that "speci-
            limited to service relating to Internet access                                fied cause of loss".
            or access to any electronic, cellular or satel-                               This exclusion does not apply:
            lite network.                                                                 1. When "fungi", wet rot or dry rot results
         f. War And Military Action                                                            from fire or lightning; or
            (1) War, including undeclared or civil war;                                   2. To the extent that coverage is provided
            (2) Warlike action by a military force, includ-                                    in the Additional Coverage - Limited
                  ing action in hindering or defending                                         Coverage For "Fungi", Wet Rot Or Dry
                  against an actual or expected attack, by                                     Rot with respect to loss or damage by a
                  any government, sovereign or other                                           cause of loss other than fire or lightning.
                  authority using military personnel or                              i. Virus Or Bacteria
                  other agents; or                                                        We will not pay for loss or damage caused
            (3) Insurrection, rebellion, revolution,                                      by or resulting from virus, bacterium or other
                  usurped power, or action taken by gov-                                  microorganism that induces or is capable of
                  ernmental authority in hindering or de-                                 inducing physical distress, illness or dis-
                  fending against any of these.                                           ease.
         g. Water                                                                         With respect to any loss or damage subject
            (1) Flood, surface water, waves (including                                    to this exclusion, such exclusion supersedes
                  tidal wave and tsunami), tides, tidal                                   any exclusion relating to "pollutants".
                  water, overflow of any body of water, or                           Exclusions B.1.a. through B.1.i. apply whether
                  spray from any of these, all whether or                            or not the loss event results in widespread dam-
                  not driven by wind (including storm                                age or affects a substantial area.
                  surge);                                                         2. We will not pay for loss or damage caused by
            (2) Mudslide or mudflow;                                                 or resulting from any of the following:
            (3) Water that backs up or overflows or is                               a. Artificially generated electrical, magnetic or
                  otherwise discharged from a sewer,                                      electromagnetic energy that damages, dis-
                  drain, sump, sump pump or related                                       turbs, disrupts or otherwise interferes with
                  equipment;                                                              any:
            (4) Water under the ground surface press-                                     (1) Electrical or electronic wire, device, ap-
                  ing on, or flowing or seeping through:                                       pliance, system or network; or


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                (2) Device, appliance, system or network                                       in the flues or passages through which the
                     utilizing cellular or satellite technology.                               gases of combustion pass.
                For the purpose of this exclusion, electrical,                              f. Continuous or repeated seepage or leakage
                magnetic or electromagnetic energy in-                                         of water, or the presence or condensation of
                cludes but is not limited to:                                                  humidity, moisture or vapor, that occurs
                     (a) Electrical current, including arcing;                                 over a period of 14 days or more.
                     (b) Electrical charge produced or con-                                 g. Water, other liquids, powder or molten mate-
                           ducted by a magnetic or electro-                                    rial that leaks or flows from plumbing, heat-
                           magnetic field;                                                     ing, air conditioning or other equipment (ex-
                     (c) Pulse of electromagnetic energy; or                                   cept fire protective systems) caused by or
                     (d) Electromagnetic waves or micro-                                       resulting from freezing, unless:
                           waves.                                                              (1) You do your best to maintain heat in the
                However, if fire results, we will pay for the                                        building or structure; or
                loss or damage caused by that fire.                                            (2) You drain the equipment and shut off
         b.     Delay, loss of use or loss of market.                                                the supply if the heat is not maintained.
         c.     Smoke, vapor or gas from agricultural                                       h. Dishonest or criminal act by you, any of your
                smudging or industrial operations.                                             partners, members, officers, managers,
         d.     (1) Wear and tear;                                                             employees (including leased employees),
                (2) Rust or other corrosion, decay, deteri-                                    directors, trustees, authorized representa-
                     oration, hidden or latent defect or any                                   tives or anyone to whom you entrust the
                     quality in property that causes it to dam-                                property for any purpose:
                     age or destroy itself;                                                    (1) Acting alone or in collusion with others;
                (3) Smog;                                                                            or
                (4) Settling, cracking, shrinking or expan-                                    (2) Whether or not occurring during the
                     sion;                                                                           hours of employment.
                (5) Insects, birds, rodents or other animals;                                  This exclusion does not apply to acts of de-
                (6) Mechanical breakdown, including rup-                                       struction by your employees (including
                     ture or bursting caused by centrifugal                                    leased employees); but theft by employees
                     force. However, if mechanical break-                                      (including leased employees) is not covered.
                     down results in elevator collision, we will                            i. Voluntary parting with any property by you
                     pay for the loss or damage caused by                                      or anyone else to whom you have entrusted
                     that elevator collision; or                                               the property if induced to do so by any frau-
                (7) The following causes of loss to personal                                   dulent scheme, trick, device or false pre-
                     property:                                                                 tense.
                     (a) Dampness or dryness of atmos-                                      j. Rain, snow, ice or sleet to personal property
                           phere;                                                              in the open.
                     (b) Changes in or extremes of temper-                                  k. Collapse, including any of the following con-
                           ature; or                                                           ditions of property or any part of the prop-
                     (c) Marring or scratching.                                                erty:
                However, if an excluded cause of loss that is                                  (1) An abrupt falling down or caving in;
                listed in 2.d.(1) through (7) results in a                                     (2) Loss of structural integrity, including
                "specified cause of loss" or building glass                                          separation of parts of the property or
                breakage, we will pay for the loss or dam-                                           property in danger of falling down or
                age caused by that "specified cause of loss"                                         caving in; or
                or building glass breakage.                                                    (3) Any cracking, bulging, sagging, bending,
         e.     Explosion of steam boilers, steam pipes,                                             leaning, settling, shrinkage or expansion
                steam engines or steam turbines owned or                                             as such condition relates to (1) or (2)
                leased by you, or operated under your con-                                           above.
                trol. However, if explosion of steam boilers,                                  However, if collapse results in a Covered
                steam pipes, steam engines or steam tur-                                       Cause of Loss at the described premises,
                bines results in fire or combustion explosion,                                 we will pay for the loss or damage caused
                we will pay for the loss or damage caused                                      by that Covered Cause of Loss.
                by that fire or combustion explosion. We will                                  This exclusion, k., does not apply:
                also pay for loss or damage caused by or                                             (a) To the extent that coverage is pro-
                resulting from the explosion of gases or fuel                                            vided under the Additional Coverage
                within the furnace of any fired vessel or with-                                          - Collapse; or

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                  (b) To collapse caused by one or more                                    Coverage Form, Business Income (With-
                       of the following:                                                   out Extra Expense) Coverage Form, Or
                       1) The "specified causes of loss";                                  Extra Expense Coverage Form
                       2) Breakage of building glass;                                      We will not pay for:
                       3) Weight of rain that collects on a                                (1) Any loss caused by or resulting from:
                            roof; or                                                           (a) Damage or destruction of "finished
                       4) Weight of people or personal                                              stock"; or
                            property.                                                          (b) The time required to reproduce "fin-
       l. Discharge, dispersal, seepage, migration,                                                 ished stock".
             release or escape of "pollutants" unless the                                      This exclusion does not apply to Extra
             discharge, dispersal, seepage, migration,                                         Expense.
             release or escape is itself caused by any of                                  (2) Any loss caused by or resulting from di-
             the "specified causes of loss". However, if                                       rect physical loss or damage to radio or
             the discharge, dispersal, seepage, migra-                                         television antennas (including satellite
             tion, release or escape of "pollutants" results                                   dishes) and their lead-in wiring, masts or
             in a "specified cause of loss", we will pay for                                   towers.
             the loss or damage caused by that "speci-                                     (3) Any increase of loss caused by or re-
             fied cause of loss".                                                              sulting from:
             This exclusion, I., does not apply to damage                                      (a) Delay in rebuilding, repairing or re-
             to glass caused by chemicals applied to the                                            placing the property or resuming
             glass.                                                                                 "operations", due to interference at
       m. Neglect of an insured to use all reasonable                                               the location of the rebuilding, repair
             means to save and preserve property from                                               or replacement by strikers or other
             further damage at and after the time of loss.                                          persons; or
    3. We will not pay for loss or damage caused by or                                         (b) Suspension, lapse or cancellation of
       resulting from any of the following, 3.a. through                                            any license, lease or contract. How-
       3.c. However, if an excluded cause of loss that                                              ever, if the suspension, lapse or
       is listed in 3.a. through 3.c. results in a Covered                                          cancellation is directly caused by
       Cause of Loss, we will pay for the loss or dam-                                              the "suspension" of "operations", we
       age caused by that Covered Cause of Loss.                                                    will cover such loss that affects your
       a. Weather conditions. However, this exclu-                                                  Business Income during the "period
             sion only applies if weather conditions con-                                           of restoration" and any extension of
             tribute in any way with a cause or event ex-                                           the "period of restoration" in accor-
             cluded in Paragraph 1. above to produce the                                            dance with the terms of the Ex-
             loss or damage.                                                                        tended Business Income Additional
       b. Acts or decisions, including the failure to act                                           Coverage and the Extended Period
             or decide, of any person, group, organiza-                                             Of Indemnity Optional Coverage or
             tion or governmental body.                                                             any variation of these.
       c. Faulty, inadequate or defective:                                                 (4) Any Extra Expense caused by or re-
             (1) Planning, zoning, development, survey-                                        sulting from suspension, lapse or can-
                  ing, siting;                                                                 cellation of any license, lease or con-
             (2) Design, specifications, workmanship,                                          tract beyond the "period of restoration".
                  repair, construction, renovation, re-                                    (5) Any Extra Expense caused by or result-
                  modeling, grading, compaction;                                               ing from any delay in rebuilding, repair-
             (3) Materials used in repair, construction,                                       ing or replacing the property or resum-
                  renovation or remodeling; or                                                 ing "operations" due to an insufficiency
             (4) Maintenance                                                                   of or failure to maintain adequate Limits
             of part or all of any property on or off the                                      of Insurance for Building or Business
             described premises.                                                               Personal Property.
    4. Special Exclusions                                                                  (6) Any other consequential loss.
       The following provisions apply only to the speci-                                b. Leasehold Interest Coverage Form
       fied Coverage Forms.                                                                (1) Paragraph B.1.a., Ordinance Or Law,
        a. Business Income (And Extra Expense)                                                 does not apply to insurance under this
             Coverage Form, Business Income (And                                               Coverage Form.
             Extra Expense) Actual Loss Sustained                                          (2) We will not pay for any loss caused by:


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                (a) Your canceling the lease;                                      clusion applies to any effect that compromises
                (b) The suspension, lapse or cancella-                             the form, substance or quality of the product.
                      tion of any license; or                                      However, if such error or omission results in a
                (c) Any other consequential loss.                                  Covered Cause of Loss, we will pay for the loss
       c. Legal Liability Coverage Form                                            or damage caused by that Covered Cause of
            (1) The following exclusions do not apply to                           Loss.
                insurance under this Coverage Form:                          C. LIMITATIONS
                (a) Paragraph B.1.a., Ordinance Or                              The following limitations apply to all policy forms and
                      Law;                                                      endorsements, unless otherwise stated.
                (b) Paragraph B.1.c., Governmental                              1. We will not pay for loss of or damage to prop-
                      Action;                                                      erty, as described and limited in this section. In
                (c) Paragraph B.1.d., Nuclear Hazard;                              addition, we will not pay for any loss that is a
                (d) Paragraph B.1.e., Utility Services;                            consequence of loss or damage as described
                      and                                                          and limited in this section.
                (e) Paragraph B.1.f., War And Military                             a. Steam boilers, steam pipes, steam engines
                      Action.                                                            or steam turbines caused by or resulting
            (2) The following additional exclusions apply                                from any condition or event inside such
                to insurance under this Coverage Form:                                   equipment. However, we will pay for loss of
                (a) Contractual Liability                                                or damage to such equipment caused by or
                      We will not defend any claim or                                    resulting from an explosion of gases or fuel
                      "suit", or pay damages that you are                                within the furnace of any fired vessel or
                      legally liable to pay, solely by rea-                              within the flues or passages through which
                      son of your assumption of liability in                             the gases of combustion pass.
                      a contract or agreement. However,                            b. Hot water boilers or other water heating
                      this exclusion does not apply to a                                 equipment caused by or resulting from any
                      written lease agreement in which                                   condition or event inside such boilers or
                      you have assumed liability for build-                              equipment, other than an explosion.
                      ing damage resulting from an actual                          c. The interior of any building or structure, or to
                      or attempted burglary or robbery,                                  personal property in the building or struc-
                      provided that:                                                     ture, caused by or resulting from rain, snow,
                      1) Your assumption of liability was                                sleet, ice, sand or dust, whether driven by
                           executed prior to the accident;                               wind or not, unless:
                           and                                                           (1) The building or structure first sustains
                      2) The building is Covered Prop-                                        damage by a Covered Cause of Loss to
                           erty under this Coverage Form.                                     its roof or walls through which the rain,
                (b) Nuclear Hazard                                                            snow, sleet, ice, sand or dust enters; or
                      We will not defend any claim or                                    (2) The loss or damage is caused by or re-
                      "suit", or pay any damages, loss,                                       sults from thawing of snow, sleet or ice
                      expense or obligation, resulting from                                   on the building or structure.
                      nuclear reaction or radiation, or                            d. Building materials and supplies not attached
                      radioactive contamination, however                                 as part of the building or structure, caused
                      caused.                                                            by or resulting from theft.
    5. Additional Exclusion                                                              However, this limitation does not apply to:
       The following provisions apply only to the speci-                                 (1) Building materials and supplies held for
       fied property.                                                                         sale by you, unless they are insured
       LOSS OR DAMAGE TO PRODUCTS                                                             under the Builders Risk Coverage Form;
       We will not pay for loss or damage to any mer-                                         or
       chandise, goods or other product caused by or                                     (2) Business Income Coverage or Extra Ex-
       resulting from error or omission by any person                                         pense Coverage.
       or entity (including those having possession                                e. Property that is missing, where the only evi-
       under an arrangement where work or a portion                                      dence of the loss or damage is a shortage
       of the work is outsourced) in any stage of the                                    disclosed on taking inventory, or other in-
       development, production or use of the product,                                    stances where there is no physical evidence
       including planning, testing, processing, packag-                                  to show what happened to the property.
       ing, installation, maintenance or repair. This ex-


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         f. Property that has been transferred to a per-                            a. Results in discharge of any substance from
            son or to a place outside the described                                      an automatic fire protection system; or
            premises on the basis of unauthorized in-                               b. Is directly caused by freezing.
            structions.                                                             However, this limitation does not apply to Busi-
    2. We will not pay for loss of or damage to the fol-                            ness Income Coverage or to Extra Expense
       lowing types of property unless caused by the                                Coverage.
       "specified causes of loss" or building glass                          D. ADDITIONAL COVERAGE - COLLAPSE
       breakage:                                                                The coverage provided under this Additional Cov-
       a. Animals, and then only if they are killed or                          erage - Collapse applies only to an abrupt collapse
            their destruction is made necessary.                                as described and limited in D.1. through D.7.
       b. Fragile articles such as statuary, marbles,                           1. For the purpose of this Additional Coverage -
            chinaware and porcelains, if broken. This                               Collapse, abrupt collapse means an abrupt fall-
            restriction does not apply to:                                          ing down or caving in of a building or any part of
            (1) Glass; or                                                           a building with the result that the building or part
            (2) Containers of property held for sale.                               of the building cannot be occupied for its in-
       c. Builders' machinery, tools and equipment                                  tended purpose.
            owned by you or entrusted to you, provided                          2. We will pay for direct physical loss or damage to
            such property is Covered Property.                                      Covered Property, caused by abrupt collapse of
            However, this limitation does not apply:                                a building or any part of a building that is insured
            (1) If the property is located on or within                             under this Coverage Form or that contains Cov-
                 1,000 feet of the described premises,                              ered Property insured under this Coverage
                 unless the premises is insured under the                           Form, if such collapse is caused by one or more
                 Builders Risk Coverage Form; or                                    of the following:
            (2) To Business Income Coverage or to Ex-                               a. Building decay that is hidden from view, un-
                 tra Expense Coverage.                                                   less the presence of such decay is known to
    3. The special limit shown for each category, a.                                     an insured prior to collapse;
       through d., is the total limit for loss of or damage                         b. Insect or vermin damage that is hidden from
       to all property in that category. The special limit                               view, unless the presence of such damage
       applies to any one occurrence of theft, regard-                                   is known to an insured prior to collapse;
       less of the types or number of articles that are                             c. Use of defective material or methods in con-
       lost or damaged in that occurrence. The special                                   struction, remodeling or renovation if the
       limits are:                                                                       abrupt collapse occurs during the course of
       a. $2,500 for furs, fur garments and garments                                     the construction, remodeling or renovation.
            trimmed with fur.                                                       d. Use of defective material or methods in con-
       b. $5,000 for jewelry, watches, watch move-                                       struction, remodeling or renovation if the
            ments, jewels, pearls, precious and semi-                                    abrupt collapse occurs after the construc-
            precious stones, bullion, gold, silver, plati-                               tion, remodeling or renovation is complete,
            num and other precious alloys or metals.                                     but only if the collapse is caused in part by:
            This limit does not apply to jewelry and                                     (1) A cause of loss listed in 2.a. or 2.b.;
            watches worth $500 or less per item.                                         (2) One or more of the "specified causes of
       c. $2,500 for patterns, dies, molds and forms.                                         loss";
       d. $500 for stamps, tickets, including lottery                                    (3) Breakage of building glass;
            tickets held for sale, and letters of credit.                                (4) Weight of people or personal property;
       These special limits are part of, not in addition                                      or
       to, the Limit of Insurance applicable to the Cov-                                 (5) Weight of rain that collects on a roof.
       ered Property.                                                           3. This Additional Coverage - Collapse does not
       This limitation, C.3., does not apply to Business                            apply to:
       Income Coverage or to Extra Expense Cover-                                   a. A building or any part of a building that is in
       age.                                                                              danger of falling down or caving in;
    4. We will not pay the cost to repair any defect to a                           b. A part of a building that is standing, even if it
       system or appliance from which water, other                                       has separated from another part of the
       liquid, powder or molten material escapes.                                        building; or
       However, we will pay the cost to repair or re-                                c. A building that is standing or any part of a
       place damaged parts of fire-extinguishing equip-                                  building that is standing, even if it shows
       ment if the damage:                                                               evidence of cracking, bulging, sagging,


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           bending, leaning, settling, shrinkage or ex-                         1. The coverage described in E.2. and E.6. only
           pansion.                                                                applies when the "fungi", wet rot or dry rot is the
   4. With respect to the following property:                                      result of a "specified cause of loss" other than
      a. Outdoor radio or television antennas (in-                                 fire or lightning that occurs during the policy
           cluding satellite dishes) and their lead-in                             term and only if all reasonable means were used
           wiring, masts or towers;                                                to save and preserve the property from further
      b. Awnings, gutters and downspouts;                                          damage at the time of and after that occurrence.
      c. Yard fixtures;                                                         2. We will pay for loss or damage by "fungi", wet
      d. Outdoor swimming pools;                                                   rot or dry rot. As used in this Limited Coverage,
      e. Fences;                                                                   the term loss or damage means:
      f. Piers, wharves and docks;                                                 a. Direct physical loss or damage to Covered
      g. Beach or diving platforms or appurtenances;                                    Property caused by "fungi", wet rot or dry
      h. Retaining walls; and                                                           rot, including the cost of removal of the
      i. Walks, roadways and other paved surfaces                                       "fungi", wet rot or dry rot;
      if an abrupt collapse is caused by a cause of                                b. The cost to tear out and replace any part of
      loss listed in 2.a. through 2.d., we will pay for                                 the building or other property as needed to
      loss or damage to that property only if:                                          gain access to the "fungi", wet rot or dry rot;
      (1) Such loss or damage is a direct result of the                                 and
           abrupt collapse of a building insured under                             c. The cost of testing performed after removal,
           this Coverage Form; and                                                      repair, replacement or restoration of the
      (2) The property is Covered Property under this                                   damaged property is completed, provided
           Coverage Form.                                                               there is a reason to believe that "fungi", wet
   5. If personal property abruptly falls down or caves                                 rot or dry rot are present.
      in and such collapse is not the result of abrupt                          3. The coverage described under E.2. of this Lim-
      collapse of a building, we will pay for loss or                              ited Coverage is limited to 10% of the building or
      damage to Covered Property caused by such                                    personal property limit of insurance, whichever
      collapse of personal property only if:                                       is greater, subject to a maximum of $100,000
      a. The collapse of personal property was                                     and a minimum of $15,000. Regardless of the
           caused by a cause of loss listed in 2.a.                                number of claims, this limit is the most we will
           through 2.d.;                                                           pay for the total of all loss or damage arising out
      b. The personal property which collapses is                                  of all occurrences of "specified causes of loss"
           inside a building; and                                                  (other than fire or lightning) which take place in a
      c. The property which collapses is not of a kind                             12-month period (starting with the beginning of
           listed in 4., regardless of whether that kind                           the present annual policy term). With respect to
           of property is considered to be personal                                a particular occurrence of loss which results in
           property or real property.                                              "fungi", wet rot or dry rot, we will not pay more
      The coverage stated in this Paragraph 5. does                                than this limit even if the "fungi", wet rot or dry
      not apply to personal property if marring and/or                             rot continues to be present or active, or recurs,
      scratching is the only damage to that personal                               in a later policy term.
      property caused by the collapse.                                          4. The coverage provided under this Limited Cov-
   6. This Additional Coverage - Collapse does not                                 erage does not increase the applicable Limit of
      apply to personal property that has not abruptly                             Insurance on any Covered Property. If a par-
      fallen down or caved in, even if the personal                                ticular occurrence results in loss or damage by
      property shows evidence of cracking, bulging,                                "fungi", wet rot or dry rot, and other loss or dam-
      sagging, bending, leaning, settling, shrinkage or                            age, we will not pay more, for the total of all loss
      expansion.                                                                   or damage, than the applicable Limit of Insur-
   7. This Additional Coverage - Collapse will not in-                             ance on the affected Covered Property.
      crease the Limits of Insurance provided in this                              If there is covered loss or damage to Covered
      Coverage Part.                                                               Property, not caused by "fungi", wet rot or dry
   8. The term Covered Cause of Loss includes the                                  rot, loss payment will not be limited by the terms
      Additional Coverage - Collapse as described                                  of this Limited Coverage, except to the extent
      and limited in D.1. through D.7.                                             that "fungi", wet rot or dry rot causes an in-
E. ADDITIONAL COVERAGE - LIMITED COVERAGE                                          crease in the loss. Any such increase in the
   FOR "FUNGI", WET ROT OR DRY ROT                                                 loss will be subject to the terms of this Limited
                                                                                   Coverage.


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   5. The terms of this Limited Coverage do not in-                                      (3) Theft of an entire bale, case or package
      crease or reduce the coverage provided under                                            by forced entry into a securely locked
      Paragraph F.2. (Water Damage, Other Liquids,                                            body or compartment of the vehicle.
      Powder Or Molten Material Damage) of this                                               There must be visible marks of the
      Causes Of Loss Form or under the Additional                                             forced entry.
      Coverage - Collapse.                                                         c. The most we will pay for loss or damage
   6. The following, 6.a. or 6.b., applies only if Busi-                                 under this Extension is $5,000, unless a
      ness Income and/or Extra Expense Coverage                                          higher limit is shown in the Declarations.
      applies to the described premises and only if the                            This Coverage Extension is additional insurance.
      "suspension" of "operations" satisfies all terms                             The Additional Condition, Coinsurance, does not
      and conditions of the applicable Business In-                                apply to this Extension.
      come and/or Extra Expense Coverage Form.                                 2. Water Damage, Other Liquids, Powder Or
      a. If the loss which resulted in "fungi", wet rot                            Molten Material Damage
          or dry rot does not in itself necessitate a                              If loss or damage caused by or resulting from
          "suspension" of "operations", but such "sus-                             covered water or other liquid, powder or molten
          pension" is necessary due to loss or dam-                                material occurs, we will also pay the cost to tear
          age to property caused by "fungi", wet rot or                            out and replace any part of the building or struc-
          dry rot, then our payment under Business                                 ture to repair damage to the system or appliance
          Income and/or Extra Expense is limited to                                from which the water or other substance es-
          the amount of loss and/or expense sus-                                   capes. This Coverage Extension does not in-
          tained in a period of not more than 45 days.                             crease the Limit of Insurance.
          The days need not be consecutive.                                     3. Glass
      b. If a covered "suspension" of "operations"                                 a. We will pay for expenses incurred to put up
          was caused by loss or damage other than                                        temporary plates or board up openings if
          "fungi", wet rot or dry rot but remediation of                                 repair or replacement of damaged glass is
          "fungi", wet rot or dry rot prolongs the "pe-                                  delayed.
          riod of restoration", we will pay for loss                               b. We will pay for expenses incurred to remove
          and/or expense sustained during the delay                                      or replace obstructions when repairing or re-
          (regardless of when such a delay occurs                                        placing glass that is part of a building. This
          during the "period of restoration"), however,                                  does not include removing or replacing win-
          such coverage is limited to 45 days. The                                       dow displays.
          days need not be consecutive.                                            This Coverage Extension, F.3., does not in-
F. ADDITIONAL COVERAGE EXTENSIONS                                                  crease the Limit of Insurance.
   1. Property In Transit                                                   G. DEFINITIONS
      This Extension applies only to your personal                             1. "Fungi" means any type or form of fungus, in-
      property to which this form applies.                                         cluding, but not limited to, any mold, mildew,
      a. You may extend the insurance provided by                                  mycotoxins, spores, scents or by-products pro-
          this Coverage Part to apply to your personal                             duced or released by any type or form of fungus.
          property (other than property in the care,                           2. "Specified causes of loss" means the following:
          custody or control of your salespersons) in                              fire; lightning; explosion; windstorm or hail;
          transit more than 1,000 feet from the de-                                smoke; aircraft or vehicles; riot or civil commo-
          scribed premises. Property must be in or on                              tion; vandalism; leakage from fire-extinguishing
          a motor vehicle you own, lease or operate                                equipment; sinkhole collapse; volcanic action;
          while between points in the coverage terri-                              falling objects; weight of snow, ice or sleet;
          tory.                                                                    water damage.
      b. Loss or damage must be caused by or result                                a. Sinkhole collapse means the sudden sinking
          from one of the following causes of loss:                                      or collapse of land into underground empty
          (1) Fire, lightning, explosion, windstorm or                                   spaces created by the action of water on
               hail, riot or civil commotion, or vandal-                                 limestone or dolomite. This cause of loss
               ism.                                                                      does not include:
          (2) Vehicle collision, upset or overturn. Col-                                 (1) The cost of filling sinkholes; or
               lision means accidental contact of your                                   (2) Sinking or collapse of land into man-
               vehicle with another vehicle or object. It                                     made underground cavities.
               does not mean your vehicle's contact                                b. Falling objects does not include loss or dam-
               with the roadbed.                                                         age to:


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            (1) Personal property in the open; or                                            result of the breaking apart or cracking of a
            (2) The interior of a building or structure, or                                  plumbing, heating, air conditioning or other
                 property inside a building or structure,                                    system or appliance (other than a sump
                 unless the roof or an outside wall of the                                   system including its related equipment and
                 building or structure is first damaged by                                   parts), that is located on the described
                 a falling object.                                                           premises and contains water or steam.
         c. Water damage means accidental discharge
            or leakage of water or steam as the direct


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                                                                                                            64020 (12-10)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                        ORDINANCE OR LAW COVERAGE
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CAUSES OF LOSS - SPECIAL FORM
CAUSES OF LOSS - BROAD FORM
CAUSES OF LOSS - BASIC FORM

A. Each Coverage - Coverage A, Coverage B, Cover-                   However, coverage under this endorsement applies
   age C and Coverage D - of Section E. Coverages                   only in response to the minimum requirements of the
   below, is provided under this endorsement only if a              ordinance or law. Losses and costs incurred in com-
   Limit of Insurance for that Coverage(s) is shown in              plying with recommended actions or standards that
   the Declarations and then only with respect to the               exceed actual requirements are not covered under
   building identified for that Coverage(s) in the Decla-           this endorsement.
   rations.                                                         2. a. The building sustains direct physical dam-
B. The following provisions do not apply to the extent                        age that is covered under this policy and
   that they conflict with the coverage provided by this                      such damage results in enforcement of the
   endorsement only:                                                          ordinance or law; or
   1. BUILDING AND PERSONAL PROPERTY COV-                                b. The building sustains both direct physical
        ERAGE FORM:                                                           damage that is covered under this policy
        a. E. LOSS CONDITIONS:                                                and direct physical damage that is not cov-
               (1) 4. Loss Payment, b.; and                                   ered under this policy, and the building dam-
               (2) 7. Valuation, b., second paragraph;                        age in its entirety results in enforcement of
                    and                                                       the ordinance or law.
        b. G. OPTIONAL COVERAGES, 3. Replace-                            c. However, if the building sustains direct
            ment Cost, f.                                                     physical damage that is not covered under
   2. CONDOMINIUM ASSOCIATION COVERAGE                                        this policy, and such damage is the subject
        FORM:                                                                 of the ordinance or law, then there is no
        a. E. LOSS CONDITIONS:                                                coverage under this endorsement even if
               (1) 4. Loss Payment, b.; and                                   the building has also sustained covered
               (2) 8. Valuation, b., second paragraph;                        direct physical damage.
                    and                                             3. In the situation described in C.2.b. above, we
        b. G. OPTIONAL COVERAGES, 3. Replace-                            will not pay the full amount of loss otherwise
            ment Cost, f.                                                payable under the terms of Coverages A, B, C
   3. Section B. EXCLUSIONS, 1.a. of CAUSES OF                           and/or D of this endorsement. Instead, we will
        LOSS - SPECIAL, BROAD and BASIC FORMS.                           pay a proportion of such loss, meaning the pro-
C. Application Of Coverage(s)                                            portion that the covered direct physical damage
   The Coverage(s) provided by this endorsement ap-                      bears to the total direct physical damage.
   ply only if both C.1. and C.2. are satisfied and are                  However, if the covered direct physical damage,
   then subject to the qualifications set forth in C.3.                  alone, would have resulted in enforcement of the
   1. The ordinance or law:                                              ordinance or law, then we will pay the full
        a. Regulates the demolition, construction or                     amount of loss otherwise payable under the
            repair of buildings, or establishes zoning or                terms of Coverages A, B, C and/or D of this
            land use requirements at the described                       endorsement.
            premises; and                                        D. We will not pay under Coverage A, B, C or D of this
        b. Is in force at the time of loss.                         endorsement for:


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   1. Enforcement of any ordinance or law which re-                         However:
      quires the demolition, repair, replacement, re-                       (1) This coverage applies only if the re-
      construction, remodeling or remediation of prop-                           stored or remodeled property is in-
      erty due to contamination by "pollutants" or due                           tended for similar occupancy as the cur-
      to the presence, growth, proliferation, spread or                          rent property, unless such occupancy is
      any activity of "fungi", wet rot or dry rot; or                            not permitted by zoning or land use ordi-
   2. The costs associated with the enforcement of                               nance or law.
      any ordinance or law which requires any insured                       (2) We will not pay for the increased cost of
      or others to test for, monitor, clean up, remove,                          construction if the building is not re-
      contain, treat, detoxify or neutralize, or in any                          paired, reconstructed or remodeled.
      way respond to, or assess the effects of "pollu-                      The Coinsurance Additional Condition does
      tants", "fungi", wet rot or dry rot.                                  not apply to Increased Cost of Construction
E. Coverages                                                                Coverage.
   1. Coverage A - Coverage For Loss To The Un-                        b. When a building is damaged or destroyed
      damaged Portion Of The Building                                       and Coverage C applies to that building in
      With respect to a covered building that has sus-                      accordance with 3.a. above, coverage for
      tained covered direct physical damage, we will                        the increased cost of construction also ap-
      pay under Coverage A for the loss in value of                         plies to repair or reconstruction of the fol-
      the undamaged portion of the building as a con-                       lowing, subject to the same conditions
      sequence of enforcement of an ordinance or law                        stated in 3.a.:
      that requires demolition of undamaged parts of                        (1) The cost of excavations, grading, back-
      the same building.                                                         filling and filling;
      Coverage A is included within the Limit of Insur-                     (2) Foundation of the building;
      ance shown in the Declarations as applicable to                       (3) Pilings; and
      the covered building. Coverage A does not in-                         (4) Underground pipes, flues and drains.
      crease the Limit of Insurance.                                        The items listed in b.(1) through b.(4) above
      The Coinsurance Additional Condition does not                         are deleted from Property Not Covered, but
      apply to the undamaged portion of the building                        only with respect to the coverage described
      when the Limit of Insurance shown in the Decla-                       in this Provision, 3.b.
      rations for Coverage A is less than the appli-                4. Coverage D - Tenant's Improvements and
      cable building Limit of Insurance shown in the                   Betterments
      Declarations.                                                    With respect to your use interest as tenant in
   2. Coverage B - Demolition Cost Coverage                            improvements and betterments that have sus-
      With respect to a covered building that has sus-                 tained covered direct physical damage, we will
      tained covered direct physical damage, we will                   pay the increased cost to repair or reconstruct
      pay the cost to demolish and clear the site of                   damaged portions of those improvements and
      undamaged parts of the same building, as a                       betterments when the increased cost is a con-
      consequence of enforcement of an ordinance or                    sequence of enforcement of the minimum re-
      law that requires Demolition of such undamaged                   quirements of the ordinance or law.
      property.                                                        The Coinsurance Additional Condition does not
      The Coinsurance Additional Condition does not                    apply to Tenant's Improvements and Better-
      apply to Demolition Cost Coverage.                               ments.
   3. Coverage C - Increased Cost Of Construction                F. Loss Payment
      Coverage                                                      1. All following loss payment Provisions, F.2.
      a. With respect to a covered building that has                   through F.5., are subject to the apportionment
           sustained covered direct physical damage,                   procedures set forth in Section C.3. of this en-
           we will pay the increased cost to:                          dorsement.
           (1) Repair or reconstruct damaged portions               2. When there is a loss in value of an undamaged
               of that building; and/or                                portion of a building to which Coverage A ap-
           (2) Reconstruct or remodel undamaged                        plies, the loss payment for that building, includ-
               portions of that building, whether or not               ing damaged and undamaged portions, will be
               demolition is required                                  determined as follows:
           when the increased cost is a consequence                    a. If the Replacement Cost Coverage Option
           of enforcement of the minimum require-                           applies and the property is being repaired or
           ments of the ordinance or law.                                   replaced, on the same or another premises,
                                                                            we will not pay more than the lesser of:

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           (1) The amount you would actually spend to                       (1) The increased cost of construction at
               repair, rebuild or reconstruct the build-                          the new premises; or
               ing, but not for more than the amount it                     (2) The applicable Limit of Insurance shown
               would cost to restore the building on the                          for Coverage C in the Declarations.
               same premises and to the same height,               5. Loss payment under Coverage D - Tenant's
               floor area, style and comparable quality                Improvements and Betterments will be deter-
               of the original property insured; or                    mined as follows:
           (2) The Limit of Insurance for Coverage A                   a. We will not pay under Coverage D:
               shown in the Declarations as applicable                      (1) Until the property is actually repaired or
               to the covered building.                                           replaced, at the same or another prem-
      b. If the Replacement Cost Coverage Option                                  ises; and
           applies and the property is not repaired or                      (2) Unless the repairs or replacement are
           replaced, or if the Replacement Cost Cover-                            made as soon as reasonably possible
           age Option does not apply, we will not pay                             after the loss or damage, not to exceed
           more than the lesser of:                                               two years. We may extend this period
           (1) The actual cash value of the building at                           in writing during the two years.
               the time of loss; or                                    b. If the improvements and betterments are
           (2) The Limit of Insurance for Coverage A                        repaired or replaced at the same premises,
               shown in the Declarations as applicable                      or if you elect to rebuild the improvements
               to the covered building.                                     and betterments at another premises, the
   3. Loss payment under Coverage B - Demolition                            most we will pay under Coverage D is the
      Cost Coverage will be determined as follows:                          lesser of:
      We will not pay more than the lesser of the                           (1) The increased cost of construction at
      following:                                                                  the same premises; or
      a. The amount you actually spend to demolish                          (2) The applicable Limit of Insurance shown
           and clear the site of the described premises;                          for Coverage D in the Declarations.
           or                                                          c. If the ordinance or law requires relocation to
      b. The applicable Limit of Insurance shown for                        another premises, the most we will pay
           Coverage B in the Declarations.                                  under Coverage D is the lesser of:
   4. Loss payment under Coverage C - Increased                             (1) The increased cost of construction at
      Cost of Construction Coverage will be deter-                                the new premises; or
      mined as follows:                                                     (2) The applicable Limit of Insurance shown
      a. We will not pay under Coverage C:                                        for Coverage D in the Declarations.
           (1) Until the property is actually repaired or       G. The terms of this endorsement apply separately to
               replaced, at the same or another prem-              each building to which this endorsement applies.
               ises; and                                        H. Under this endorsement we will not pay for loss due
           (2) Unless the repairs or replacement are               to any ordinance or law that:
               made as soon as reasonably possible                 1. You were required to comply with before the
               after the loss or damage, not to exceed                 loss, even if the building was undamaged; and
               two years. We may extend this period                2. You failed to comply with.
               in writing during the two years.                 I. The following definition is added:
      b. If the building is repaired or replaced at the            "Fungi" means any type or form of fungus, including
           same premises, or if you elect to rebuild at            but not limited to, mold, mildew, mycotoxins, spores,
           another premises, the most we will pay                  scents or by-products produced or released by any
           under Coverage C is the lesser of:                      type or form of fungus.
           (1) The increased cost of construction at
               the same premises; or                            All other policy terms and conditions apply.
           (2) The applicable Limit of Insurance shown
               for Coverage C in the Declarations.
      c. If the ordinance or law requires relocation to
           another premises, the most we will pay
           under Coverage C is the lesser of:




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                                                                                                             64285 (7-17)


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                   ARKANSAS CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART

A. 1. Subject to Paragraph A.2. below, the Appraisal                     appraisers cannot agree upon the umpire, we or
      Condition is deleted and replaced by the follow-                   you can request the selection be made by a
      ing condition.                                                     judge of a court having jurisdiction.
      APPRAISAL                                                          The appraisers will appraise the loss, stating
      If we and you disagree on the value of the prop-                   separately the amount of Net Income and oper-
      erty or the amount of loss, either party may                       ating expense or amount of loss. If they fail to
      make a written request for an appraisal of the                     agree, they will submit their differences to the
      loss. However, an appraisal will be made only if                   umpire. An appraisal decision will not be binding
      both we and you agree, voluntarily, to have the                    on either party.
      loss appraised. If so agreed, each party will se-                  Each party will:
      lect a competent and impartial appraiser. The                      a. Pay its chosen appraiser; and
      two appraisers will select a competent and im-                     b. Equally pay the umpire and all other
      partial umpire. If the appraisers cannot agree                         expenses of the appraisal.
      upon the umpire, we or you can request the se-                     We will still retain our right to deny the claim.
      lection be made by a judge of a court having
      jurisdiction.                                              B. LEGAL ACTION AGAINST US is amended. The 2
      The appraisers will appraise the loss, stating                year limitation is changed to 5 years.
      separately the value of the property and amount
      of loss. If they fail to agree, they will submit           C. 1. Subject to C.2. below, TRANSFER OF RIGHTS
      their differences to the umpire. An appraisal de-                OF RECOVERY AGAINST OTHERS TO US is
      cision will not be binding on either party.                      amended. The following provision is added.
      Each party will:                                                 We will be entitled to recovery only after the in-
      a. Pay its chosen appraiser; and                                 sured has been fully compensated for the loss
      b. Equally pay the umpire and all other                          or damage sustained.
           expenses of the appraisal.                               2. TRANSFER OF RIGHTS OF RECOVERY
      We will still retain our right to deny the claim.                AGAINST OTHERS TO US in the Legal Liability
   2. The Appraisal Condition in the Business Income                   Coverage Form and the Mortgageholders Errors
      (And Extra Expense) Coverage Form, Business                      and Omissions Coverage Form is amended.
      Income (Without Extra Expense) Coverage                          The following provision is added.
      Form and Business Income (And Extra Ex-                          We will be entitled to recovery only after the in-
      pense) Actual Loss Sustained Coverage Form is                    sured has been fully compensated for the loss
      deleted and replaced by the following condition.                 or damage sustained, including expenses incur-
      If we and you disagree on the amount of Net In-                  red in obtaining full compensation for the loss or
      come and operating expense or the amount of                      damage.
      loss, either party may make a written request for
      an appraisal of the loss. However, an appraisal            D. In accordance with ARK. CODE ANN. § 23-88-106,
      will be made only if both we and you agree, vol-              we are providing notice of the following:
      untarily, to have the loss appraised. If so                   Unless otherwise provided by this policy, we may
      agreed, each party will select a competent and                deduct expense depreciation. Expense depreciation
      impartial appraiser. The two appraisers will se-              is defined as depreciation, including but not limited
      lect a competent and impartial umpire. If the                 to the cost of goods, materials, labor and services



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   necessary to replace, repair or rebuild damaged                   explanation as to how the expense depreciation was
   property.                                                         calculated.
   If expense depreciation is applied to a loss for dam-
   aged property, the insurer shall provide a written            All other policy terms and conditions apply.



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                                                                                                          CP 00 90 07 88


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                 COMMERCIAL PROPERTY CONDITIONS
This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss Conditions
and Additional Conditions in Commercial Property Coverage Forms.


A. CONCEALMENT, MISREPRESENTATION OR                                 2. The action is brought within 2 years after the
   FRAUD                                                                date on which the direct physical loss or dam-
                                                                        age occurred.
   This Coverage Part is void in any case of fraud by
   you as it relates to this Coverage Part at any time. It       E. LIBERALIZATION
   is also void if you or any other insured, at any time,
   intentionally conceal or misrepresent a material fact             If we adopt any revision that would broaden the cov-
   concerning:                                                       erage under this Coverage Part without additional
                                                                     premium within 45 days prior to or during the policy
   1. This Coverage Part;                                            period, the broadened coverage will immediately
                                                                     apply to this Coverage Part.
   2. The Covered Property;
                                                                 F. NO BENEFIT TO BAILEE
   3. Your interest in the Covered Property; or
                                                                     No person or organization, other than you, having
   4. A claim under this Coverage Part.                              custody of Covered Property will benefit from this
                                                                     insurance.
B. CONTROL OF PROPERTY
                                                                 G. OTHER INSURANCE
   Any act or neglect of any person other than you
   beyond your direction or control will not affect this             1. You may have other insurance subject to the
   insurance.                                                           same plan, terms, conditions and provisions as
                                                                        the insurance under this Coverage Part. If you
   The breach of any condition of this Coverage Part at                 do, we will pay our share of the covered loss or
   any one or more locations will not affect coverage at                damage. Our share is the proportion that the
   any location where, at the time of loss or damage,                   applicable Limit of Insurance under this Cover-
   the breach of condition does not exist.                              age Part bears to the Limits of Insurance of all
                                                                        insurance covering on the same basis.
C. INSURANCE UNDER TWO OR MORE COV-
   ERAGES                                                            2. If there is other insurance covering the same
                                                                        loss or damage, other than that described in 1.
   If two or more of this policy's coverages apply to the               above, we will pay only for the amount of cov-
   same loss or damage, we will not pay more than the                   ered loss or damage in excess of the amount
   actual amount of the loss or damage.                                 due from that other insurance, whether you can
                                                                        collect on it or not. But we will not pay more
D. LEGAL ACTION AGAINST US                                              than the applicable Limit of Insurance.

   No one may bring a legal action against us under              H. POLICY PERIOD, COVERAGE TERRITORY
   this Coverage Part unless:
                                                                     Under this Coverage Part:
   1. There has been full compliance with all of the
      terms of this Coverage Part; and                               1. We cover loss or damage commencing:


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         a. During the policy period shown in the                       sary to secure our rights and must do nothing after
            Declarations; and                                           loss to impair them. But you may waive your rights
                                                                        against another party in writing:
         b. Within the coverage territory.
                                                                        1. Prior to a loss to your Covered Property or Cov-
     2. The coverage territory is:                                         ered Income.

         a. The United States of America (including its                 2. After a loss to your covered Property or Covered
            territories and possessions);                                  Income only if, at time of loss, that party is one
                                                                           of the following:
         b. Puerto Rico; and
                                                                            a. Someone insured by this insurance;
         c. Canada.
                                                                            b. A business firm:
I.   TRANSFER OF RIGHTS OF RECOVERY
     AGAINST OTHERS TO US                                                       (1) Owned or controlled by you; or

     If any person or organization to or for whom we                            (2) That owns or controls you; or
     make payment under this Coverage Part has rights
     to recover damages from another, those rights are                      c. Your tenant.
     transferred to us to the extent of our payment. That
     person or organization must do everything neces-                   This will not restrict your insurance.



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                                                                                                                 55029 (5-17)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                    ASBESTOS EXCLUSION
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

SECTION I - COVERAGES is amended.                                    release, escape or inhalation of any asbestos-
1. COVERAGE A - BODILY INJURY AND PROP-                              related particles, dust, irritants, contaminants, "pol-
   ERTY DAMAGE LIABILITY, 2. Exclusions is                           lutants", toxic elements or materials.
   amended. The following exclusion is added.                     3. COVERAGE C - MEDICAL PAYMENTS, 2.
   This insurance does not apply to:                                 Exclusions is amended. The following exclusion is
   Any claim, "suit", action or proceeding against any               added.
   insured arising out of the discharge, dispersal, re-              We will not pay expenses for "bodily injury":
   lease, escape or inhalation of any asbestos-related               For any claim, "suit", action or proceeding against
   particles, dust, irritants, contaminants, "pollutants",           any insured arising out of the discharge, dispersal,
   toxic elements or materials.                                      release, escape or inhalation of any asbestos-
2. COVERAGE B - PERSONAL AND ADVERTISING                             related particles, dust, irritants, contaminants, "pol-
   INJURY LIABILITY, 2. Exclusions is amended.                       lutants", toxic elements or materials.
   The following exclusion is added.
   This insurance does not apply to:                              All other policy terms and conditions apply.
   Any claim, "suit", action or proceeding against any
   insured arising out of the discharge, dispersal,




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                                                                                                                     55293 (7-05)



                                                            Arkansas
                NOTICE TO POLICYHOLDER - AGGREGATE LIMIT OF LIABILITY

Dear Policyholder:

Your Commercial policy contains an Aggregate Limit of Liability. Please refer to your policy for an explanation of cover-
age.

This notice is for informational purposes only. Your policy contains the specific terms and conditions of coverage.

If you have any questions regarding your policy or this notice, please contact your Auto-Owners agency.



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                                                                                                                   55885 (5-17)


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          AMENDMENT OF GENERAL AGGREGATE LIMIT
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

It is agreed:

SECTION III – LIMITS OF INSURANCE is amended.                       month period shall never exceed twice the General
The following provision is added.                                   Aggregate Limit shown in the Declarations. The General
Beginning with the effective date of this policy, we will           Aggregate Limit applies separately to each 12 month
provide twice the General Aggregate Limit (other than               period starting with the beginning of the policy period
Products-Completed Operations), shown in the                        shown in the Declarations.
Declarations.
If this policy is written for more than one 12 month                All other policy terms and conditions apply.
period, the General Aggregate Limit for each 12



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                                                                                                                  55729 (5-17)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     ARKANSAS CHANGES - AMENDMENT OF INSURED
               CONTRACT DEFINITION
This endorsement modifies insurance under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

SECTION V - DEFINITIONS is amended. With respect                           entity for whom the indemnitee is responsible.
to any construction contract subject to Arkansas Code                      Tort liability means a liability that would be im-
§§ 4-56-104(b), (c), and (e) and 22-9-214(b), (c), and                     posed by law in the absence of any contract or
(e), Paragraph 9. is deleted and replaced by the                           agreement.
following:                                                                 Paragraph f. does not include that part of any
9. "Insured contract" means:                                               contract or agreement:
     a. A contract for a lease of premises. However,                       (1) That indemnifies a railroad for "bodily injury"
         that portion of the contract for a lease of prem-                      or "property damage" arising out of con-
         ises that indemnifies any person or organization                       struction or demolition operations, within 50
         for damage by fire to premises while rented to                         feet of any railroad property and affecting
         you or temporarily occupied by you with permis-                        any railroad bridge or trestle, tracks, road-
         sion of the owner is not an "insured contract";                        beds, tunnel, underpass or crossing;
     b. A sidetrack agreement;                                             (2) That indemnifies an architect, engineer or
     c. Any easement or license agreement, except in                            surveyor for injury or damage arising out of:
         connection with construction or demolition oper-                       (a) Preparing, approving, or failing to pre-
         ations on or within 50 feet of a railroad;                                  pare or approve, maps, shop drawings,
     d. An obligation, as required by ordinance, to in-                              opinions, reports, surveys, field orders,
         demnify a municipality, except in connection                                change orders or drawings and specifi-
         with work for a municipality;                                               cations; or
     e. An elevator maintenance agreement; or                                   (b) Giving directions or instructions, or fail-
     f. That part of any other contract or agreement                                 ing to give them, if that is the primary
         pertaining to your business (including an indem-                            cause of the injury or damage; or
         nification of a municipality in connection with                   (3) Under which the insured, if an architect, en-
         work performed for a municipality) under which                         gineer or surveyor, assumes liability for an
         you assume the tort liability of another party to                      injury or damage arising out of the insured's
         pay for "bodily injury" or "property damage" to a                      rendering or failure to render professional
         third person or organization, but only to the ex-                      services, including those listed in (2) above
         tent that the "bodily injury" or "property damage"                     and supervisory, inspection, architectural or
         is not caused by or does not result from the neg-                      engineering activities.
         ligent act or omission of the indemnitee, the in-
         demnitee's employees, or any other person or              All other policy terms and conditions apply.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


  COMMERCIAL GENERAL LIABILITY PLUS COVERAGE
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

1. EXTENDED WATERCRAFT LIABILITY                                      This coverage does not apply to:
   SECTION I - COVERAGES, COVERAGE A -                                a. "Bodily injury" or "property damage" expected or
   BODILY INJURY AND PROPERTY DAMAGE LIA-                                 intended from the standpoint of the insured.
   BILITY, 2. Exclusions is amended. Exclusion g.(2)                      This exclusion does not apply to "bodily injury"
   is deleted and is replaced by the following exclusion.                 resulting from the use of reasonable force to
            (2) A watercraft you do not own that is:                      protect persons or property.
                (a) Less than 50 feet long; and                       b. Any obligation of the insured under a workers
                (b) Not being used to carry persons or                    compensation, disability benefits or unemploy-
                    property for a charge;                                ment compensation law or any similar law.
                                                                      c. (1) "Bodily injury" or "property damage" arising
2. HIRED AUTO AND NON-OWNED AUTO                                              out of the actual, alleged or threatened dis-
   LIABILITY                                                                  charge, dispersal, seepage, migration, re-
   Coverage for "bodily injury" and "property damage"                         lease or escape of "pollutants":
   liability provided under SECTION I - COVERAGES,                            (a) That are, or are contained in any prop-
   COVERAGE A - BODILY INJURY AND PROP-                                            erty that is:
   ERTY DAMAGE LIABILITY, is extended as follows                                   1) Being transported or towed by, han-
   under this item, but only if you do not have any other                               dled or prepared for placement into
   insurance available to you which affords the same or                                 or upon, or taken from the "auto";
   similar coverage.                                                               2) Otherwise in the course of transit by
                                                                                        you or on your behalf; or
    Coverage                                                                       3) Being disposed of, stored, treated or
    We will pay those sums the insured becomes legally                                  processed into or upon the "auto";
    obligated to pay as damages because of "bodily                            (b) Before such "pollutants" or property con-
    injury" or "property damage" arising out of the main-                          taining "pollutants" are moved from the
    tenance or use of an "auto":                                                   place they are accepted by you or any-
    a. You do not own;                                                             one acting on your behalf for placement
    b. Which is not registered in your name; or                                    into or onto the "auto"; or
    c. Which is not leased or rented to you for more                          (c) After such "pollutants" or property con-
         than ninety consecutive days                                              taining "pollutants" are removed from
    and which is used in your business.                                            the "auto" to where they are delivered,
                                                                                   disposed of or abandoned by you or
    Exclusions                                                                     anyone acting on your behalf.
    With respect to only HIRED AUTO AND NON-                                  Paragraph c.(1)(a) does not apply to "pol-
    OWNED AUTO LIABILITY, the exclusions which                                lutants" that are needed or result from the
    apply to SECTION I - COVERAGES, COVERAGE A                                normal mechanical, electrical or hydraulic
    - BODILY INJURY AND PROPERTY DAMAGE                                       functioning of the "auto" or its parts, if the
    LIABILITY, other than the Nuclear Energy Liability                        discharge, release, escape, seepage, mi-
    Exclusion Endorsement, do not apply. The following                        gration or dispersal of such "pollutants" is
    exclusions apply to this coverage.                                        directly from a part of the "auto" designed to
                                                                              hold, store, receive or dispose of such
                                                                              "pollutants" by the "auto" manufacturer.



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           Paragraphs c.(1)(b) and c.(1)(c) do not ap-                       a residence or a private garage by a private
           ply, if as a direct result of maintenance or                      passenger "auto" covered by this coverage.
           use of the "auto", "pollutants" or property                g. (1) "Bodily injury" to:
           containing "pollutants" which are not in or                       (a) An "employee" of the insured arising out
           upon the "auto", are upset, overturned or                             of and in the course of employment by
           damaged at any premises not owned by or                               the insured; or
           leased to you. The discharge, release, es-                        (b) The spouse, child, parent, brother or sis-
           cape, seepage, migration or dispersal of the                          ter of that "employee" as a consequence
           "pollutants" must be directly caused by such                          of Paragraph g.(1)(a).
           upset, overturn or damage.                                    (2) This exclusion applies:
      (2) Any loss, cost or expense arising out of any:                      (a) Whether the insured may be liable as an
           (a) Request, demand or order that any in-                             employer or in any other capacity; and
                 sured or others test for, monitor, clean                    (b) To any obligation to share damages with
                 up, remove, contain, treat, detoxify or                         or repay someone else who must pay
                 neutralize, or in any way respond to, or                        damages because of the injury.
                 assess the effects of "pollutants"; or                  (3) This exclusion does not apply to:
           (b) Claim or "suit" by or on behalf of a gov-                     (a) Liability assumed by the insured under
                 ernmental authority for damages be-                             an "insured contract".
                 cause of testing for, monitoring, cleaning                  (b) "Bodily injury" to any "employee" of the
                 up, removing, containing, treating, de-                         insured arising out of and in the course
                 toxifying or neutralizing, or in any way                        of his or her domestic employment by
                 responding to, or assessing the effects                         the insured unless benefits for such in-
                 of "pollutants".                                                jury are in whole or in part either pay-
   d. "Bodily injury" or "property damage" however                               able or required to be provided under
      caused, arising directly or indirectly, out of:                            any workers compensation law.
      (1) War, including undeclared or civil war;
      (2) Warlike action by a military force, including               Who Is An Insured
           action in hindering or defending against an                With respect to only this coverage, SECTION II -
           actual or expected attack, by any govern-                  WHO IS AN INSURED is deleted and replaced by
           ment, sovereign or other authority using mili-             the following provision.
           tary personnel or other agents; or                         SECTION II - WHO IS AN INSURED
      (3) Insurrection, rebellion, revolution, usurped                a. Each of the following is an insured with respect
           power, or action taken by governmental                         to this coverage.
           authority in hindering or defending against                    (1) You.
           any of these.                                                  (2) Your partners if you are designated in the
   e. "Bodily injury" or "property damage" for which                           Declarations as a partnership or a joint
      the insured is obligated to pay damages by rea-                          venture.
      son of the assumption of liability in a contract or                 (3) Your members if you are designated in the
      agreement. This exclusion does not apply to                              Declarations as a limited liability company.
      liability for damages:                                              (4) Your "executive officers" if you are desig-
      (1) Assumed in a contract or agreement that is                           nated in the Declarations as an organization
           an "insured contract", provided the "bodily                         other than a partnership, joint venture or
           injury" or "property damage" occurs subse-                          limited liability company.
           quent to the execution of the contract or                      (5) Any person using the "auto" and any person
           agreement. However, if the insurance under                          or organization legally responsible for the
           this policy does not apply to the liability of                      use of an "auto" not owned by such person
           the insured, it also does not apply to such                         or organization, provided the actual use is
           liability assumed by the insured under an                           with your permission.
           "insured contract".                                        b. None of the following is an insured:
      (2) That the insured would have in the absence                      (1) Any person engaged in the business of his
           of the contract or agreement.                                       or her employer with respect to "bodily in-
   f. "Property damage" to:                                                    jury" to any co-"employee" of such person
      (1) Property owned or being transported by, or                           injured in the course of employment.
           rented or loaned to any insured; or                            (2) Any person using the "auto" and any person
      (2) Property in the care, custody or control of                          other than you, legally responsible for its
           any insured other than "property damage" to                         use with respect to an "auto" owned or reg-
                                                                               istered in the name of:

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           (a) Such person; or                                                 (a) The limit shown for Bodily Injury Hired
           (b) Any partner or "executive officer" of                               Auto and Non-Owned Auto Each Occur-
               yours or a member of his or her                                     rence is the total amount of coverage
               household; or                                                       and the most we will pay for all dam-
           (c) Any "employee" or agent of yours who is                             ages because of or arising out of all
               granted an operating allowance of any                               "bodily injury" in any one "occurrence".
               sort for the use of such "auto".                                (b) The limit shown for Property Damage
       (3) Any person while employed in or otherwise                               Hired Auto and Non-Owned Auto Each
           engaged in duties in connection with an                                 Occurrence is the total amount of cover-
           "auto business", other than an "auto busi-                              age and the most we will pay for all
           ness" you operate.                                                      damages because of or arising out of all
       (4) The owner or lessee (of whom you are a                                  "property damage" in any one "occur-
           sub-lessee) of a hired "auto" or the owner of                           rence".
           an "auto" you do not own or which is not
           registered in your name which is used in               3. BROADENED SUPPLEMENTARY PAYMENTS
           your business or any agent or employee of                 SUPPLEMENTARY PAYMENTS - COVERAGES A
           any such owner or lessee.                                 AND B, Paragraph 1.d. is amended.
       (5) Any person or organization with respect to                The amount we will pay for the actual loss of earn-
           the conduct of any current or past partner-               ings is increased from $250 per day to $400 per day.
           ship or joint venture that is not shown as a
           Named Insured in the Declarations.                     4. ADDITIONAL PRODUCTS-COMPLETED OPERA-
                                                                     TIONS AGGREGATE LIMIT
   Additional Definitions                                            If the endorsement, EXCLUSION - PRODUCTS
   The following definition applies to only this coverage.           COMPLETED OPERATIONS HAZARD, CG 21 04,
   "Auto business" means the business or occupation                  is not attached to this policy, then the following pro-
   of selling, repairing, servicing, storing or parking              vision is added to SECTION III - LIMITS OF
   "autos".                                                          INSURANCE.
                                                                     Commencing with the effective date of this policy,
   Limits of Insurance                                               we will provide one additional Products-Completed
   With respect to only this coverage, SECTION III -                 Operations Aggregate Limit, for each annual period,
   LIMITS OF INSURANCE is deleted and replaced by                    equal to the amount of the Products-Completed
   the following provision.                                          Operations Aggregate Limit shown in the Declara-
   SECTION III - LIMITS OF INSURANCE                                 tions. The maximum Products-Completed Opera-
   a. The Limits of Insurance shown in the Declara-                  tions Aggregate Limit for any annual period will be
       tions and the rules below fix the most we will                no more than two times the original Products-Com-
       pay regardless of the number of:                              pleted Operations Aggregate Limit.
       (1) Insureds;
       (2) Claims made or "suits" brought; or                     5. PERSONAL INJURY EXTENSION
       (3) Persons or organizations making claims or                 a. If the endorsement EXCLUSION - PERSONAL
            bringing "suits".                                           AND ADVERTISING INJURY, CG 21 38, is
   b. We will pay damages for "bodily injury" or "prop-                 attached to this policy, then this provision, 5.
       erty damage" up to the limits of liability shown in              PERSONAL INJURY EXTENSION, does not
       the Declarations for this coverage. Such dam-                    apply.
       ages shall be paid as follows:                                b. If the endorsement EXCLUSION - PERSONAL
       (1) When Hired Auto and Non-Owned Auto                           AND ADVERTISING INJURY, CG 21 38, is not
            Each Occurrence Limit is shown in the Dec-                  attached to this policy, then under SECTION V -
            larations, such limit is the total amount of                DEFINITIONS, 14. "Personal and advertising
            coverage and the most we will pay for all                   injury" is deleted and replaced by the following
            damages because of or arising out of all                    definition.
            "bodily injury" and "property damage" in any                14. "Personal and advertising injury" means in-
            one "occurrence".                                                jury, including consequential "bodily injury",
       (2) When Bodily Injury Hired Auto and Non-                            arising out of one or more of the following
            Owned Auto Each Occurrence Limit and                             offenses:
            Property Damage Hired Auto and Non-                              a. False arrest, detention or imprisonment;
            Owned Auto Each Occurrence Limit are                             b. Malicious prosecution;
            shown in the Declarations:                                       c. The wrongful eviction from, wrongful en-
                                                                                  try into, or invasion of the right of private

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                 occupancy of a room, dwelling or prem-                       temporarily occupied by you with permission
                 ises that a person occupies, committed                       of the owner.
                 by or on behalf of its owner, landlord or                    (a) "Property damage" to:
                 lessor;                                                           1) The interior of the premises caused
            d.   Oral or written publication, in any man-                               by or resulting from rain or snow,
                 ner, of material that slanders or libels a                             whether driven by wind or not; or
                 person or organization or disparages a                            2) Heating, air conditioning, plumbing
                 person's or organization's goods, pro-                                 or fire protection systems, or other
                 ducts or services;                                                     equipment or appliances.
            e.   Oral or written publication, in any man-                     (b) "Property damage" caused by or
                 ner, of material that violates a person's                         resulting from any of the following:
                 right of privacy;                                                 1) Mechanical breakdown, including
            f.   The use of another's advertising idea in                               bursting or rupture caused by
                 your "advertisement";                                                  centrifugal force;
            g.   Infringing upon another's copyright,                              2) Cracking, settling, expansion or
                 trade dress or slogan in your                                          shrinking;
                 "advertisement"; or                                               3) Smoke or smog;
            h.   Discrimination, humiliation, sexual ha-                           4) Birds, insects, rodents or other
                 rassment and any violation of civil rights                             animals;
                 caused by such discrimination, humilia-                           5) Wear and tear;
                 tion or sexual harassment.                                        6) Corrosion, rust, decay, fungus, de-
                                                                                        terioration, hidden or latent defect or
6. BROADENED KNOWLEDGE OF OCCURRENCE                                                    any quality in property that causes
   SECTION IV - COMMERCIAL GENERAL LIABIL-                                              such property to destroy or damage
   ITY CONDITIONS, 2. Duties In The Event Of Oc-                                        itself; or
   currence, Offense, Claim Or Suit is amended. The                                7) Water that flows or leaks from any
   following condition is added.                                                        heating, air conditioning, plumbing
   Paragraphs a. and b. of this condition will not serve                                or fire protection system caused by
   to deny any claim for failure to provide us with notice                              or resulting from freezing, unless:
   as soon as practicable after an "occurrence" or an                                   a) You make a reasonable effort to
   offense which may result in a claim:                                                      maintain heat in the building or
   a. If the notice of a new claim is given to your "em-                                     structure; or
        ployee"; and                                                                    b) You drain the equipment and
   b. That "employee" fails to provide us with notice                                        shut off the water supply if the
        as soon as practicable.                                                              heat is not maintained.
   This exception shall not apply to you or to any offi-                      (c) "Property damage" caused directly or
   cer, director, partner, risk manager or insurance                               indirectly by any of the following:
   manager of yours.                                                               1) Water that backs up from a drain or
                                                                                        sewer;
7. DAMAGE TO PREMISES RENTED TO YOU                                                2) Mud flow or mudslide;
   a. SECTION I - COVERAGES, COVERAGE A -                                          3) Volcanic eruption, explosion or
      BODILY INJURY AND PROPERTY DAMAGE                                                 effusion;
      LIABILITY, 2. Exclusions is amended.                                         4) Any earth movement, such as earth-
      (1) The last paragraph is deleted and replaced                                    quake, landslide, mine subsidence,
          by the following paragraph.                                                   earth sinking, earth rising or earth
          Exclusions c. through n. do not apply to                                      shifting;
          damage by fire, lightning, explosion, smoke                              5) Regardless of the cause, flood,
          or water damage to premises rented to you                                     surface water, waves, tides, tidal
          or temporarily occupied by you with permis-                                   waves, storm surge, overflow of any
          sion of the owner. A separate limit of insur-                                 body of water, or their spray, all
          ance applies to this coverage as described                                    whether wind driven or not; or
          in 7. DAMAGE TO PREMISES RENTED                                          6) Water under the ground surface
          TO YOU, b. Limits of Insurance.                                               pressing on, or seeping or flowing
      (2) The following additional exclusions apply to                                  through:
          "property damage" arising out of water                                        a) Walls, foundations, floors or
          damage to premises rented to you or                                                paved surfaces;


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                    b) Basements, whether paved or                       to any "occurrence" which takes place after the
                         not; or                                         equipment lease expires.
                    c) Doors, windows or other                        c. The following provision is added to SECTION
                         openings.                                       III - LIMITS OF INSURANCE.
           (d) "Property damage" for which the insured                   The Limits of Insurance for the additional in-
                is obligated to pay as damages by                        sured are those specified in the written contract
                reason of the assumption of liability in a               or agreement between the insured and the les-
                contract or agreement. This exclusion                    sor, not to exceed the limits provided in this pol-
                does not apply to liability for damages                  icy. These limits are inclusive of and not in addi-
                that the insured would have in the                       tion to the Limits of Insurance shown in the
                absence of this contract or agreement.                   Declarations.
   b. Limits of Insurance
      With respect to this coverage only, under SEC-              9. BLANKET ADDITIONAL INSURED - MANAGERS
      TION III - LIMITS OF INSURANCE, Paragraph                      OR LESSORS OF PREMISES
      6. is deleted and replaced by the following                    a. SECTION II - WHO IS AN INSURED is
      Paragraph.                                                        amended to include as an additional insured any
      6. The most we will pay under Coverage A for                      person or organization with whom you have
           damages because of "property damage" to                      agreed:
           premises rented to you or temporarily occu-                  (1) In a written contract or agreement, executed
           pied by you with permission of the owner                           prior to loss, to name as an additional
           arising out of or caused by fire, lightning,                       insured; or
           explosion, smoke and water damage is the                     (2) In an oral contract or agreement, executed
           amount shown in the Declarations under                             prior to loss, to name as an additional in-
           Damage to Premises Rented to You.                                  sured only if a Certificate of Insurance was
   c. SECTION IV - COMMERCIAL GENERAL LIA-                                    issued prior to loss indicating that the per-
      BILITY CONDITIONS, 4. Other Insurance,                                  son or organization was an additional
      Paragraph b. is amended. The word fire is                               insured
      amended to include fire, lightning, explosion,                    but only with respect to liability arising out of the
      smoke or water damage.                                            ownership, maintenance or use of that part of
                                                                        the premises leased to you.
8. BLANKET ADDITIONAL INSURED - LESSOR OF                            b. This provision is subject to the following addi-
   LEASED EQUIPMENT                                                     tional exclusions.
   a. (1) SECTION II - WHO IS AN INSURED is                             (1) Any "occurrence" which takes place after
          amended to include as an additional insured                         you cease to be a tenant in that premises.
          any person or organization with whom you                      (2) Structural alterations, new constructions or
          have agreed:                                                        demolition operations performed by or on
          (a) In a written contract or agreement, exe-                        behalf of the additional insured.
               cuted prior to loss, to name as an addi-              c. The following provision is added to SECTION
               tional insured; or                                       III - LIMITS OF INSURANCE.
          (b) In an oral contract or agreement, exe-                    The Limits of Insurance for the additional in-
               cuted prior to loss, to name as an addi-                 sured are those specified in the written contract
               tional insured only if a Certificate of                  or agreement between the insured and the
               Insurance was issued prior to loss indi-                 manager or lessor of the premises, not to ex-
               cating that the person or organization                   ceed the limits provided in this policy. These
               was an additional insured.                               limits are inclusive of and not in addition to the
      (2) This provision applies only with respect to                   Limits of Insurance shown in the Declarations.
          liability for:
          (a) "Bodily injury";                                    10. NEWLY FORMED OR ACQUIRED ORGANIZA-
          (b) "Property damage"; or                                   TIONS
          (c) "Personal and advertising injury"                       SECTION II - WHO IS AN INSURED is amended.
          caused in whole or in part, by your mainte-                 Paragraph 3. is deleted and replaced by the follow-
          nance, operation or use of equipment leased                 ing provision.
          to you by such person or organization.                      3. Any organization you newly acquire or form,
   b. With respect to the insurance afforded to an                        other than a partnership, joint venture or limited
      additional insured, this insurance does not apply                   liability company, and over which you maintain



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       ownership or majority interest, will qualify as a           11. BLANKET WAIVER OF SUBROGATION
       Named Insured if there is no other similar insur-               SECTION IV - COMMERCIAL GENERAL LIABIL-
       ance available to that organization. However:                   ITY CONDITIONS is amended. The following provi-
       a. Coverage under this provision is afforded                    sion is added to 8. Transfer Of Rights of Recov-
           only until the 180th day after you acquire or               ery Against Others To Us.
           form the organization or the end of the pol-                When you have agreed to waive your right of subro-
           icy period, whichever is earlier;                           gation in a written contract, executed prior to loss,
       b. Coverage A does not apply to "bodily injury"                 with any person or organization, we waive any right
           or "property damage" that occurred before                   to recovery we may have against such person or
           you acquired or formed the organization;                    organization because of payments we make for in-
           and                                                         jury or damage arising out of your ongoing opera-
       c. Coverage B does not apply to "personal and                   tions or "your work" done under a contract with that
           advertising injury" arising out of an offense               person or organization and included in the
           committed before you acquired or formed                     "products-completed operations hazard".
           the organization.
       No person or organization is an insured with                All other policy terms and conditions apply.
       respect to the conduct of any current or past
       partnership, joint venture or limited liability com-
       pany that is not shown as a Named Insured in
       the Declarations.



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                                                                                      COMMERCIAL GENERAL LIABILITY
                                                                                                       55146 (6-04)


             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     UPSET AND OVERSPRAY COVERAGE
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

It is agreed the coverage for "property damage" liability with respect to your operations is extended as follows:

1. COVERAGE

    We will pay those sums which you become legally obligated to pay for "property damage" caused directly by
    immediate, abrupt and accidental:

    a. Upset, overturn or collision of your "mobile equipment" while transporting; or

    b. "Overspray" during your application or dispersal of

    "pollutants" which are intended for and normally used in your operations. The operations must be in compliance with
    local, state, and federal ordinances and laws.

    This is not an additional amount of insurance and does not increase the Limits of Insurance stated in the Decla-
    rations.

2. EXCLUSIONS

    a. With regard only to the coverage provided by this endorsement, Exclusion f. of Section I - Coverage A - Bodily
       Injury And Property Damage Liability is deleted and replaced by the following:

        f.    Pollution

              Any loss, cost or expense arising out of any:

              (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
                  monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
                  effects of "pollutants"; or

              (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
                  cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
                  assessing the effects of "pollutants".

              However, this paragraph does not apply to liability for damages because of covered "property damage" that
              the insured would have in the absence of such request, demand, order or statutory or regulatory requirement,
              or such claim or "suit" by or on behalf of a governmental authority.




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    b. The following exclusion is added to Paragraph 2., Exclusions of Section I - Coverage A - Bodily Injury And
       Property Damage Liability:

        This coverage does not apply to "overspray" resulting from aerial application or dispersal of "pollutants".

3. DEDUCTIBLE

    Any deductible provision of the policy which is applicable to Property Damage Liability coverage applies to this
    coverage extension.

4. DEFINITIONS

    The following definition applies in addition to those in the policy.

    "Overspray" means spray, from a device specifically designed for spray application or dispersal, that goes beyond the
    entire area of intended application or dispersal.

All other policy terms and conditions apply.



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                                                                                                             55405 (7-08)


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     CONDITIONAL EXCLUSION OF TERRORISM
  INVOLVING NUCLEAR, BIOLOGICAL OR CHEMICAL
TERRORISM (RELATING TO DISPOSITION OF FEDERAL
        TERRORISM RISK INSURANCE ACT)
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART


A. Applicability Of This Endorsement                                     endorsement already endorsed to this policy
                                                                         that addresses "certified acts of terrorism".
   1. The provisions of this endorsement will apply
      if and when one of the following situations                    3. If this endorsement does NOT become appli-
      occurs:                                                           cable, then any terrorism endorsement al-
                                                                        ready endorsed to this policy, that addresses
       a. The federal Terrorism Risk Insurance Pro-                     "certified acts of terrorism", will remain in
          gram ("Program"), established by the Ter-                     effect. However, if the Program is renewed,
          rorism Risk Insurance Act of 2002 (in-                        extended or otherwise continued in effect
          cluding ensuing Congressional actions                         with revisions that change the level or terms
          pursuant to the Act), terminates; or                          or conditions of coverage, and we are re-
                                                                        quired to offer you the revised coverage or to
       b. The Program is renewed, extended or oth-                      provide revised coverage to those who pre-
          erwise continued in effect:                                   viously accepted coverage under the Pro-
                                                                        gram, then we will take the appropriate steps
           (1) With revisions that increase insurers'                   in response to the federal requirements.
               statutory percentage deductible or de-
               crease the federal government's stat-             B. The following definition is added and applies under
               utory percentage share in potential                  this endorsement wherever the term terrorism is
               terrorism losses above such deduct-                  enclosed in quotation marks.
               ible, or that results in a change in the
               level or terms or conditions of cover-                "Terrorism" means activities against persons, or-
               age; and                                              ganizations or property of any nature:

           (2) We are not required by the Program                    1. That involve the following or preparation for the
               to make terrorism coverage available                     following:
               to you and elect not to do so.
                                                                         a. Use or threat of force or violence; or
   2. When this endorsement becomes applicable
      in accordance with the terms of A.1.a. or                          b. Commission or threat of a dangerous act; or
      A.1.b., above, it supersedes any terrorism


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       c. Commission or threat of an act that inter-                    injury or damage. This exclusion applies only when
          feres with or disrupts an electronic, com-                    one or more of the following are attributed to an inci-
          munication, information, or mechanical                        dent of "terrorism":
          system; and
                                                                        1. The "terrorism" is carried out by means of the
   2. When one or both of the following applies:                           dispersal or application of radioactive material,
                                                                           or through the use of a nuclear weapon or
       a. The effect is to intimidate or coerce a                          device that involves or produces a nuclear
          government or the civilian population or any                     reaction, nuclear radiation or radioactive
          segments thereof, or to disrupt any segment                      contamination;
          of the economy; or
                                                                        2. Radioactive material is released, and it appears
       b. It appears that the intent is to intimidate or                   that one purpose of the "terrorism" was to rel-
          coerce a government or the civilian popu-                        ease such material;
          lation, or to further political, ideological,
          religious, social or economic objectives or to                3. The "terrorism" is carried out by means of the
          express (or express opposition to) a philo-                      dispersal or application of pathogenic or poi-
          sophy or ideology.                                               sonous biological or chemical materials; or

C. The following exclusion is added:                                    4. Pathogenic or poisonous biological or chemical
                                                                           materials are released, and it appears that one
   Exclusion Of "Terrorism"                                                purpose of the "terrorism" was to release such
   We will not pay for "bodily injury", "property dam-                     materials.
   age", "personal injury" or "advertising injury" caused
   directly or indirectly by "terrorism", including action in           Multiple incidents of "terrorism" which occur within a
   hindering or defending against an actual or expected                 72-hour period and appear to be carried out in
   incident of "terrorism". All "bodily injury", "property              concert or to have a related purpose or common
   damage", "personal injury" or "advertising injury" is                leadership will be deemed to be one incident,
   excluded regardless of any other cause or event that                 regardless of whether this endorsement was in
   contributes concurrently or in any sequence to such                  effect during the entirety of that time period or not.




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                                                                                                                55513 (5-17)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    EMPLOYER'S LIABILITY EXCLUSION
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. SECTION I - COVERAGES, COVERAGE A -                                       (4) An organization other than a partner-
   BODILY INJURY AND PROPERTY DAMAGE LIA-                                         ship, joint venture or limited liability com-
   BILITY, 2. Exclusions is amended. Exclusion e.                                 pany, you are an insured. Your "execu-
   Employer's Liability is deleted and replaced by the                            tive officers" and directors are insureds,
   following exclusion.                                                           but only with respect to their duties as
   e. Employer's Liability                                                        your officers or directors. Your stock-
        "Bodily injury" to:                                                       holders are also insureds, but only with
        (1) An "employee" of any insured arising out of                           respect to their liability as stockholders.
            and in the course of employment by any in-                       (5) A trust, you are an insured. Your trust-
            sured; or                                                             ees are also insureds, but only with re-
        (2) The spouse, child, parent, brother or sister                          spect to their duties as trustees.
            of that "employee" as a consequence of                        b. However, with respect to paragraphs 1.a.(1)
            Paragraph e.(1).                                                 through 1.a.(5), no person is an insured for
        This exclusion applies:                                              "bodily injury" or "personal and advertising
        (1) Whether any insured may be liable as an                          injury":
            employer or in any other capacity; and                           (1) To:
        (2) To any obligation to share damages with or                            (a) You and your spouse if the Named
            repay someone else who must pay dam-                                       Insured is an individual;
            ages because of the injury.                                           (b) Your members, your partners and
        This exclusion does not apply to liability as-                                 their spouses if the Named Insured
        sumed by any insured under an "insured con-                                    is a partnership or joint venture;
        tract".                                                                   (c) Your members if the Named Insured
                                                                                       is a Limited Liability Company;
B. SECTION II - WHO IS AN INSURED is amended.                                     (d) Your "executive officers" and direc-
   Paragraph 1. is deleted and replaced by the follow-                                 tors if the Named Insured is other
   ing paragraph for purposes of this endorsement                                      than a partnership, joint venture or
   only.                                                                               limited liability company; or
   1. a. If you are designated in the Declarations as:                            (e) Your trustees if the Named Insured
           (1) An individual, you and your spouse are                                  is a trust.
               insureds, but only with respect to the                        (2) To an "employee" of any insured while
               conduct of a business of which you are                             in the course of his or her employment
               the sole owner.                                                    or performing duties related to the con-
           (2) A partnership or joint venture, you are                            duct of any insured's business.
               an insured. Your members, your part-                          (3) To any insured's "volunteer workers"
               ners, and their spouses are also in-                               while performing duties related to the
               sureds, but only with respect to the                               conduct of any insured's business;
               conduct of your business.                                     (4) To the spouse, child, parent, brother or
           (3) A limited liability company, you are an                            sister of any "employee" or "volunteer
               insured. Your members are also in-                                 worker" as a consequence of Para-
               sureds, but only with respect to the                               graphs 1.b.(2) or (3).
               conduct of your business.                                     (5) For which there is any obligation to
                                                                                  share damages with or repay someone


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               else who must pay damages because of                         (6) Arising out of his or her providing or
               the injury described in Paragraphs                               failing to provide professional health
               1.b.(1), (2) and (3).                                            care services.

                                                                All other policy terms and conditions apply.



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                                                                                    COMMERCIAL GENERAL LIABILITY
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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                    ARKANSAS CHANGES
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

Pursuant to Arkansas Code Section 23-79-155:                    B. The definition of "occurrence" required by this
A. The definition of "occurrence" includes faulty                  section of Arkansas law does not serve to limit or
   workmanship; and                                                restrict the applicability of any exclusion for "bodily
                                                                   injury" or "property damage" under this Coverage
                                                                   Part.



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                                                                                     COMMERCIAL GENERAL LIABILITY
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 COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage. Read                (2) The "bodily injury" or "property damage"
the entire policy carefully to determine rights, duties and                   occurs during the policy period; and
what is and is not covered.                                              (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your" refer                       under Paragraph 1. of Section II – Who Is
to the Named Insured shown in the Declarations, and                           An Insured and no "employee" authorized by
any other person or organization qualifying as a Named                        you to give or receive notice of an "occur-
Insured under this policy. The words "we", "us" and                           rence" or claim, knew that the "bodily injury"
"our" refer to the company providing this insurance.                          or "property damage" had occurred, in whole
The word "insured" means any person or organization                           or in part. If such a listed insured or autho-
qualifying as such under Section II – Who Is An Insured.                      rized "employee" knew, prior to the policy
Other words and phrases that appear in quotation marks                        period, that the "bodily injury" or "property
have special meaning. Refer to Section V – Definitions.                       damage" occurred, then any continuation,
                                                                              change or resumption of such "bodily injury"
SECTION I – COVERAGES                                                         or "property damage" during or after the
COVERAGE A – BODILY INJURY AND PROPERTY                                       policy period will be deemed to have been
DAMAGE LIABILITY                                                              known prior to the policy period.
1. Insuring Agreement                                                 c. "Bodily injury" or "property damage" which oc-
   a. We will pay those sums that the insured be-                        curs during the policy period and was not, prior
       comes legally obligated to pay as damages be-                     to the policy period, known to have occurred by
       cause of "bodily injury" or "property damage" to                  any insured listed under Paragraph 1. of Section
       which this insurance applies. We will have the                    II – Who Is An Insured or any "employee" autho-
       right and duty to defend the insured against any                  rized by you to give or receive notice of an "oc-
       "suit" seeking those damages. However, we will                    currence" or claim, includes any continuation,
       have no duty to defend the insured against any                    change or resumption of that "bodily injury" or
       "suit" seeking damages for "bodily injury" or                     "property damage" after the end of the policy
       "property damage" to which this insurance does                    period.
       not apply. We may, at our discretion, investi-                 d. "Bodily injury" or "property damage" will be
       gate any "occurrence" and settle any claim or                     deemed to have been known to have occurred
       "suit" that may result. But:                                      at the earliest time when any insured listed un-
       (1) The amount we will pay for damages is lim-                    der Paragraph 1. of Section II – Who Is An In-
             ited as described in Section III – Limits Of                sured or any "employee" authorized by you to
             Insurance; and                                              give or receive notice of an "occurrence" or
       (2) Our right and duty to defend ends when we                     claim:
             have used up the applicable limit of insur-                 (1) Reports all, or any part, of the "bodily injury"
             ance in the payment of judgments or settle-                      or "property damage" to us or any other
             ments under Coverages A or B or medical                          insurer;
             expenses under Coverage C.                                  (2) Receives a written or verbal demand or
       No other obligation or liability to pay sums or                        claim for damages because of the "bodily
       perform acts or services is covered unless ex-                         injury" or "property damage"; or
       plicitly provided for under Supplementary Pay-                    (3) Becomes aware by any other means that
       ments – Coverages A and B.                                             "bodily injury" or "property damage" has oc-
   b. This insurance applies to "bodily injury" and                           curred or has begun to occur.
       "property damage" only if:                                     e. Damages because of "bodily injury" include
       (1) The "bodily injury" or "property damage" is                   damages claimed by any person or organization
             caused by an "occurrence" that takes place                  for care, loss of services or death resulting at
             in the "coverage territory";                                any time from the "bodily injury".




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2. Exclusions                                                              if the "occurrence" which caused the "bodily in-
   This insurance does not apply to:                                       jury" or "property damage", involved that which
   a. Expected Or Intended Injury                                          is described in Paragraph (1), (2) or (3) above.
       "Bodily injury" or "property damage" expected or                    However, this exclusion applies only if you are in
       intended from the standpoint of the insured.                        the business of manufacturing, distributing,
       This exclusion does not apply to "bodily injury"                    selling, serving or furnishing alcoholic bever-
       resulting from the use of reasonable force to                       ages. For the purposes of this exclusion, per-
       protect persons or property.                                        mitting a person to bring alcoholic beverages on
   b. Contractual Liability                                                your premises, for consumption on your prem-
       "Bodily injury" or "property damage" for which                      ises, whether or not a fee is charged or a license
       the insured is obligated to pay damages by                          is required for such activity, is not by itself con-
       reason of the assumption of liability in a contract                 sidered the business of selling, serving or fur-
       or agreement. This exclusion does not apply to                      nishing alcoholic beverages.
       liability for damages:                                           d. Workers' Compensation And Similar Laws
       (1) That the insured would have in the absence                      Any obligation of the insured under a workers'
            of the contract or agreement; or                               compensation, disability benefits or unemploy-
       (2) Assumed in a contract or agreement that is                      ment compensation law or any similar law.
            an "insured contract", provided the "bodily                 e. Employer's Liability
            injury" or "property damage" occurs subse-                     "Bodily injury" to:
            quent to the execution of the contract or                      (1) An "employee" of the insured arising out of
            agreement. Solely for the purposes of lia-                          and in the course of:
            bility assumed in an "insured contract", rea-                       (a) Employment by the insured; or
            sonable attorneys' fees and necessary litiga-                       (b) Performing duties related to the conduct
            tion expenses incurred by or for a party                                 of the insured's business; or
            other than an insured are deemed to be                         (2) The spouse, child, parent, brother or sister
            damages because of "bodily injury" or                               of that "employee" as a consequence of
            "property damage", provided:                                        Paragraph (1) above.
            (a) Liability to such party for, or for the cost               This exclusion applies whether the insured may
                  of, that party's defense has also been                   be liable as an employer or in any other capacity
                  assumed in the same "insured contract";                  and to any obligation to share damages with or
                  and                                                      repay someone else who must pay damages be-
            (b) Such attorneys' fees and litigation ex-                    cause of the injury.
                  penses are for defense of that party                     This exclusion does not apply to liability as-
                  against a civil or alternative dispute res-              sumed by the insured under an "insured
                  olution proceeding in which damages to                   contract".
                  which this insurance applies are alleged.             f. Pollution
   c. Liquor Liability                                                     (1) "Bodily injury" or "property damage" arising
       "Bodily injury" or "property damage" for which                           out of the actual, alleged or threatened dis-
       any insured may be held liable by reason of:                             charge, dispersal, seepage, migration, re-
       (1) Causing or contributing to the intoxication of                       lease or escape of "pollutants":
            any person;                                                         (a) At or from any premises, site or location
       (2) The furnishing of alcoholic beverages to a                                which is or was at any time owned or
            person under the legal drinking age or under                             occupied by, or rented or loaned to, any
            the influence of alcohol; or                                             insured. However, this subparagraph
       (3) Any statute, ordinance or regulation relating                             does not apply to:
            to the sale, gift, distribution or use of alco-                          (i) "Bodily injury" if sustained within a
            holic beverages.                                                              building and caused by smoke,
       This exclusion applies even if the claims against                                  fumes, vapor or soot produced by or
       any insured allege negligence or other wrong-                                      originating from equipment that is
       doing in:                                                                          used to heat, cool or dehumidify the
            (a) The supervision, hiring, employment,                                      building, or equipment that is used
                  training or monitoring of others by that                                to heat water for personal use, by
                  insured; or                                                             the building's occupants or their
            (b) Providing or failing to provide transpor-                                 guests;
                  tation with respect to any person that                             (ii) "Bodily injury" or "property damage"
                  may be under the influence of alcohol;                                  for which you may be held liable, if


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                    you are a contractor and the owner                                   premises, site or location with the
                    or lessee of such premises, site or                                  intent that they be discharged, dis-
                    location has been added to your                                      persed or released as part of the
                    policy as an additional insured with                                 operations being performed by such
                    respect to your ongoing operations                                   insured, contractor or subcontractor;
                    performed for that additional insured                          (ii) "Bodily injury" or "property damage"
                    at that premises, site or location and                               sustained within a building and
                    such premises, site or location is not                               caused by the release of gases,
                    and never was owned or occupied                                      fumes or vapors from materials
                    by, or rented or loaned to, any in-                                  brought into that building in connec-
                    sured, other than that additional                                    tion with operations being performed
                    insured; or                                                          by you or on your behalf by a con-
              (iii) "Bodily injury" or "property damage"                                 tractor or subcontractor; or
                    arising out of heat, smoke or fumes                            (iii) "Bodily injury" or "property damage"
                    from a "hostile fire";                                               arising out of heat, smoke or fumes
          (b) At or from any premises, site or location                                  from a "hostile fire".
              which is or was at any time used by or                          (e) At or from any premises, site or location
              for any insured or others for the hand-                              on which any insured or any contractors
              ling, storage, disposal, processing or                               or subcontractors working directly or in-
              treatment of waste;                                                  directly on any insured's behalf are per-
          (c) Which are or were at any time trans-                                 forming operations if the operations are
              ported, handled, stored, treated, dis-                               to test for, monitor, clean up, remove,
              posed of, or processed as waste by or                                contain, treat, detoxify or neutralize, or
              for:                                                                 in any way respond to, or assess the
              (i) Any insured; or                                                  effects of, "pollutants".
              (ii) Any person or organization for                        (2) Any loss, cost or expense arising out of any:
                    whom you may be legally responsi-                         (a) Request, demand, order or statutory or
                    ble; or                                                        regulatory requirement that any insured
          (d) At or from any premises, site or location                            or others test for, monitor, clean up, re-
              on which any insured or any contractors                              move, contain, treat, detoxify or neu-
              or subcontractors working directly or in-                            tralize, or in any way respond to, or as-
              directly on any insured's behalf are per-                            sess the effects of, "pollutants"; or
              forming operations if the "pollutants" are                      (b) Claim or suit by or on behalf of a gov-
              brought on or to the premises, site or                               ernmental authority for damages be-
              location in connection with such opera-                              cause of testing for, monitoring, cleaning
              tions by such insured, contractor or sub-                            up, removing, containing, treating, de-
              contractor. However, this subparagraph                               toxifying or neutralizing, or in any way
              does not apply to:                                                   responding to, or assessing the effects
              (i) "Bodily injury" or "property damage"                             of, "pollutants".
                    arising out of the escape of fuels,                       However, this paragraph does not apply to
                    lubricants or other operating fluids                      liability for damages because of "property
                    which are needed to perform the                           damage" that the insured would have in the
                    normal electrical, hydraulic or me-                       absence of such request, demand, order or
                    chanical functions necessary for the                      statutory or regulatory requirement, or such
                    operation of "mobile equipment" or                        claim or "suit" by or on behalf of a govern-
                    its parts, if such fuels, lubricants or                   mental authority.
                    other operating fluids escape from a              g. Aircraft, Auto Or Watercraft
                    vehicle part designed to hold, store                 "Bodily injury" or "property damage" arising out
                    or receive them. This exception                      of the ownership, maintenance, use or entrust-
                    does not apply if the "bodily injury"                ment to others of any aircraft, "auto" or water-
                    or "property damage" arises out of                   craft owned or operated by or rented or loaned
                    the intentional discharge, dispersal                 to any insured. Use includes operation and
                    or release of the fuels, lubricants or               "loading or unloading".
                    other operating fluids, or if such                   This exclusion applies even if the claims against
                    fuels, lubricants or other operating                 any insured allege negligence or other
                    fluids are brought on or to the


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      wrongdoing in the supervision, hiring, employ-                    (3) Insurrection, rebellion, revolution, usurped
      ment, training or monitoring of others by that in-                      power, or action taken by governmental
      sured, if the "occurrence" which caused the                             authority in hindering or defending against
      "bodily injury" or "property damage" involved the                       any of these.
      ownership, maintenance, use or entrustment to                  j. Damage To Property
      others of any aircraft, "auto" or watercraft that is              "Property damage" to:
      owned or operated by or rented or loaned to any                   (1) Property you own, rent, or occupy, including
      insured.                                                                any costs or expenses incurred by you, or
      This exclusion does not apply to:                                       any other person, organization or entity, for
      (1) A watercraft while ashore on premises you                           repair, replacement, enhancement, restora-
          own or rent;                                                        tion or maintenance of such property for any
      (2) A watercraft you do not own that is:                                reason, including prevention of injury to a
          (a) Less than 26 feet long; and                                     person or damage to another's property;
          (b) Not being used to carry persons or                        (2) Premises you sell, give away or abandon, if
               property for a charge;                                         the "property damage" arises out of any part
      (3) Parking an "auto" on, or on the ways next                           of those premises;
          to, premises you own or rent, provided the                    (3) Property loaned to you;
          "auto" is not owned by or rented or loaned to                 (4) Personal property in the care, custody or
          you or the insured;                                                 control of the insured;
      (4) Liability assumed under any "insured con-                     (5) That particular part of real property on which
          tract" for the ownership, maintenance or use                        you or any contractors or subcontractors
          of aircraft or watercraft; or                                       working directly or indirectly on your behalf
      (5) "Bodily injury" or "property damage" arising                        are performing operations, if the "property
          out of:                                                             damage" arises out of those operations; or
          (a) The operation of machinery or equip-                      (6) That particular part of any property that
               ment that is attached to, or part of, a                        must be restored, repaired or replaced be-
               land vehicle that would qualify under the                      cause "your work" was incorrectly performed
               definition of "mobile equipment" if it                         on it.
               were not subject to a compulsory or                      Paragraphs (1), (3) and (4) of this exclusion do
               financial responsibility law or other                    not apply to "property damage" (other than dam-
               motor vehicle insurance law where it is                  age by fire) to premises, including the contents
               licensed or principally garaged; or                      of such premises, rented to you for a period of
          (b) The operation of any of the machinery                     seven or fewer consecutive days. A separate
               or equipment listed in Paragraph f.(2) or                limit of insurance applies to Damage To Pre-
               f.(3) of the definition of "mobile                       mises Rented To You as described in Section III
               equipment".                                              – Limits Of Insurance.
   h. Mobile Equipment                                                  Paragraph (2) of this exclusion does not apply if
      "Bodily injury" or "property damage" arising out                  the premises are "your work" and were never
      of:                                                               occupied, rented or held for rental by you.
      (1) The transportation of "mobile equipment" by                   Paragraphs (3), (4), (5) and (6) of this exclusion
          an "auto" owned or operated by or rented or                   do not apply to liability assumed under a side-
          loaned to any insured; or                                     track agreement.
      (2) The use of "mobile equipment" in, or while in                 Paragraph (6) of this exclusion does not apply to
          practice for, or while being prepared for, any                "property damage" included in the "products-
          prearranged racing, speed, demolition, or                     completed operations hazard".
          stunting activity.                                         k. Damage To Your Product
   i. War                                                               "Property damage" to "your product" arising out
      "Bodily injury" or "property damage", however                     of it or any part of it.
      caused, arising, directly or indirectly, out of:               l. Damage To Your Work
      (1) War, including undeclared or civil war;                       "Property damage" to "your work" arising out of
      (2) Warlike action by a military force, including                 it or any part of it and included in the "products-
          action in hindering or defending against an                   completed operations hazard".
          actual or expected attack, by any govern-                     This exclusion does not apply if the damaged
          ment, sovereign or other authority using                      work or the work out of which the damage arises
          military personnel or other agents; or                        was performed on your behalf by a
                                                                        subcontractor.


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   m. Damage To Impaired Property Or Property                            (3) The Fair Credit Reporting Act (FCRA), and
      Not Physically Injured                                                  any amendment of or addition to such law,
      "Property damage" to "impaired property" or                             including the Fair and Accurate Credit
      property that has not been physically injured,                          Transactions Act (FACTA); or
      arising out of:                                                    (4) Any federal, state or local statute, ordinance
      (1) A defect, deficiency, inadequacy or danger-                         or regulation, other than the TCPA,
            ous condition in "your product" or "your                          CAN-SPAM Act of 2003 or FCRA and their
            work"; or                                                         amendments and additions, that addresses,
      (2) A delay or failure by you or anyone acting                          prohibits, or limits the printing, dissemina-
            on your behalf to perform a contract or                           tion, disposal, collecting, recording, sending,
            agreement in accordance with its terms.                           transmitting, communicating or distribution
      This exclusion does not apply to the loss of use                        of material or information.
      of other property arising out of sudden and acci-             Exclusions c. through n. do not apply to damage by
      dental physical injury to "your product" or "your             fire to premises while rented to you or temporarily
      work" after it has been put to its intended use.              occupied by you with permission of the owner. A
   n. Recall Of Products, Work Or Impaired                          separate limit of insurance applies to this coverage
      Property                                                      as described in Section III – Limits Of Insurance.
      Damages claimed for any loss, cost or expense
      incurred by you or others for the loss of use,            COVERAGE B – PERSONAL AND ADVERTISING
      withdrawal, recall, inspection, repair, replace-          INJURY LIABILITY
      ment, adjustment, removal or disposal of:                 1. Insuring Agreement
      (1) "Your product";                                          a. We will pay those sums that the insured be-
      (2) "Your work"; or                                              comes legally obligated to pay as damages be-
      (3) "Impaired property";                                         cause of "personal and advertising injury" to
      if such product, work, or property is withdrawn or               which this insurance applies. We will have the
      recalled from the market or from use by any per-                 right and duty to defend the insured against any
      son or organization because of a known or sus-                   "suit" seeking those damages. However, we will
      pected defect, deficiency, inadequacy or danger-                 have no duty to defend the insured against any
      ous condition in it.                                             "suit" seeking damages for "personal and adver-
   o. Personal And Advertising Injury                                  tising injury" to which this insurance does not
      "Bodily injury" arising out of "personal and ad-                 apply. We may, at our discretion, investigate
      vertising injury".                                               any offense and settle any claim or "suit" that
   p. Electronic Data                                                  may result. But:
      Damages arising out of the loss of, loss of use                  (1) The amount we will pay for damages is
      of, damage to, corruption of, inability to access,                     limited as described in Section III – Limits Of
      or inability to manipulate electronic data.                            Insurance; and
      However, this exclusion does not apply to lia-                   (2) Our right and duty to defend end when we
      bility for damages because of "bodily injury".                         have used up the applicable limit of insur-
      As used in this exclusion, electronic data means                       ance in the payment of judgments or settle-
      information, facts or programs stored as or on,                        ments under Coverages A or B or medical
      created or used on, or transmitted to or from                          expenses under Coverage C.
      computer software, including systems and appli-                  No other obligation or liability to pay sums or
      cations software, hard or floppy disks, CD-                      perform acts or services is covered unless ex-
      ROMs, tapes, drives, cells, data processing de-                  plicitly provided for under Supplementary Pay-
      vices or any other media which are used with                     ments – Coverages A and B.
      electronically controlled equipment.                         b. This insurance applies to "personal and adver-
   q. Recording And Distribution Of Material Or                        tising injury" caused by an offense arising out of
      Information In Violation Of Law                                  your business but only if the offense was com-
      "Bodily injury" or "property damage" arising di-                 mitted in the "coverage territory" during the
      rectly or indirectly out of any action or omission               policy period.
      that violates or is alleged to violate:                   2. Exclusions
      (1) The Telephone Consumer Protection Act                    This insurance does not apply to:
            (TCPA), including any amendment of or                  a. Knowing Violation Of Rights Of Another
            addition to such law;                                      "Personal and advertising injury" caused by or at
      (2) The CAN-SPAM Act of 2003, including any                      the direction of the insured with the knowledge
            amendment of or addition to such law;                      that the act would violate the rights of another


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        and would inflict "personal and advertising                        (2) Designing or determining content of web
        injury".                                                                sites for others; or
   b.   Material Published With Knowledge Of                               (3) An Internet search, access, content or ser-
        Falsity                                                                 vice provider.
        "Personal and advertising injury" arising out of                   However, this exclusion does not apply to Para-
        oral or written publication, in any manner, of                     graphs 14.a., b. and c. of "personal and adver-
        material, if done by or at the direction of the                    tising injury" under the Definitions section.
        insured with knowledge of its falsity.                             For the purposes of this exclusion, the placing of
   c.   Material Published Prior To Policy Period                          frames, borders or links, or advertising, for you
        "Personal and advertising injury" arising out of                   or others anywhere on the Internet, is not by
        oral or written publication, in any manner, of ma-                 itself, considered the business of advertising,
        terial whose first publication took place before                   broadcasting, publishing or telecasting.
        the beginning of the policy period.                           k.   Electronic Chatrooms Or Bulletin Boards
   d.   Criminal Acts                                                      "Personal and advertising injury" arising out of
        "Personal and advertising injury" arising out of a                 an electronic chatroom or bulletin board the
        criminal act committed by or at the direction of                   insured hosts, owns, or over which the insured
        the insured.                                                       exercises control.
   e.   Contractual Liability                                         l.   Unauthorized Use Of Another's Name Or
        "Personal and advertising injury" for which the                    Product
        insured has assumed liability in a contract or                     "Personal and advertising injury" arising out of
        agreement. This exclusion does not apply to                        the unauthorized use of another's name or pro-
        liability for damages that the insured would have                  duct in your e-mail address, domain name or
        in the absence of the contract or agreement.                       metatag, or any other similar tactics to mislead
   f.   Breach Of Contract                                                 another's potential customers.
        "Personal and advertising injury" arising out of a            m.   Pollution
        breach of contract, except an implied contract to                  "Personal and advertising injury" arising out of
        use another's advertising idea in your                             the actual, alleged or threatened discharge, dis-
        "advertisement".                                                   persal, seepage, migration, release or escape of
   g.   Quality Or Performance Of Goods – Failure                          "pollutants" at any time.
        To Conform To Statements                                      n.   Pollution-related
        "Personal and advertising injury" arising out of                   Any loss, cost or expense arising out of any:
        the failure of goods, products or services to con-                 (1) Request, demand, order or statutory or reg-
        form with any statement of quality or perfor-                           ulatory requirement that any insured or
        mance made in your "advertisement".                                     others test for, monitor, clean up, remove,
   h.   Wrong Description Of Prices                                             contain, treat, detoxify or neutralize, or in
        "Personal and advertising injury" arising out of                        any way respond to, or assess the effects
        the wrong description of the price of goods, pro-                       of, "pollutants"; or
        ducts or services stated in your "advertisement".                  (2) Claim or suit by or on behalf of a govern-
   i.   Infringement Of Copyright, Patent, Trade-                               mental authority for damages because of
        mark Or Trade Secret                                                    testing for, monitoring, cleaning up, remov-
        "Personal and advertising injury" arising out of                        ing, containing, treating, detoxifying or neu-
        the infringement of copyright, patent, trademark,                       tralizing, or in any way responding to, or as-
        trade secret or other intellectual property rights.                     sessing the effects of, "pollutants".
        Under this exclusion, such other intellectual                 o.   War
        property rights do not include the use of                          "Personal and advertising injury", however
        another's advertising idea in your                                 caused, arising, directly or indirectly, out of:
        "advertisement".                                                   (1) War, including undeclared or civil war;
        However, this exclusion does not apply to in-                      (2) Warlike action by a military force, including
        fringement, in your "advertisement", of copy-                           action in hindering or defending against an
        right, trade dress or slogan.                                           actual or expected attack, by any govern-
   j.   Insureds In Media And Internet Type                                     ment, sovereign or other authority using mili-
        Businesses                                                              tary personnel or other agents; or
        "Personal and advertising injury" committed by                     (3) Insurrection, rebellion, revolution, usurped
        an insured whose business is:                                           power, or action taken by governmental
        (1) Advertising, broadcasting, publishing or                            authority in hindering or defending against
             telecasting;                                                       any of these.


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    p. Recording And Distribution Of Material Or                       b. Hired Person
       Information In Violation Of Law                                    To a person hired to do work for or on behalf of
       "Personal and advertising injury" arising directly                 any insured or a tenant of any insured.
       or indirectly out of any action or omission that                c. Injury On Normally Occupied Premises
       violates or is alleged to violate:                                 To a person injured on that part of premises you
       (1) The Telephone Consumer Protection Act                          own or rent that the person normally occupies.
            (TCPA), including any amendment of or                      d. Workers' Compensation And Similar Laws
            addition to such law;                                         To a person, whether or not an "employee" of
       (2) The CAN-SPAM Act of 2003, including any                        any insured, if benefits for the "bodily injury" are
            amendment of or addition to such law;                         payable or must be provided under a workers'
       (3) The Fair Credit Reporting Act (FCRA), and                      compensation or disability benefits law or a
            any amendment of or addition to such law,                     similar law.
            including the Fair and Accurate Credit                     e. Athletics Activities
            Transactions Act (FACTA); or                                  To a person injured while practicing, instructing
       (4) Any federal, state or local statute, ordinance                 or participating in any physical exercises or
            or regulation, other than the TCPA,                           games, sports, or athletic contests.
            CAN-SPAM Act of 2003 or FCRA and their                     f. Products-Completed Operations Hazard
            amendments and additions, that addresses,                     Included within the "products-completed opera-
            prohibits, or limits the printing, dissemina-                 tions hazard".
            tion, disposal, collecting, recording, sending,            g. Coverage A Exclusions
            transmitting, communicating or distribution                   Excluded under Coverage A.
            of material or information.
                                                                   SUPPLEMENTARY PAYMENTS – COVERAGES A
COVERAGE C – MEDICAL PAYMENTS                                      AND B
1. Insuring Agreement                                              1. We will pay, with respect to any claim we investigate
   a. We will pay medical expenses as described                       or settle, or any "suit" against an insured we defend:
       below for "bodily injury" caused by an accident:               a. All expenses we incur.
       (1) On premises you own or rent;                               b. Up to $250 for cost of bail bonds required be-
       (2) On ways next to premises you own or rent;                      cause of accidents or traffic law violations aris-
            or                                                            ing out of the use of any vehicle to which the
       (3) Because of your operations;                                    Bodily Injury Liability Coverage applies. We do
       provided that:                                                     not have to furnish these bonds.
            (a) The accident takes place in the "cover-               c. The cost of bonds to release attachments, but
                 age territory" and during the policy                     only for bond amounts within the applicable limit
                 period;                                                  of insurance. We do not have to furnish these
            (b) The expenses are incurred and reported                    bonds.
                 to us within one year of the date of the             d. All reasonable expenses incurred by the insured
                 accident; and                                            at our request to assist us in the investigation or
            (c) The injured person submits to exami-                      defense of the claim or "suit", including actual
                 nation, at our expense, by physicians of                 loss of earnings up to $250 a day because of
                 our choice as often as we reasonably                     time off from work.
                 require.                                             e. All court costs taxed against the insured in the
   b. We will make these payments regardless of                           "suit". However, these payments do not include
       fault. These payments will not exceed the appli-                   attorneys' fees or attorneys' expenses taxed
       cable limit of insurance. We will pay reasonable                   against the insured.
       expenses for:                                                  f. Prejudgment interest awarded against the in-
       (1) First aid administered at the time of an                       sured on that part of the judgment we pay. If we
            accident;                                                     make an offer to pay the applicable limit of insur-
       (2) Necessary medical, surgical, X-ray and den-                    ance, we will not pay any prejudgment interest
            tal services, including prosthetic devices;                   based on that period of time after the offer.
            and                                                       g. All interest on the full amount of any judgment
       (3) Necessary ambulance, hospital, profes-                         that accrues after entry of the judgment and be-
            sional nursing and funeral services.                          fore we have paid, offered to pay, or deposited
2. Exclusions                                                             in court the part of the judgment that is within
   We will not pay expenses for "bodily injury":                          the applicable limit of insurance.
   a. Any Insured                                                     These payments will not reduce the limits of
       To any insured, except "volunteer workers".                    insurance.

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2. If we defend an insured against a "suit" and an in-                 payment of judgments or settlements or the condi-
   demnitee of the insured is also named as a party to                 tions set forth above, or the terms of the agreement
   the "suit", we will defend that indemnitee if all of the            described in Paragraph f. above, are no longer met.
   following conditions are met:
   a. The "suit" against the indemnitee seeks dam-                 SECTION II – WHO IS AN INSURED
        ages for which the insured has assumed the lia-            1. If you are designated in the Declarations as:
        bility of the indemnitee in a contract or agree-              a. An individual, you and your spouse are insureds,
        ment that is an "insured contract";                                but only with respect to the conduct of a busi-
   b. This insurance applies to such liability assumed                     ness of which you are the sole owner.
        by the insured;                                               b. A partnership or joint venture, you are an in-
   c. The obligation to defend, or the cost of the de-                     sured. Your members, your partners, and their
        fense of, that indemnitee, has also been as-                       spouses are also insureds, but only with respect
        sumed by the insured in the same "insured                          to the conduct of your business.
        contract";                                                    c. A limited liability company, you are an insured.
   d. The allegations in the "suit" and the information                    Your members are also insureds, but only with
        we know about the "occurrence" are such that                       respect to the conduct of your business. Your
        no conflict appears to exist between the inter-                    managers are insureds, but only with respect to
        ests of the insured and the interests of the                       their duties as your managers.
        indemnitee;                                                   d. An organization other than a partnership, joint
   e. The indemnitee and the insured ask us to con-                        venture or limited liability company, you are an
        duct and control the defense of that indemnitee                    insured. Your "executive officers" and directors
        against such "suit" and agree that we can assign                   are insureds, but only with respect to their duties
        the same counsel to defend the insured and the                     as your officers or directors. Your stockholders
        indemnitee; and                                                    are also insureds, but only with respect to their
   f. The indemnitee:                                                      liability as stockholders.
        (1) Agrees in writing to:                                     e. A trust, you are an insured. Your trustees are
              (a) Cooperate with us in the investigation,                  also insureds, but only with respect to their du-
                   settlement or defense of the "suit";                    ties as trustees.
              (b) Immediately send us copies of any de-            2. Each of the following is also an insured:
                   mands, notices, summonses or legal                 a. Your "volunteer workers" only while performing
                   papers received in connection with the                  duties related to the conduct of your business,
                   "suit";                                                 or your "employees", other than either your "ex-
              (c) Notify any other insurer whose coverage                  ecutive officers" (if you are an organization other
                   is available to the indemnitee; and                     than a partnership, joint venture or limited lia-
              (d) Cooperate with us with respect to coor-                  bility company) or your managers (if you are a
                   dinating other applicable insurance                     limited liability company), but only for acts within
                   available to the indemnitee; and                        the scope of their employment by you or while
        (2) Provides us with written authorization to:                     performing duties related to the conduct of your
              (a) Obtain records and other information                     business. However, none of these "employees"
                   related to the "suit"; and                              or "volunteer workers" are insureds for:
              (b) Conduct and control the defense of the                   (1) "Bodily injury" or "personal and advertising
                   indemnitee in such "suit".                                    injury":
   So long as the above conditions are met, attorneys'                           (a) To you, to your partners or members (if
   fees incurred by us in the defense of that indemni-                                you are a partnership or joint venture),
   tee, necessary litigation expenses incurred by us                                  to your members (if you are a limited lia-
   and necessary litigation expenses incurred by the                                  bility company), to a co-"employee"
   indemnitee at our request will be paid as Supple-                                  while in the course of his or her em-
   mentary Payments. Notwithstanding the provisions                                   ployment or performing duties related to
   of Paragraph 2.b.(2) of Section I – Coverage A –                                   the conduct of your business, or to your
   Bodily Injury And Property Damage Liability, such                                  other "volunteer workers" while perform-
   payments will not be deemed to be damages for                                      ing duties related to the conduct of your
   "bodily injury" and "property damage" and will not re-                             business;
   duce the limits of insurance.                                                 (b) To the spouse, child, parent, brother or
   Our obligation to defend an insured's indemnitee and                               sister of that co-"employee" or "volun-
   to pay for attorneys' fees and necessary litigation ex-                            teer worker" as a consequence of
   penses as Supplementary Payments ends when we                                      Paragraph (1)(a) above;
   have used up the applicable limit of insurance in the

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               (c) For which there is any obligation to                     a. Insureds;
                   share damages with or repay someone                      b. Claims made or "suits" brought; or
                   else who must pay damages because of                     c. Persons or organizations making claims or
                   the injury described in Paragraph (1)(a)                      bringing "suits".
                   or (b) above; or                                    2. The General Aggregate Limit is the most we will pay
               (d) Arising out of his or her providing or fail-             for the sum of:
                   ing to provide professional health care                  a. Medical expenses under Coverage C;
                   services.                                                b. Damages under Coverage A, except damages
          (2) "Property damage" to property:                                     because of "bodily injury" or "property damage"
               (a) Owned, occupied or used by;                                   included in the "products-completed operations
               (b) Rented to, in the care, custody or con-                       hazard"; and
                   trol of, or over which physical control is               c. Damages under Coverage B.
                   being exercised for any purpose by;                 3. The Products-Completed Operations Aggregate
               you, any of your "employees", "volunteer                     Limit is the most we will pay under Coverage A for
               workers", any partner or member (if you are                  damages because of "bodily injury" and "property
               a partnership or joint venture), or any mem-                 damage" included in the "products-completed opera-
               ber (if you are a limited liability company).                tions hazard".
    b. Any person (other than your "employee" or "vol-                 4. Subject to Paragraph 2. above, the Personal And
          unteer worker"), or any organization while acting                 Advertising Injury Limit is the most we will pay under
          as your real estate manager.                                      Coverage B for the sum of all damages because of
    c. Any person or organization having proper tem-                        all "personal and advertising injury" sustained by any
          porary custody of your property if you die, but                   one person or organization.
          only:                                                        5. Subject to Paragraph 2. or 3. above, whichever ap-
          (1) With respect to liability arising out of the                  plies, the Each Occurrence Limit is the most we will
               maintenance or use of that property; and                     pay for the sum of:
          (2) Until your legal representative has been                      a. Damages under Coverage A; and
               appointed.                                                   b. Medical expenses under Coverage C
    d. Your legal representative if you die, but only with                  because of all "bodily injury" and "property damage"
          respect to duties as such. That representative                    arising out of any one "occurrence".
          will have all your rights and duties under this              6. Subject to Paragraph 5. above, the Damage To
          Coverage Part.                                                    Premises Rented To You Limit is the most we will
3. Any organization you newly acquire or form, other                        pay under Coverage A for damages because of
    than a partnership, joint venture or limited liability                  "property damage" to any one premises, while
    company, and over which you maintain ownership or                       rented to you, or in the case of damage by fire, while
    majority interest, will qualify as a Named Insured if                   rented to you or temporarily occupied by you with
    there is no other similar insurance available to that                   permission of the owner.
    organization. However:                                             7. Subject to Paragraph 5. above, the Medical Expense
    a. Coverage under this provision is afforded only                       Limit is the most we will pay under Coverage C for
          until the 90th day after you acquire or form the                  all medical expenses because of "bodily injury" sus-
          organization or the end of the policy period,                     tained by any one person.
          whichever is earlier;                                        The Limits of Insurance of this Coverage Part apply sep-
    b. Coverage A does not apply to "bodily injury" or                 arately to each consecutive annual period and to any re-
          "property damage" that occurred before you ac-               maining period of less than 12 months, starting with the
          quired or formed the organization; and                       beginning of the policy period shown in the Declarations,
    c. Coverage B does not apply to "personal and ad-                  unless the policy period is extended after issuance for
          vertising injury" arising out of an offense com-             an additional period of less than 12 months. In that
          mitted before you acquired or formed the                     case, the additional period will be deemed part of the
          organization.                                                last preceding period for purposes of determining the
No person or organization is an insured with respect to                Limits of Insurance.
the conduct of any current or past partnership, joint ven-
ture or limited liability company that is not shown as a               SECTION IV – COMMERCIAL GENERAL LIABILITY
Named Insured in the Declarations.                                     CONDITIONS
                                                                       1. Bankruptcy
SECTION III – LIMITS OF INSURANCE                                         Bankruptcy or insolvency of the insured or of the
1. The Limits of Insurance shown in the Declarations                      insured's estate will not relieve us of our obligations
   and the rules below fix the most we will pay regard-                   under this Coverage Part.
   less of the number of:

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2. Duties In The Event Of Occurrence, Offense,                   4. Other Insurance
   Claim Or Suit                                                    If other valid and collectible insurance is available to
   a. You must see to it that we are notified as soon               the insured for a loss we cover under Coverages A
       as practicable of an "occurrence" or an offense              or B of this Coverage Part, our obligations are lim-
       which may result in a claim. To the extent                   ited as follows:
       possible, notice should include:                             a. Primary Insurance
       (1) How, when and where the "occurrence" or                       This insurance is primary except when Para-
             offense took place;                                         graph b. below applies. If this insurance is pri-
       (2) The names and addresses of any injured                        mary, our obligations are not affected unless
             persons and witnesses; and                                  any of the other insurance is also primary.
       (3) The nature and location of any injury or                      Then, we will share with all that other insurance
             damage arising out of the "occurrence" or                   by the method described in Paragraph c. below.
             offense.                                               b. Excess Insurance
   b. If a claim is made or "suit" is brought against                    (1) This insurance is excess over:
       any insured, you must:                                                (a) Any of the other insurance, whether pri-
       (1) Immediately record the specifics of the claim                          mary, excess, contingent or on any
             or "suit" and the date received; and                                 other basis:
       (2) Notify us as soon as practicable.                                      (i) That is Fire, Extended Coverage,
       You must see to it that we receive written notice                                Builder's Risk, Installation Risk or
       of the claim or "suit" as soon as practicable.                                   similar coverage for "your work";
   c. You and any other involved insured must:                                    (ii) That is Fire insurance for premises
       (1) Immediately send us copies of any de-                                        rented to you or temporarily occu-
             mands, notices, summonses or legal papers                                  pied by you with permission of the
             received in connection with the claim or                                   owner;
             "suit";                                                              (iii) That is insurance purchased by you
       (2) Authorize us to obtain records and other                                     to cover your liability as a tenant for
             information;                                                               "property damage" to premises
       (3) Cooperate with us in the investigation or set-                               rented to you or temporarily occu-
             tlement of the claim or defense against the                                pied by you with permission of the
             "suit"; and                                                                owner; or
       (4) Assist us, upon our request, in the enforce-                           (iv) If the loss arises out of the mainte-
             ment of any right against any person or                                    nance or use of aircraft, "autos" or
             organization which may be liable to the in-                                watercraft to the extent not subject
             sured because of injury or damage to which                                 to Exclusion g. of Section I – Cover-
             this insurance may also apply.                                             age A – Bodily Injury And Property
   d. No insured will, except at that insured's own                                     Damage Liability.
       cost, voluntarily make a payment, assume any                          (b) Any other primary insurance available to
       obligation, or incur any expense, other than for                           you covering liability for damages arising
       first aid, without our consent.                                            out of the premises or operations, or the
3. Legal Action Against Us                                                        products and completed operations, for
   No person or organization has a right under this                               which you have been added as an addi-
   Coverage Part:                                                                 tional insured.
   a. To join us as a party or otherwise bring us into a                 (2) When this insurance is excess, we will have
       "suit" asking for damages from an insured; or                         no duty under Coverages A or B to defend
   b. To sue us on this Coverage Part unless all of its                      the insured against any "suit" if any other in-
       terms have been fully complied with.                                  surer has a duty to defend the insured
   A person or organization may sue us to recover on                         against that "suit". If no other insurer de-
   an agreed settlement or on a final judgment against                       fends, we will undertake to do so, but we will
   an insured; but we will not be liable for damages that                    be entitled to the insured's rights against all
   are not payable under the terms of this Coverage                          those other insurers.
   Part or that are in excess of the applicable limit of                 (3) When this insurance is excess over other
   insurance. An agreed settlement means a settle-                           insurance, we will pay only our share of the
   ment and release of liability signed by us, the in-                       amount of the loss, if any, that exceeds the
   sured and the claimant or the claimant's legal                            sum of:
   representative.                                                           (a) The total amount that all such other in-
                                                                                  surance would pay for the loss in the
                                                                                  absence of this insurance; and

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             (b) The total of all deductible and self-            8. Transfer Of Rights Of Recovery Against Others
                  insured amounts under all that other               To Us
                  insurance.                                         If the insured has rights to recover all or part of any
       (4) We will share the remaining loss, if any, with            payment we have made under this Coverage Part,
             any other insurance that is not described in            those rights are transferred to us. The insured must
             this Excess Insurance provision and was not             do nothing after loss to impair them. At our request,
             bought specifically to apply in excess of the           the insured will bring "suit" or transfer those rights to
             Limits of Insurance shown in the Declara-               us and help us enforce them.
             tions of this Coverage Part.                         9. When We Do Not Renew
   c. Method Of Sharing                                              If we decide not to renew this Coverage Part, we will
       If all of the other insurance permits contribution            mail or deliver to the first Named Insured shown in
       by equal shares, we will follow this method also.             the Declarations written notice of the nonrenewal not
       Under this approach each insurer contributes                  less than 30 days before the expiration date.
       equal amounts until it has paid its applicable                If notice is mailed, proof of mailing will be sufficient
       limit of insurance or none of the loss remains,               proof of notice.
       whichever comes first.
       If any of the other insurance does not permit              SECTION V – DEFINITIONS
       contribution by equal shares, we will contribute           1. "Advertisement" means a notice that is broadcast or
       by limits. Under this method, each insurer's                  published to the general public or specific market
       share is based on the ratio of its applicable limit           segments about your goods, products or services for
       of insurance to the total applicable limits of                the purpose of attracting customers or supporters.
       insurance of all insurers.                                    For the purposes of this definition:
5. Premium Audit                                                     a. Notices that are published include material
   a. We will compute all premiums for this Coverage                      placed on the Internet or on similar electronic
       Part in accordance with our rules and rates.                       means of communication; and
   b. Premium shown in this Coverage Part as ad-                     b. Regarding web sites, only that part of a web site
       vance premium is a deposit premium only. At                        that is about your goods, products or services
       the close of each audit period we will compute                     for the purposes of attracting customers or sup-
       the earned premium for that period and send no-                    porters is considered an advertisement.
       tice to the first Named Insured. The due date              2. "Auto" means:
       for audit and retrospective premiums is the date              a. A land motor vehicle, trailer or semitrailer de-
       shown as the due date on the bill. If the sum of                   signed for travel on public roads, including any
       the advance and audit premiums paid for the                        attached machinery or equipment; or
       policy period is greater than the earned pre-                 b. Any other land vehicle that is subject to a com-
       mium, we will return the excess to the first                       pulsory or financial responsibility law or other
       Named Insured.                                                     motor vehicle insurance law where it is licensed
   c. The first Named Insured must keep records of                        or principally garaged.
       the information we need for premium computa-                  However, "auto" does not include "mobile
       tion, and send us copies at such times as we                  equipment".
       may request.                                               3. "Bodily injury" means bodily injury, sickness or dis-
6. Representations                                                   ease sustained by a person, including death result-
   By accepting this policy, you agree:                              ing from any of these at any time.
   a. The statements in the Declarations are accurate             4. "Coverage territory" means:
       and complete;                                                 a. The United States of America (including its
   b. Those statements are based upon representa-                         territories and possessions), Puerto Rico and
       tions you made to us; and                                          Canada;
   c. We have issued this policy in reliance upon your               b. International waters or airspace, but only if the
       representations.                                                   injury or damage occurs in the course of travel
7. Separation Of Insureds                                                 or transportation between any places included in
   Except with respect to the Limits of Insurance, and                    Paragraph a. above; or
   any rights or duties specifically assigned in this Cov-           c. All other parts of the world if the injury or
   erage Part to the first Named Insured, this insurance                  damage arises out of:
   applies:                                                               (1) Goods or products made or sold by you in
   a. As if each Named Insured were the only Named                             the territory described in Paragraph a.
       Insured; and                                                            above;
   b. Separately to each insured against whom claim                       (2) The activities of a person whose home is in
       is made or "suit" is brought.                                           the territory described in Paragraph a.

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               above, but is away for a short time on your                     (1) That indemnifies a railroad for "bodily injury"
               business; or                                                         or "property damage" arising out of con-
          (3) "Personal and advertising injury" offenses                            struction or demolition operations, within 50
               that take place through the Internet or simi-                        feet of any railroad property and affecting
               lar electronic means of communication;                               any railroad bridge or trestle, tracks, road-
     provided the insured's responsibility to pay damages                           beds, tunnel, underpass or crossing;
     is determined in a "suit" on the merits, in the territory                 (2) That indemnifies an architect, engineer or
     described in Paragraph a. above or in a settlement                             surveyor for injury or damage arising out of:
     we agree to.                                                                   (a) Preparing, approving, or failing to pre-
5.   "Employee" includes a "leased worker". "Employee"                                    pare or approve, maps, shop drawings,
     does not include a "temporary worker".                                               opinions, reports, surveys, field orders,
6.   "Executive officer" means a person holding any of                                    change orders or drawings and specifi-
     the officer positions created by your charter, consti-                               cations; or
     tution, bylaws or any other similar governing                                  (b) Giving directions or instructions, or fail-
     document.                                                                            ing to give them, if that is the primary
7.   "Hostile fire" means one which becomes uncontrol-                                    cause of the injury or damage; or
     lable or breaks out from where it was intended to be.                     (3) Under which the insured, if an architect, en-
8.   "Impaired property" means tangible property, other                             gineer or surveyor, assumes liability for an
     than "your product" or "your work", that cannot be                             injury or damage arising out of the insured's
     used or is less useful because:                                                rendering or failure to render professional
     a. It incorporates "your product" or "your work" that                          services, including those listed in (2) above
          is known or thought to be defective, deficient,                           and supervisory, inspection, architectural or
          inadequate or dangerous; or                                               engineering activities.
     b. You have failed to fulfill the terms of a contract            10. "Leased worker" means a person leased to you by a
          or agreement;                                                   labor leasing firm under an agreement between you
     if such property can be restored to use by the repair,               and the labor leasing firm, to perform duties related
     replacement, adjustment or removal of "your pro-                     to the conduct of your business. "Leased worker"
     duct" or "your work" or your fulfilling the terms of the             does not include a "temporary worker".
     contract or agreement.                                           11. "Loading or unloading" means the handling of
9.   "Insured contract" means:                                            property:
     a. A contract for a lease of premises. However,                      a. After it is moved from the place where it is ac-
          that portion of the contract for a lease of pre-                     cepted for movement into or onto an aircraft,
          mises that indemnifies any person or organiza-                       watercraft or "auto";
          tion for damage by fire to premises while rented                b. While it is in or on an aircraft, watercraft or
          to you or temporarily occupied by you with per-                      "auto"; or
          mission of the owner is not an "insured                         c. While it is being moved from an aircraft, water-
          contract";                                                           craft or "auto" to the place where it is finally
     b. A sidetrack agreement;                                                 delivered;
     c. Any easement or license agreement, except in                      but "loading or unloading" does not include the
          connection with construction or demolition op-                  movement of property by means of a mechanical
          erations on or within 50 feet of a railroad;                    device, other than a hand truck, that is not attached
     d. An obligation, as required by ordinance, to in-                   to the aircraft, watercraft or "auto".
          demnify a municipality, except in connection with           12. "Mobile equipment" means any of the following
          work for a municipality;                                        types of land vehicles, including any attached ma-
     e. An elevator maintenance agreement;                                chinery or equipment:
     f. That part of any other contract or agreement                      a. Bulldozers, farm machinery, forklifts and other
          pertaining to your business (including an indem-                     vehicles designed for use principally off public
          nification of a municipality in connection with                      roads;
          work performed for a municipality) under which                  b. Vehicles maintained for use solely on or next to
          you assume the tort liability of another party to                    premises you own or rent;
          pay for "bodily injury" or "property damage" to a               c. Vehicles that travel on crawler treads;
          third person or organization. Tort liability means              d. Vehicles, whether self-propelled or not, main-
          a liability that would be imposed by law in the                      tained primarily to provide mobility to perma-
          absence of any contract or agreement.                                nently mounted:
          Paragraph f. does not include that part of any                       (1) Power cranes, shovels, loaders, diggers or
          contract or agreement:                                                    drills; or


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        (2) Road construction or resurfacing equipment                e. Oral or written publication, in any manner, of
             such as graders, scrapers or rollers;                        material that violates a person's right of privacy;
    e. Vehicles not described in Paragraph a., b., c. or              f. The use of another's advertising idea in your
        d. above that are not self-propelled and are                      "advertisement"; or
        maintained primarily to provide mobility to per-              g. Infringing upon another's copyright, trade dress
        manently attached equipment of the following                      or slogan in your "advertisement".
        types:                                                    15. "Pollutants" mean any solid, liquid, gaseous or ther-
        (1) Air compressors, pumps and generators,                    mal irritant or contaminant, including smoke, vapor,
             including spraying, welding, building clean-             soot, fumes, acids, alkalis, chemicals and waste.
             ing, geophysical exploration, lighting and               Waste includes materials to be recycled, recondi-
             well servicing equipment; or                             tioned or reclaimed.
        (2) Cherry pickers and similar devices used to            16. "Products-completed operations hazard":
             raise or lower workers;                                  a. Includes all "bodily injury" and "property dam-
    f. Vehicles not described in Paragraph a., b., c. or                  age" occurring away from premises you own or
        d. above maintained primarily for purposes other                  rent and arising out of "your product" or "your
        than the transportation of persons or cargo.                      work" except:
        However, self-propelled vehicles with the follow-                 (1) Products that are still in your physical
        ing types of permanently attached equipment                             possession; or
        are not "mobile equipment" but will be con-                       (2) Work that has not yet been completed or
        sidered "autos":                                                        abandoned. However, "your work" will be
        (1) Equipment designed primarily for:                                   deemed completed at the earliest of the
             (a) Snow removal;                                                  following times:
             (b) Road maintenance, but not construction                         (a) When all of the work called for in your
                  or resurfacing; or                                                 contract has been completed.
             (c) Street cleaning;                                               (b) When all of the work to be done at the
        (2) Cherry pickers and similar devices mounted                               job site has been completed if your con-
             on automobile or truck chassis and used to                              tract calls for work at more than one job
             raise or lower workers; and                                             site.
        (3) Air compressors, pumps and generators,                              (c) When that part of the work done at a job
             including spraying, welding, building clean-                            site has been put to its intended use by
             ing, geophysical exploration, lighting and                              any person or organization other than
             well servicing equipment.                                               another contractor or subcontractor
    However, "mobile equipment" does not include any                                 working on the same project.
    land vehicles that are subject to a compulsory or fi-                       Work that may need service, maintenance,
    nancial responsibility law or other motor vehicle in-                       correction, repair or replacement, but which
    surance law where it is licensed or principally ga-                         is otherwise complete, will be treated as
    raged. Land vehicles subject to a compulsory or fi-                         completed.
    nancial responsibility law or other motor vehicle in-             b. Does not include "bodily injury" or "property
    surance law are considered "autos".                                   damage" arising out of:
13. "Occurrence" means an accident, including continu-                    (1) The transportation of property, unless the in-
    ous or repeated exposure to substantially the same                          jury or damage arises out of a condition in or
    general harmful conditions.                                                 on a vehicle not owned or operated by you,
14. "Personal and advertising injury" means injury, in-                         and that condition was created by the "load-
    cluding consequential "bodily injury", arising out of                       ing or unloading" of that vehicle by any
    one or more of the following offenses:                                      insured;
    a. False arrest, detention or imprisonment;                           (2) The existence of tools, uninstalled equip-
    b. Malicious prosecution;                                                   ment or abandoned or unused materials; or
    c. The wrongful eviction from, wrongful entry into,                   (3) Products or operations for which the classifi-
        or invasion of the right of private occupancy of a                      cation, listed in the Declarations or in a pol-
        room, dwelling or premises that a person occu-                          icy Schedule, states that products-com-
        pies, committed by or on behalf of its owner,                           pleted operations are subject to the General
        landlord or lessor;                                                     Aggregate Limit.
    d. Oral or written publication, in any manner, of             17. "Property damage" means:
        material that slanders or libels a person or orga-            a. Physical injury to tangible property, including all
        nization or disparages a person's or organiza-                    resulting loss of use of that property. All such
        tion's goods, products or services;                               loss of use shall be deemed to occur at the time
                                                                          of the physical injury that caused it; or

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    b. Loss of use of tangible property that is not physi-         21. "Your product":
        cally injured. All such loss of use shall be                   a. Means:
        deemed to occur at the time of the "occurrence"                   (1) Any goods or products, other than real prop-
        that caused it.                                                        erty, manufactured, sold, handled, distrib-
    For the purposes of this insurance, electronic data is                     uted or disposed of by:
    not tangible property.                                                     (a) You;
    As used in this definition, electronic data means in-                      (b) Others trading under your name; or
    formation, facts or programs stored as or on,                              (c) A person or organization whose busi-
    created or used on, or transmitted to or from com-                              ness or assets you have acquired; and
    puter software, including systems and applications                    (2) Containers (other than vehicles), materials,
    software, hard or floppy disks, CD-ROMs, tapes,                            parts or equipment furnished in connection
    drives, cells, data processing devices or any other                        with such goods or products.
    media which are used with electronically controlled                b. Includes:
    equipment.                                                            (1) Warranties or representations made at any
18. "Suit" means a civil proceeding in which damages                           time with respect to the fitness, quality, du-
    because of "bodily injury", "property damage" or                           rability, performance or use of "your pro-
    "personal and advertising injury" to which this insur-                     duct"; and
    ance applies are alleged. "Suit" includes:                            (2) The providing of or failure to provide warn-
    a. An arbitration proceeding in which such dam-                            ings or instructions.
        ages are claimed and to which the insured must                 c. Does not include vending machines or other
        submit or does submit with our consent; or                        property rented to or located for the use of
    b. Any other alternative dispute resolution proceed-                  others but not sold.
        ing in which such damages are claimed and to               22. "Your work":
        which the insured submits with our consent.                    a. Means:
19. "Temporary worker" means a person who is fur-                         (1) Work or operations performed by you or on
    nished to you to substitute for a permanent "employ-                       your behalf; and
    ee" on leave or to meet seasonal or short-term work-                  (2) Materials, parts or equipment furnished in
    load conditions.                                                           connection with such work or operations.
20. "Volunteer worker" means a person who is not your                  b. Includes:
    "employee", and who donates his or her work and                       (1) Warranties or representations made at any
    acts at the direction of and within the scope of duties                    time with respect to the fitness, quality, du-
    determined by you, and is not paid a fee, salary or                        rability, performance or use of "your work";
    other compensation by you or anyone else for their                         and
    work performed for you.                                               (2) The providing of or failure to provide warn-
                                                                               ings or instructions.




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                                                                                      COMMERCIAL GENERAL LIABILITY
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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       EXCLUSION – ACCESS OR DISCLOSURE OF
     CONFIDENTIAL OR PERSONAL INFORMATION AND
            DATA-RELATED LIABILITY – WITH
          LIMITED BODILY INJURY EXCEPTION
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Exclusion 2.p. of Section I – Coverage A – Bodily                            As used in this exclusion, electronic data
   Injury And Property Damage Liability is replaced                             means information, facts or programs stored
   by the following:                                                            as or on, created or used on, or transmitted
   2. Exclusions                                                                to or from computer software, including sys-
       This insurance does not apply to:                                        tems and applications software, hard or
       p. Access Or Disclosure Of Confidential Or                               floppy disks, CD-ROMs, tapes, drives, cells,
            Personal Information And Data-related                               data processing devices or any other media
            Liability                                                           which are used with electronically controlled
            Damages arising out of:                                             equipment.
            (1) Any access to or disclosure of any per-            B. The following is added to Paragraph 2. Exclusions
                 son's or organization's confidential or              of Section I – Coverage B – Personal And Adver-
                 personal information, including patents,             tising Injury Liability:
                 trade secrets, processing methods, cus-              2. Exclusions
                 tomer lists, financial information, credit                This insurance does not apply to:
                 card information, health information or                   Access Or Disclosure Of Confidential Or
                 any other type of nonpublic information;                  Personal Information
                 or                                                        "Personal and advertising injury" arising out of
            (2) The loss of, loss of use of, damage to,                    any access to or disclosure of any person's or
                 corruption of, inability to access, or in-                organization's confidential or personal informa-
                 ability to manipulate electronic data.                    tion, including patents, trade secrets, pro-
            This exclusion applies even if damages are                     cessing methods, customer lists, financial infor-
            claimed for notification costs, credit moni-                   mation, credit card information, health informa-
            toring expenses, forensic expenses, public                     tion or any other type of nonpublic information.
            relations expenses or any other loss, cost or                  This exclusion applies even if damages are
            expense incurred by you or others arising                      claimed for notification costs, credit monitoring
            out of that which is described in Paragraph                    expenses, forensic expenses, public relations
            (1) or (2) above.                                              expenses or any other loss, cost or expense
            However, unless Paragraph (1) above ap-                        incurred by you or others arising out of any
            plies, this exclusion does not apply to dam-                   access to or disclosure of any person's or orga-
            ages because of "bodily injury".                               nization's confidential or personal information.




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                                                                                  COMMERCIAL GENERAL LIABILITY
                                                                                                 CG 21 32 05 09


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                 COMMUNICABLE DISEASE EXCLUSION
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.             B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I - Coverage A - Bodily                   Exclusions of Section I - Coverage B - Personal
   Injury And Property Damage Liability:                           And Advertising Injury Liability:
   2. Exclusions                                                   2. Exclusions
       This insurance does not apply to:                              This insurance does not apply to:
       Communicable Disease                                           Communicable Disease
       "Bodily injury" or "property damage" arising out               "Personal and advertising injury" arising out of
       of the actual or alleged transmission of a com-                the actual or alleged transmission of a com-
       municable disease.                                             municable disease.
       This exclusion applies even if the claims against              This exclusion applies even if the claims against
       any insured allege negligence or other wrong-                  any insured allege negligence or other wrong-
       doing in the:                                                  doing in the:
       a. Supervising, hiring, employing, training or                 a. Supervising, hiring, employing, training or
            monitoring of others that may be infected                       monitoring of others that may be infected
            with and spread a communicable disease;                         with and spread a communicable disease;
       b. Testing for a communicable disease;                         b. Testing for a communicable disease;
       c. Failure to prevent the spread of the disease;               c. Failure to prevent that spread of the
            or                                                              disease; or
       d. Failure to report the disease to authorities.               d. Failure to report the disease to authorities.




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                                                                                  COMMERCIAL GENERAL LIABILITY
                                                                                                 CG 21 47 12 07


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


      EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,            B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily                   Exclusions of Section I - Coverage B - Personal
   Injury And Property Damage Liability:                           And Advertising Injury Liability:
   This insurance does not apply to:                               This insurance does not apply to:
   "Bodily injury" to:                                             "Personal and advertising injury" to:
   (1) A person arising out of any:                                (1) A person arising out of any:
       (a) Refusal to employ that person;                              (a) Refusal to employ that person;
       (b) Termination of that person's employment; or                 (b) Termination of that person's employment; or
       (c) Employment-related practices, policies, acts                (c) Employment-related practices, policies, acts
            or omissions, such as coercion, demotion,                       or omissions, such as coercion, demotion,
            evaluation, reassignment, discipline, def-                      evaluation, reassignment, discipline, defa-
            amation, harassment, humiliation, discrim-                      mation, harassment, humiliation, discrim-
            ination or malicious prosecution directed at                    ination or malicious prosecution directed at
            that person; or                                                 that person; or
   (2) The spouse, child, parent, brother or sister of             (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"                 that person as a consequence of "personal and
       to that person at whom any of the employment-                   advertising injury" to that person at whom any of
       related practices described in Paragraphs (a),                  the employment-related practices described in
       (b), or (c) above is directed.                                  Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                         This exclusion applies:
   (1) Whether the injury-causing event described in               (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before                  Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                      employment, during employment or after
       ployment of that person;                                        employment of that person;
   (2) Whether the insured may be liable as an em-                 (2) Whether the insured may be liable as an em-
       ployer or in any other capacity; and                            ployer or in any other capacity; and
   (3) To any obligation to share damages with or re-              (3) To any obligation to share damages with or
       pay someone else who must pay damages                           repay someone else who must pay damages
       because of the injury.                                          because of the injury.




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                                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                                      CG 21 96 03 05


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         SILICA OR SILICA-RELATED DUST EXCLUSION
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,               B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily                      Exclusions of Section I – Coverage B – Personal
   Injury And Property Damage Liability:                              And Advertising Injury Liability:
   2. Exclusions                                                      2. Exclusions
       This insurance does not apply to:                                  This insurance does not apply to:
       Silica Or Silica-Related Dust                                      Silica Or Silica-Related Dust
       a. "Bodily injury" arising, in whole or in part, out               a. "Personal and advertising injury" arising, in
            of the actual, alleged, threatened or sus-                          whole or in part, out of the actual, alleged,
            pected inhalation of, or ingestion of, "silica"                     threatened or suspected inhalation of, inges-
            or "silica-related dust".                                           tion of, contact with, exposure to, existence
       b. "Property damage" arising, in whole or in                             of, or presence of, "silica" or "silica-related
            part, out of the actual, alleged, threatened or                     dust".
            suspected contact with, exposure to, exis-                    b. Any loss, cost or expense arising, in whole
            tence of, or presence of, "silica" or "silica-                      or in part, out of the abating, testing for,
            related dust".                                                      monitoring, cleaning up, removing, contain-
       c. Any loss, cost or expense arising, in whole                           ing, treating, detoxifying, neutralizing, reme-
            or in part, out of the abating, testing for,                        diating or disposing of, or in any way re-
            monitoring, cleaning up, removing, contain-                         sponding to or assessing the effects of, "sil-
            ing, treating, detoxifying, neutralizing, reme-                     ica" or "silica-related dust", by any insured
            diating or disposing of, or in any way re-                          or by any other person or entity.
            sponding to or assessing the effects of,               C. The following definitions are added to the Defini-
            "silica" or "silica-related dust", by any in-             tions Section:
            sured or by any other person or entity.                   1. "Silica" means silicon dioxide (occurring in crys-
                                                                          talline, amorphous and impure forms), silica par-
                                                                          ticles, silica dust or silica compounds.
                                                                      2. "Silica-related dust" means a mixture or combi-
                                                                          nation of silica and other dust or particles.




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                                                                                            COMMERCIAL GENERAL
                                                                                                       LIABILITY
                                                                                                   CG 26 08 04 90


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        ARKANSAS CHANGES - MULTI-YEAR POLICIES
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
LIQUOR LIABILITY COVERAGE PART
POLLUTION LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

The following is added to the Common Policy Conditions:

G. MULTI-YEAR POLICIES

   We may issue this policy for a term in excess of twelve months with the premium adjusted on an annual basis in
   accordance with our rates and rules.



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                                                                                  COMMERCIAL GENERAL LIABILITY
                                                                                                 CG 21 09 06 15


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                   EXCLUSION - UNMANNED AIRCRAFT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Exclusion 2.g. Aircraft, Auto Or Watercraft under                          or entrustment to others of any aircraft
   Section I – Coverage A – Bodily Injury And Prop-                           (other than "unmanned aircraft"), "auto"
   erty Damage Liability is replaced by the following:                        or watercraft that is owned or operated
   2. Exclusions                                                              by or rented or loaned to any insured.
       This insurance does not apply to:                                      This Paragraph g.(2) does not apply to:
       g. Aircraft, Auto Or Watercraft                                        (a) A watercraft while ashore on prem-
           (1) Unmanned Aircraft                                                   ises you own or rent;
               "Bodily injury" or "property damage"                           (b) A watercraft you do not own that is:
               arising out of the ownership, mainte-                               (i) Less than 26 feet long; and
               nance, use or entrustment to others of                              (ii) Not being used to carry persons
               any aircraft that is an "unmanned air-                                   or property for a charge;
               craft". Use includes operation and                             (c) Parking an "auto" on, or on the
               "loading or unloading".                                             ways next to, premises you own or
               This Paragraph g.(1) applies even if the                            rent, provided the "auto" is not
               claims against any insured allege negli-                            owned by or rented or loaned to you
               gence or other wrongdoing in the super-                             or the insured;
               vision, hiring, employment, training or                        (d) Liability assumed under any "in-
               monitoring of others by that insured, if                            sured contract" for the ownership,
               the "occurrence" which caused the                                   maintenance or use of aircraft or
               "bodily injury" or "property damage" in-                            watercraft; or
               volved the ownership, maintenance, use                          (e) "Bodily injury" or "property damage"
               or entrustment to others of any aircraft                            arising out of:
               that is an "unmanned aircraft".                                     (i) The operation of machinery or
           (2) Aircraft (Other Than Unmanned                                            equipment that is attached to, or
               Aircraft), Auto Or Watercraft                                            part of, a land vehicle that would
               "Bodily injury" or "property damage"                                     qualify under the definition of
               arising out of the ownership, mainte-                                    "mobile equipment" if it were not
               nance, use or entrustment to others of                                   subject to a compulsory or fi-
               any aircraft (other than "unmanned air-                                  nancial responsibility law or
               craft"), "auto" or watercraft owned or                                   other motor vehicle insurance
               operated by or rented or loaned to any                                   law where it is licensed or prin-
               insured. Use includes operation and                                      cipally garaged; or
               "loading or unloading".                                             (ii) The operation of any of the ma-
               This Paragraph g.(2) applies even if the                                 chinery or equipment listed in
               claims against any insured allege negli-                                 Paragraph f.(2) or f.(3) of the
               gence or other wrongdoing in the super-                                  definition of "mobile equipment".
               vision, hiring, employment, training or         B. The following exclusion is added to Paragraph 2.
               monitoring of others by that insured, if           Exclusions of Coverage B – Personal And
               the "occurrence" which caused the                  Advertising Injury Liability:
               "bodily injury" or "property damage" in-           2. Exclusions
               volved the ownership, maintenance, use                This insurance does not apply to:


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       Unmanned Aircraft                                                  a. The use of another's advertising idea in your
       "Personal and advertising injury" arising out of                        "advertisement"; or
       the ownership, maintenance, use or entrustment                     b. Infringing upon another's copyright, trade
       to others of any aircraft that is an "unmanned                          dress or slogan in your "advertisement".
       aircraft". Use includes operation and "loading or           C. The following definition is added to the Definitions
       unloading".                                                    section:
       This exclusion applies even if the claims against              "Unmanned aircraft" means an aircraft that is not:
       any insured allege negligence or other wrong-                  1. Designed;
       doing in the supervision, hiring, employment,                  2. Manufactured; or
       training or monitoring of others by that insured, if           3. Modified after manufacture;
       the offense which caused the "personal and ad-                 to be controlled directly by a person from within or
       vertising injury" involved the ownership, mainte-              on the aircraft.
       nance, use or entrustment to others of any air-
       craft that is an "unmanned aircraft".
       This exclusion does not apply to:



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                                                                                                            IL 01 99 07 02


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     ARKANSAS CHANGES - TRANSFER OF RIGHTS OF
         RECOVERY AGAINST OTHERS TO US
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
FARM LIABILITY COVERAGE FORM
FARM UMBRELLA LIABILITY POLICY
LIQUOR LIABILITY COVERAGE PART
OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
POLLUTION LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
PROFESSIONAL LIABILITY
RAILROAD PROTECTIVE LIABILITY COVERAGE PART
UNDERGROUND STORAGE TANK POLICY

The following is added to the Transfer Of Rights Of Recovery Against Others To Us Condition:

We will be entitled to recovery only after the insured ("insured") has been fully compensated for the loss or damage
sustained, including expenses incurred in obtaining full compensation for the loss or damage.



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                                                                                                                        59350 (1-15)



                    CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
                                         AND
                   IMPORTANT INFORMATION REGARDING TERRORISM RISK
                                 INSURANCE COVERAGE

It is agreed:

1. With respect to any one or more certified acts of terrorism, we will not pay any amounts for which we are not respon-
   sible because of the application of any provision which results in a cap on our liability for payments for terrorism
   losses in accordance with the terms of the federal Terrorism Risk Insurance Act of 2002 (including ensuing Congres-
   sional actions pursuant to the Act).

2. Certified act of terrorism means any act certified by the Secretary of the Treasury, in consultation with:

    a. the Secretary of Homeland Security; and
    b. the Attorney General of the United States

    to be an act of terrorism as defined and in accordance with the federal Terrorism Risk Insurance Act of 2002 (includ-
    ing ensuing Congressional actions pursuant to the Act).

3. Under the federal Terrorism Risk Act of 2002 (including ensuing Congressional actions pursuant to the Act) a terrorist
   act may be certified:

    a. if the aggregate covered commercial property and casualty insurance losses resulting from the terrorist act ex-
       ceed $5 million; and

    b. (1) if the act of terrorism is:

                a) a violent act; or

                b) an act that is dangerous to human life, property or infrastructure; and

         (2) if the act is committed:

                a) by an individual or individuals as part of an effort to coerce the civilian population of the United States; or

                b) to influence the policy or affect the conduct of the United States government by coercion.

All other policy terms and conditions apply.




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                IMPORTANT INFORMATION REGARDING TERRORISM RISK
                              INSURANCE COVERAGE

The Terrorism Risk Insurance Act of 2002 was signed into law on November 26, 2002. The Act (including ensuing Con-
gressional actions pursuant to the Act) defines an act of terrorism, to mean any act that is certified by the Secretary of the
Treasury, in consultation with the Secretary of Homeland Security and the Attorney General of the United States to be (i)
an act of terrorism; (ii) to be a violent act or an act that is dangerous to human life, property or infrastructure; (iii) to have
resulted in damage within the United States or outside the United States in the case of certain air carriers or vessels or
the premises of a United States mission; and (iv) to have been committed by an individual or individuals as part of an ef-
fort to coerce the civilian population of the United States or to influence the policy or affect the conduct of the United
States government by coercion.

Subject to the policy terms and conditions, this policy provides insurance coverage for acts of terrorism as defined in the
Act.

Any coverage for certain commercial lines of property and casualty insurance provided by your policy for losses caused
by certified acts of terrorism are partially paid by the federal government under a formula established by federal law. Un-
der this formula, the government will reimburse us for 85% of such covered losses that exceed the statutory deductible
paid by us. However, beginning January 1, 2016 the share will decrease 1% per calendar year until it equals 80%. You
should also know that in the event aggregate insured losses exceed $100 billion during any year the Act is in ef-
fect, then the federal government and participating United States insurers that have met their insurer deductible
shall not be liable for the payment of any portion of that amount of the loss that exceeds $100 billion. In the event
that aggregate insured losses exceed $100 billion annually, no additional claims will be paid by the federal gov-
ernment or insurers. This formula is currently effective through December 31, 2020 unless extended.

The premium charge, if any, for this coverage is shown separately on the attached Declarations page. In the event of a
certified act of terrorism, future policies also may include a government assessed terrorism loss risk-spreading premium in
accordance with the provisions of the Act.

Please contact us if you would like to reject coverage for certified acts of terrorism.




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                                                                                                             59372 (6-07)


            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 ARKANSAS CHANGES - CANCELLATION
                        AND NONRENEWAL
This endorsement modifies insurance provided under the following:

COMMERCIAL AUTOMOBILE COVERAGE PART
COMMERCIAL GENERAL LIABILITY COVERAGE PART
COMMERCIAL INLAND MARINE COVERAGE PART
COMMERCIAL PROPERTY COVERAGE PART
CRIME COVERAGE PART
LIQUOR LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
COMMON POLICY CONDITIONS

1. Under COMMON POLICY CONDITIONS, A. CANCELLATION, paragraphs 2. and 5. are replaced by the following:

   2. We may cancel this policy by mailing or delivering to the first Named Insured written notice of cancellation
      at least:

       a. 10 days before the effective date of cancellation if we cancel for nonpayment of premium; or

       b. 20 days before the effective date of cancellation if we cancel for any other reason.

   5. a. If this policy is canceled, we will send the first Named Insured any premium refund due.

       b. When this policy is canceled by us, we will refund the pro rata unearned premium.

       c.    When this policy is canceled at the request of the first Named Insured, we will refund the pro rata unearned
             premium. However, the refund may be less than pro rata when subject to a minimum premium as shown on
             the Declarations.

2. The following is added to COMMON POLICY CONDITIONS, A. CANCELLATION:

   a. Cancellation Of Policies In Effect 60 Days Or Less

       If this policy has been in effect for 60 days or less, we may cancel for any reason.

   b. Cancellation Of Policies In Effect More Than 60 Days

       If this policy has been in effect more than 60 days or is a renewal policy, we may cancel only for one or more of
       the following reasons:

       (1) Nonpayment of premium;

       (2) Fraud or material misrepresentation made by you or with your knowledge in obtaining the policy, continuing
           the policy or in presenting a claim under the policy;


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        (3) The occurrence of a material change in the risk which substantially increases any hazard insured against
            after policy issuance;

        (4) Violation of any local fire, health, safety, building or construction regulation or ordinance with respect to any
            insured property or its occupancy which substantially increases, any hazard insured against under the policy;

        (5) Nonpayment of membership dues in those cases where our by-laws, agreements or other legal instruments
            require payment as a condition of the issuance and maintenance of the policy; or

        (6) A material violation of a material provision of the policy.

   c.   If we cancel for:

        (1) Nonpayment of premium, we will mail or deliver written notice of cancellation, stating the reason for
            cancellation, to the first Named Insured and any lienholder or loss payee named in the policy at least 10 days
            before the effective date of cancellation.

        (2) Any other reason, we will mail or deliver notice of cancellation to the first Named Insured and any lienholder
            or loss payee named in the policy at least 20 days before the effective date of cancellation.

   d. The following applies to the Commercial Automobile Coverage Part:

        (1) If we cancel for nonpayment of premium, we will mail or deliver written notice of cancellation, stating the
            reason for cancellation, to the first Named Insured and any lienholder or loss payee named in the policy, and
            any lessee of whom we have received notification prior to the loss, at least 10 days before the effective date
            of cancellation.

        (2) If we cancel for any other reason, we will mail or deliver notice of cancellation to the first Named Insured and
            any lienholder or loss payee named in the policy, and any lessee of whom we have received notification prior
            to the loss, at least 20 days before the effective date of cancellation.

3. The following is added to the COMMON POLICY CONDITIONS:

   NONRENEWAL

   If we decide not to renew this policy, we will mail to the first Named Insured shown in the Declarations written notice
   of nonrenewal at least 60 days before its expiration date.

   However, we are not required to send this notice if nonrenewal is due to your failure to pay any premium required for
   renewal.




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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                CALCULATION OF PREMIUM
   This endorsement modifies insurance provided under the following:

       BOILER AND MACHINERY COVERAGE PART
       CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
       COMMERCIAL AUTOMOBILE COVERAGE PART
       COMMERCIAL GENERAL LIABILITY COVERAGE PART
       COMMERCIAL INLAND MARINE COVERAGE PART
       COMMERCIAL PROPERTY COVERAGE PART
       CRIME AND FIDELITY COVERAGE PART
       EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
       FARM COVERAGE PART
       LIQUOR LIABILITY COVERAGE PART
       OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
       POLLUTION LIABILITY COVERAGE PART
       PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
       PROFESSIONAL LIABILITY COVERAGE PART
       RAILROAD PROTECTIVE LIABILITY COVERAGE PART

   The following is added:

   The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued. On
   each renewal, continuation, or anniversary of the effective date of this policy, we will compute the premium in accordance
   with our rates and rules then in effect.


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                                        COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.


A. CANCELLATION                                                           C. EXAMINATIONS OF YOUR BOOKS AND
                                                                             RECORDS
     1. The first Named Insured shown in the Declara-
        tions may cancel this policy by mailing or                             We may examine and audit your books and records
        delivering to us advance written notice of                             as they relate to this policy at any time during the
        cancellation.                                                          policy period and up to three years afterward.

     2. We may cancel this policy by mailing or deliver-                  D. INSPECTIONS AND SURVEYS
        ing to the first Named Insured written notice of
        cancellation at least:                                                 We have the right but are not obligated to:

          a. 10 days before the effective date of cancel-                      1. Make inspections and surveys at any time;
             lation if we cancel for nonpayment of pre-
             mium; or                                                          2. Give you reports on the conditions we find; and

          b. 30 days before the effective date of cancel-                      3. Recommend changes.
             lation if we cancel for any other reason.
                                                                               Any inspections, surveys, reports or recommenda-
     3. We will mail or deliver our notice to the first                        tions relate only to insurability and the premiums to
        Named Insured's last mailing address known to                          be charged. We do not make safety inspections.
        us.                                                                    We do not undertake to perform the duty of any
                                                                               person or organization to provide for the health or
     4. Notice of cancellation will state the effective date                   safety of workers or the public. And we do not
        of cancellation. The policy period will end on                         warrant that conditions:
        that date.
                                                                               1. Are safe or healthful; or
     5. If this policy is cancelled, we will send the first
        Named Insured any premium refund due. If we                            2. Comply with laws, regulations, codes or stan-
        cancel, the refund will be pro rata. If the first                         dards.
        Named Insured cancels, the refund may be less
        than pro rata. The cancellation will be effective                      This condition applies not only to us, but also to any
        even if we have not made or offered a refund.                          rating, advisory, rate service or similar organization
                                                                               which makes insurance inspections, surveys, reports
     6. If notice is mailed, proof of mailing will be suffi-                   or recommendations.
        cient proof of notice.
                                                                          E. PREMIUMS
B. CHANGES
                                                                               The first Named Insured shown in the Declarations:
     This policy contains all the agreements between you
     and us concerning the insurance afforded. The first                       1. Is responsible for the payment of all premiums;
     Named Insured shown in the Declarations is autho-                            and
     rized to make changes in the terms of this policy
     with our consent. This policy's terms can be                              2. Will be the payee for any return premiums we
     amended or waived only by endorsement issued by                              pay.
     us and made a part of this policy.




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F. TRANSFER OF YOUR RIGHTS AND DUTIES                                        If you die, your rights and duties will be transferred
   UNDER THIS POLICY                                                         to your legal representative but only while acting
                                                                             within the scope of duties as your legal representa-
     Your rights and duties under this policy may not be                     tive. Until your legal representative is appointed,
     transferred without our written consent except in the                   anyone having proper temporary custody of your
     case of death of an individual named insured.                           property will have your rights and duties but only
                                                                             with respect to that property.



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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              NUCLEAR ENERGY LIABILITY
                              EXCLUSION ENDORSEMENT
                                                     (Broad Form)

   This endorsement modifies insurance provided under the following:

      COMMERCIAL AUTOMOBILE COVERAGE PART
      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      FARM COVERAGE PART
      LIQUOR LIABILITY COVERAGE PART
      OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
      POLLUTION LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
      PROFESSIONAL LIABILITY COVERAGE PART
      RAILROAD PROTECTIVE LIABILITY COVERAGE PART
      UNDERGROUND STORAGE TANK POLICY

   1. The insurance does not apply:                                    B. Under any Medical Payments coverage, to ex-
                                                                          penses incurred with respect to "bodily injury"
      A. Under any Liability Coverage, to "bodily injury"                 resulting from the "hazardous properties" of
         or "property damage":                                            "nuclear material" and arising out of the oper-
                                                                          ation of a "nuclear facility" by any person or
          (1) With respect to which an "insured" under the                organization.
              policy is also an insured under a nuclear
              energy liability policy issued by Nuclear                C. Under any Liability Coverage, to"bodily injury" or
              Energy Liability Insurance Association,                     "property damage" resulting from "hazardous
              Mutual Atomic Energy Liability Underwriters,                properties" of "nuclear material", if:
              Nuclear Insurance Association of Canada or
              any of their successors, or would be an in-                  (1) The "nuclear material" (a) is at any "nuclear
              sured under any such policy but for its term-                     facility" owned by, or operated by or on
              ination upon exhaustion of its limit of liab-                     behalf of, an "insured" or (b) has been
              ility; or                                                         discharged or dispersed therefrom;

          (2) Resulting from the "hazardous properties" of                 (2) The "nuclear material" is contained in "spent
              "nuclear material" and with respect to which                     fuel" or "waste" at any time possessed,
              (a) any person or organization is required to                    handled, used, processed, stored, trans-
              maintain financial protection pursuant to the                    ported or disposed of, by or on behalf of an
              Atomic Energy Act of 1954, or any law                            "insured"; or
              amendatory thereof, or (b) the "insured" is,
              or had this policy not been issued would be,                 (3) The "bodily injury" or "property damage"
              entitled to indemnity from the United States                     arises out of the furnishing by an "insured"
              of America, or any agency thereof, under                         of services, materials, parts or equipment in
              any agreement entered into by the United                         connection with the planning, construction,
              States of America, or any agency thereof,                        maintenance, operation or use of any
              with any person or organization.                                 "nuclear facility", but if such facility is located




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              within the United States of America, its                  (a) Any "nuclear reactor";
              territories or possessions or Canada, this
              exclusion (3) applies only to "property                   (b) Any equipment or device designed or used for
              damage" to such "nuclear facility" and any                    (1) separating the isotopes of uranium or
              property thereat.                                             plutonium, (2) processing or utilizing "spent
                                                                            fuel", or (3) handling, processing or packaging
   2. As used in this endorsement:                                          "waste";

      "Hazardous properties" include radioactive, toxic or              (c) Any equipment or device used for the process-
      explosive properties.                                                 ing, fabricating or alloying of "special nuclear
                                                                            material" if at any time the total amount of such
      "Nuclear material" means "source material", "Special                  material in the custody of the "insured" at the
      nuclear material" or "by-product material".                           premises where such equipment or device is
                                                                            located consists of or contains more than 25
      "Source material", "special nuclear material", and                    grams of plutonium or uranium 233 or any com-
      "by-product material" have the meanings given them                    bination thereof, or more than 250 grams of
      in the Atomic Energy Act of 1954 or in any law                        uranium 235;
      amendatory thereof.
                                                                        (d) Any structure, basin, excavation, premises or
      "Spent fuel" means any fuel element or fuel                           place prepared or used for the storage or
      component, solid or liquid, which has been used or                    disposal of "waste";
      exposed to radiation in a "nuclear reactor".
                                                                        and includes the site on which any of the foregoing
                                                                        is located, all operations conducted on such site and
      "Waste" means any waste material (a) containing
                                                                        all premises used for such operations.
      "by-product material" other than the tailings or
      wastes produced by the extraction or concentration                "Nuclear reactor" means any apparatus designed or
      of uranium or thorium from any ore processed
                                                                        used to sustain nuclear fission in a self-supporting
      primarily for its "source material" content, and (b)
                                                                        chain reaction or to contain a critical mass of fis-
      resulting from the operation by any person or or-
                                                                        sionable material.
      ganization of any "nuclear facility" included under the
      first two paragraphs of the definition of "nuclear                "Property damage" includes all forms of radioactive
      facility".
                                                                        contamination of property.
      "Nuclear facility" means:



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